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                            Appendix II
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                            List of Music Publisher Plaintiffs’ Copyrighted Compositions


                    Track                                 Plaintiff                        Registration_Number
                                          Sony/ATV and EMI Plaintiffs
   1                                    Colgems-EMI Music, Inc. / Screen Gems-
        Freak Like Me                   EMI Music, Inc.                             PA0001158289
   2    (515)                           EMI April Music Inc.                        PA0001062108
   3    (sic)                           EMI April Music Inc.                        PA0001040104
   4    50 Ways To Say Goodbye          EMI April Music Inc.                        PA0001799437
   5    All I Need                      EMI April Music Inc.                        PA0001104579
   6    All I Wanted Was a Car          EMI April Music Inc.                        PA0001167812
   7    All That I Am                   EMI April Music Inc.                        PA0001161185
   8    All Your Reasons                EMI April Music Inc.                        PA0001588610
   9    B.O.B.                          EMI April Music Inc.                        PA0001039708
   10   Be The One                      EMI April Music Inc.                        PA0000795267
   11   Beautiful                       EMI April Music Inc.                        PA0001850260
   12   Before I Forget                 EMI April Music Inc.                        PA0001231062
   13   Book Of John                    EMI April Music Inc.                        PA0001910898
   14   Break Your Heart                EMI April Music Inc.                        PA0001687491
   15   Bust Your Windows               EMI April Music Inc.                        PA0001640781
   16   By Your Side                    EMI April Music Inc.                        PA0001159519
   17   Can U Handle It?                EMI April Music Inc.                        PA0001159345
   18   Caught Up                       EMI April Music Inc.                        PA0001159081
   19   Choose                          EMI April Music Inc.                        PA0001157849
   20   Cleveland Is The City           EMI April Music Inc.                        PA0001105255
   21   Cold Case Love                  EMI April Music Inc.                        PA0001704466
   22   Contagious                      EMI April Music Inc.                        PA0001354282
   23   Count On You                    EMI April Music Inc.                        PA0001726662
   24   Crazy World                     EMI April Music Inc.                        PA0001831285
   25   Creep                           EMI April Music Inc.                        PA0000797832
   26   Dance With My Father            EMI April Music Inc.                        PA0001105451
   27   Digital (Did You Tell)          EMI April Music Inc.                        PA0001722498
   28   Dilemma                         EMI April Music Inc.                        PA0001073273
   29   Dirt                            EMI April Music Inc.                        PA0001640796
   30   Do The Right Thang              EMI April Music Inc.                        PA0001706726
   31   Dress On                        EMI April Music Inc.                        PA0001843834
   32   Drips                           EMI April Music Inc.                        PA0001092246
   33   Drive By                        EMI April Music Inc.                        PA0001799432
   34   Duality                         EMI April Music Inc.                        PA0001231062
   35   Ego Tripping Out                EMI April Music Inc.                        PA0000065832
   36   Elevate                         EMI April Music Inc.                        PA0001825038
   37   Ever The Same                   EMI April Music Inc.                        PA0001161186
   38   Everybody Hates Chris           EMI April Music Inc.                        PA0001706689
   39   Everybody Needs Love            EMI April Music Inc.                        PA0001738398
   40   Everything Ends                 EMI April Music Inc.                        PA0001102120
   41   Eyeless                         EMI April Music Inc.                        PA0000965864
   42   Fall                            EMI April Music Inc.                        PA0001920169
   43   Fallin' To Pieces               EMI April Music Inc.                        PA0001161187
   44   Feel                            EMI April Music Inc.                        PA0001104645
   45   Follow Me                       EMI April Music Inc.                        PA0001159084
   46   G Is For Girl (A-Z)             EMI April Music Inc.                        PA0001649993



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                             List of Music Publisher Plaintiffs’ Copyrighted Compositions


                        Track                              Plaintiff                      Registration_Number
   47   Get In My Car                    EMI April Music Inc.                        PA0001723647
   48   Get Inside                       EMI April Music Inc.                        PA0001115051
   49   Get Up Get Down                  EMI April Music Inc.                        PA0001839489
   50   Go                               EMI April Music Inc.                        PA0001735199
   51   God Bless                        EMI April Music Inc.                        PA0001111571
   52   God Given Name                   EMI April Music Inc.                        PA0001610591
   53   God In Me                        EMI April Music Inc.                        PA0001640766
   54   Gone Be Fine                     EMI April Music Inc.                        PA0000914750
   55   Good Girl                        EMI April Music Inc.                        PA0001807727
   56   Good Girls Go Bad                EMI April Music Inc.                        PA0001662734
   57   Guilty                           EMI April Music Inc.                        PA0001807273
   58   Hand Me Down                     EMI April Music Inc.                        PA0001104642
   59   Heaven Sent                      EMI April Music Inc.                        PA0001395845
   60   How Far We've Come               EMI April Music Inc.                        PA0001588613
   61   How I Feel                       EMI April Music Inc.                        PA0001159657
   62   How Long                         EMI April Music Inc.                        PA0001850276
   63   Human                            EMI April Music Inc.                        PA0001625982
   64   I Can't Wait To Meetchu          EMI April Music Inc.                        PA0000986835
   65   I Gotta Feeling                  EMI April Music Inc.                        PA0001396542
   66   I Miss You                       EMI April Music Inc.                        PA0000978102
   67   I Will                           EMI April Music Inc.                        PA0001850366
   68   I Wish                           EMI April Music Inc.                        PA0001813030
   69   I'll Believe You When            EMI April Music Inc.                        PA0001588615
   70   I'm Running                      EMI April Music Inc.                        PA0001640785
   71   I've Committed Murder            EMI April Music Inc.                        PA0000976706
   72   Ice Box                          EMI April Music Inc.                        PA0001645608; PA0001166658
   73   If I Fall                        EMI April Music Inc.                        PA0001588611
   74   If You're Out There              EMI April Music Inc.                        PA0001646374
   75   In God's Hands                   EMI April Music Inc.                        PA0001164471
   76   Inhale                           EMI April Music Inc.                        PA0001115050
   77   Innocence                        EMI April Music Inc.                        PA0001194022
   78   Iowa                             EMI April Music Inc.                        PA0001102120
   79   Kissed It                        EMI April Music Inc.                        PA0001737022
   80   Land of the Snakes               EMI April Music Inc.                        PA0001975666
   81   Lately                           EMI April Music Inc.                        PA0001737021
   82   Leaving California               EMI April Music Inc.                        PA0001831261
   83   Left Behind                      EMI April Music Inc.                        PA0001102120
   84   Let Me Love You                  EMI April Music Inc.                        PA0001160636
   85   Let's Go Out Tonight             EMI April Music Inc.                        PA0001166136
   86   Life Of The Party                EMI April Music Inc.                        PA0001831259
   87   Like Sugar                       EMI April Music Inc.                        PA0001850238
   88   Lions, Tigers & Bears            EMI April Music Inc.                        PA0001640779
   89   Little Girl                      EMI April Music Inc.                        PA0001111575
   90   Live A Lie                       EMI April Music Inc.                        PA0001640780
   91   London Bridge                    EMI April Music Inc.                        PA0001165471
   92   Lonely No More                   EMI April Music Inc.                        PA0001161188
   93   Love Drunk                       EMI April Music Inc.                        PA0001735247
   94   Love Sex Magic (Main Version)    EMI April Music Inc.                        PA0001649982



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                                List of Music Publisher Plaintiffs’ Copyrighted Compositions


                        Track                                 Plaintiff                      Registration_Number
   95    loveofmylife                       EMI April Music Inc.                        PA0001625858
   96    Luxurious                          EMI April Music Inc.                        PA0001160424
   97    Mannequin                          EMI April Music Inc.                        PA0001888782
   98    Mr. Man                            EMI April Music Inc.                        PA0001065080
   99    MVP                                EMI April Music Inc.                        PA0001706727
   100
         My Fondest Childhood Memories EMI April Music Inc.                             PA0001131694
   101   My My My                      EMI April Music Inc.                             PA0001161189
   102   My Plague                     EMI April Music Inc.                             PA0001102120
   103   Nasty Girl                    EMI April Music Inc.                             PA0001706696
   104   Nothing                       EMI April Music Inc.                             PA0001072625
   105   Now Comes The Night           EMI April Music Inc.                             PA0001161195
   106   Nylon 6/6                     EMI April Music Inc.                             PA0001718972
   107   Old Man & Me                  EMI April Music Inc.                             PA0000795267
   108   On Fire                       EMI April Music Inc.                             PA0001735856; PA0001731108
   109   Only Wanna Be With You        EMI April Music Inc.                             PA0000734279
   110   Orchids                       EMI April Music Inc.                             PA0001115050
   111   Our Song                      EMI April Music Inc.                             PA0001850280
   112   Overjoyed                     EMI April Music Inc.                             PA0001850364
   113   Pieces                        EMI April Music Inc.                             PA0001718970
   114   Praise                        EMI April Music Inc.                             PA0000101381
   115   Prelude 3.0                   EMI April Music Inc.                             PA0001231062
   116   Pretty Girl Rock              EMI April Music Inc.                             PA0001729610
   117   Problem Girl                  EMI April Music Inc.                             PA0001161191
   118   Put Your Hands Up             EMI April Music Inc.                             PA0001850287
   119   Radio                         EMI April Music Inc.                             PA0001850359
   120   Relating To A Psychopath      EMI April Music Inc.                             PA0001092131
   121   Remind Me                     EMI April Music Inc.                             PA0001743361
   122   Return The Favor              EMI April Music Inc.                             PA0001667243
   123   Rock Me In                    EMI April Music Inc.                             PA0001626940
   124   Rock That Body                EMI April Music Inc.                             PA0001666771
   125   Russian Roulette              EMI April Music Inc.                             PA0001704500
   126   Say You'll Haunt Me           EMI April Music Inc.                             PA0001722494
   127   Sexual Healing                EMI April Music Inc.                             PA0000162210
   128   Shattered Heart               EMI April Music Inc.                             PA0001624650
   129   She's Got A Boyfriend Now     EMI April Music Inc.                             PA0001736534
   130   She's So Mean                 EMI April Music Inc.                             PA0001850358
   131   Shotgun                       EMI April Music Inc.                             PA0001878368
   132   Show Me                       EMI April Music Inc.                             PA0001804834
   133   Sleeping At The Wheel         EMI April Music Inc.                             PA0001850160
   134   So Beautiful                  EMI April Music Inc.                             PA0001624586
   135   Someone Like You              EMI April Music Inc.                             PA0001735195
   136   Something Special             EMI April Music Inc.                             PA0001602832
   137   Something To Be               EMI April Music Inc.                             PA0001161192
   138   Space                         EMI April Music Inc.                             PA0001194022
   139   Speechless                    EMI April Music Inc.                             PA0001131696
   140   Spit It Out                   EMI April Music Inc.                             PA0000965864
   141   Still                         EMI April Music Inc.                             PA0000986836



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                              List of Music Publisher Plaintiffs’ Copyrighted Compositions


                        Track                               Plaintiff                      Registration_Number
   142   Still On My Brain                EMI April Music Inc.                        PA0001118861
   143   Stuck in the Middle              EMI April Music Inc.                        PA0001831360
   144   Superwoman                       EMI April Music Inc.                        PA0001590140
   145   Surfacing                        EMI April Music Inc.                        PA0000965864
   146   T.O.N.Y.                         EMI April Music Inc.                        PA0001608776
   147   Take A Number                    EMI April Music Inc.                        PA0001115050
   148   Take Me Home                     EMI April Music Inc.                        PA0001831437
   149   Take Our Time                    EMI April Music Inc.                        PA0000797830
   150   Taken                            EMI April Music Inc.                        PA0001813025
   151   Tell You Something (Nana's
         Reprise)                         EMI April Music Inc.                        PA0001590108
   152   Thank You                        EMI April Music Inc.                        PA0001653144
   153   The Bitter End                   EMI April Music Inc.                        PA0001718944
   154   The Blister Exists               EMI April Music Inc.                        PA0001231062
   155   The Definition                   EMI April Music Inc.                        PA0001626025
   156   The Fighter                      EMI April Music Inc.                        PA0001806416
   157   The First Time                   EMI April Music Inc.                        PA0001607088
   158   The Heretic Anthem               EMI April Music Inc.                        PA0001102120
   159   The Impossible                   EMI April Music Inc.                        PA0001145924; PA0001073283
   160   The More I Drink                 EMI April Music Inc.                        PA0001993843
   161   The Nameless                     EMI April Music Inc.                        PA0001231062
   162
         The Shot Heard 'Round The World EMI April Music Inc.                         PA0001735286
   163   These Hard Times                EMI April Music Inc.                         PA0001588614
   164   Think About You                 EMI April Music Inc.                         PA0001105460
   165   Think Like A Man                EMI April Music Inc.                         PA0001820629
   166   Threadbare                      EMI April Music Inc.                         PA0001718936
   167   Throwback                       EMI April Music Inc.                         PA0001159346
   168   Tumult                          EMI April Music Inc.                         PA0001157849
   169   U Make Me Wanna                 EMI April Music Inc.                         PA0001241284; PA0001159529
   170   Undertow                        EMI April Music Inc.                         PA0001779997
   171   Undisputed                      EMI April Music Inc.                         PA0001707774
   172   Vermilion Pt. 2                 EMI April Music Inc.                         PA0001231062
   173   Wait And Bleed                  EMI April Music Inc.                         PA0001040104
   174   Walking                         EMI April Music Inc.                         PA0001738379
   175   Waterfalls                      EMI April Music Inc.                         PA0000797831
   176   Welcome To Jamrock              EMI April Music Inc.                         PA0001162406
   177   What Them Girls Like            EMI April Music Inc.                         PA0001620075
   178   What's A Guy Gotta Do           EMI April Music Inc.                         PA0001159557
   179   When The Heartache Ends         EMI April Music Inc.                         PA0001161193
   180   When You Really Love Someone EMI April Music Inc.                            PA0001158370
   181   Why Is It So Hard               EMI April Music Inc.                         PA0001738400
   182   Will Work For Love              EMI April Music Inc.                         PA0001658983
   183   With You                        EMI April Music Inc.                         PA0001163725
   184   Wreckless Love                  EMI April Music Inc.                         PA0001589833
   185   You're So Real                  EMI April Music Inc.                         PA0001104643
   186   Your Heart Is A Muscle          EMI April Music Inc.                         PA0001842646
   187   Your Secret Love                EMI April Music Inc.                         PA0000826398



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                               List of Music Publisher Plaintiffs’ Copyrighted Compositions


                         Track                                 Plaintiff                    Registration_Number
   188   Zzyzx Rd.                           EMI April Music Inc.                      PA0001165085
   189   4 Minutes                           EMI April Music Inc.                      PA0001164517
   190   400 Lux                             EMI April Music Inc.                      PA0002007289
   191   A Little Piece Of Heaven            EMI April Music Inc.                      PA0001591961
   192   A World Alone                       EMI April Music Inc.                      PA0002007289
   193   Afterlife                           EMI April Music Inc.                      PA0001591960
   194   All I Ever Wanted                   EMI April Music Inc.                      PA0001131835
   195   Almost Easy                         EMI April Music Inc.                      PA0001591963
   196   And I                               EMI April Music Inc.                      PA0001159779
   197   Angel                               EMI April Music Inc.                      PA0001738403
   198   Angel Eyes                          EMI April Music Inc.                      PA0001810572
   199   As I Am (Intro)                     EMI April Music Inc.                      PA0001590109
   200   Attention                           EMI April Music Inc.                      PA0001621899
   201   Bat Country                         EMI April Music Inc.                      PA0001162004
   202   Be Your Everything                  EMI April Music Inc.                      PA0001831407
   203   Beast And The Harlot                EMI April Music Inc.                      PA0001162005
   204   Betrayed                            EMI April Music Inc.                      PA0001162006
   205   Better Version                      EMI April Music Inc.                      PA0001131836
   206   Biting Down                         EMI April Music Inc.                      PA0001904440
   207   Blinded In Chains                   EMI April Music Inc.                      PA0001162007
   208   Bodies                              EMI April Music Inc.                      PA0001731809
   209   Brompton Cocktail                   EMI April Music Inc.                      PA0001591959
   210   Burn It Down                        EMI April Music Inc.                      PA0001162008
   211   Camouflage                          EMI April Music Inc.                      PA0001743344
   212   Can U Help Me                       EMI April Music Inc.                      PA0000846618
   213   ChampagneChroniKnightCap            EMI April Music Inc.                      PA0001955406
   214   Critical Acclaim                    EMI April Music Inc.                      PA0001591957
   215   Cry Baby                            EMI April Music Inc.                      PA0001731812
   216   Daddy's Little Girl                 EMI April Music Inc.                      PA0001706680
   217   Dear God                            EMI April Music Inc.                      PA0001591954
   218   Diary                               EMI April Music Inc.                      PA0001158368
   219   Do It All Again                     EMI April Music Inc.                      PA0001866549
   220   Do It To Me                         EMI April Music Inc.                      PA0001159080
   221   Dragon Days                         EMI April Music Inc.                      PA0001158214
   222   Drive (For Daddy Gene)              EMI April Music Inc.                      PA0001118350
   223   Every Other Memory                  EMI April Music Inc.                      PA0001765856
   224   Everybody Hurts                     EMI April Music Inc.                      PA0001761234
   225   Fading                              EMI April Music Inc.                      PA0001728370
   226   Fallin'                             EMI April Music Inc.                      PA0001118374
   227   Feeling U, Feeling Me (Interlude)   EMI April Music Inc.                      PA0001158215
   228   Fold Your Hands Child               EMI April Music Inc.                      PA0001656112
   229   Freak Out                           EMI April Music Inc.                      PA0001159307
   230   Glory And Gore                      EMI April Music Inc.                      PA0002007289
   231   Go Ahead                            EMI April Music Inc.                      PA0001590126
   232   Gunslinger                          EMI April Music Inc.                      PA0001591956
   233   Harlem's Nocturne                   EMI April Music Inc.                      PA0001158371
   234   Hot                                 EMI April Music Inc.                      PA0001167507
   235   How Do I Say                        EMI April Music Inc.                      PA0000846620



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                               List of Music Publisher Plaintiffs’ Copyrighted Compositions


                         Track                               Plaintiff                      Registration_Number
   236   I Always Get What I Want          EMI April Music Inc.                        PA0001160190
   237   I Can't Let U Go                  EMI April Music Inc.                        PA0000846615
   238   I Love LA                         EMI April Music Inc.                        PA0001920258; PA0001879197
   239   I Want You                        EMI April Music Inc.                        PA0001731813
   240   If I Ain't Got You                EMI April Music Inc.                        PA0001158216
   241   In Memory                         EMI April Music Inc.                        PA0001131837
   242   Innocence                         EMI April Music Inc.                        PA0001167508
   243   Intro                             EMI April Music Inc.                        PA0001159659
   244   It's All About The Pentiums       EMI April Music Inc.                        PA0000976952
   245   Just For One Day                  EMI April Music Inc.                        PA0001920253; PA0001879169
   246   Karma                             EMI April Music Inc.                        PA0001158372
   247   Lacerated                         EMI April Music Inc.                        PA0001131838
   248   Left Out                          EMI April Music Inc.                        PA0001131839
   249   Lifetime                          EMI April Music Inc.                        PA0001602821
   250   Like You'll Never See Me Again    EMI April Music Inc.                        PA0001590110
   251   Losing Grip                       EMI April Music Inc.                        PA0001101505
   252   Lost                              EMI April Music Inc.                        PA0001591955
   253   M.I.A.                            EMI April Music Inc.                        PA0001162010
   254   Million Dollar Bills              EMI April Music Inc.                        PA0002007289
   255   Mobile                            EMI April Music Inc.                        PA0001101509
   256   No Better                         EMI April Music Inc.                        PA0002007289
   257   No One                            EMI April Music Inc.                        PA0001648485; PA0001590102
   258   Nobody Not Really (Interlude)     EMI April Music Inc.                        PA0001158373
   259   One Of Those Girls                EMI April Music Inc.                        PA0001167509
   260   Online                            EMI April Music Inc.                        PA0001167813
   261   Pete Wentz Is The Only Reason
         We're Famous                      EMI April Music Inc.                        PA0001667218
   262   Pop Ya Collar                     EMI April Music Inc.                        PA0001033012; PA0001081875
   263   Prelude To A Kiss                 EMI April Music Inc.                        PA0001590111
   264   Pretty Boy Swag                   EMI April Music Inc.                        PA0001734530
   265   Push                              EMI April Music Inc.                        PA0001761225
   266   Ribs                              EMI April Music Inc.                        PA0002007289
   267   Royals                            EMI April Music Inc.                        PA0002007289
   268   Samsonite Man                     EMI April Music Inc.                        PA0001158374
   269   Satisfied                         EMI April Music Inc.                        PA0001731823
   270   Scream                            EMI April Music Inc.                        PA0001591958
   271   Seduction                         EMI April Music Inc.                        PA0001159869
   272   Seize The Day                     EMI April Music Inc.                        PA0001162009
   273   Sensuality                        EMI April Music Inc.                        PA0001395664
   274   She's Gone                        EMI April Music Inc.                        PA0001627413
   275   Shortie Like Mine                 EMI April Music Inc.                        PA0001647447
   276   Sidewinder                        EMI April Music Inc.                        PA0001162011
   277   Slow Down                         EMI April Music Inc.                        PA0001158938
   278   Still Sane                        EMI April Music Inc.                        PA0002007289
   279   Stranger                          EMI April Music Inc.                        PA0001760579
   280   Streets Of New York               EMI April Music Inc.                        PA0001162554
   281   Strength Of The World             EMI April Music Inc.                        PA0001162012
   282   Team                              EMI April Music Inc.                        PA0002007289



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                               List of Music Publisher Plaintiffs’ Copyrighted Compositions


                       Track                                  Plaintiff                     Registration_Number
   283   Tennis Court                       EMI April Music Inc.                       PA0002007289
   284   The Love Club                      EMI April Music Inc.                       PA0001904440
   285   The Scene Is Dead; Long Live The
         Scene                              EMI April Music Inc.                       PA0001662732
   286   The Wicked End                     EMI April Music Inc.                       PA0001162014
   287   The World Will Never Do            EMI April Music Inc.                       PA0001662901
   288   Thug Mentality                     EMI April Music Inc.                       PA0001023895
   289   Ticks                              EMI April Music Inc.                       PA0001167818
   290   Trashed And Scattered              EMI April Music Inc.                       PA0001162013
   291   Twork It Out                       EMI April Music Inc.                       PA0000846613
   292   Unbound (The Wild Ride)            EMI April Music Inc.                       PA0001591987
   293   Valentine's Day                    EMI April Music Inc.                       PA0001958626
   294   Wake Up                            EMI April Music Inc.                       PA0001158369
   295   Wet Hot American Summer            EMI April Music Inc.                       PA0001662916
   296   When It Hurts                      EMI April Music Inc.                       PA0001621885
   297   When You're Gone                   EMI April Music Inc.                       PA0001167506
   298   Where Do We Go From Here           EMI April Music Inc.                       PA0001590129
   299   Where Were You (When the
         World Stopped Turning)             EMI April Music Inc.                       PA0001076926
   300   White Teeth Teens                  EMI April Music Inc.                       PA0002007289
   301   Y.O.U.                             EMI April Music Inc.                       PA0001621886
   302   Yeah!                              EMI April Music Inc.                       PA0001159089
   303   You                                EMI April Music Inc.                       PA0001621886
   304   Come Back                          EMI April Music Inc.                       PA0000893388
   305   My Way                             EMI April Music Inc.                       PA0000893387
   306   Nice And Slow                      EMI April Music Inc.                       PA0000893386
   307   One Day You'll Be Mine             EMI April Music Inc.                       PA0000893389
   308   Papers                             EMI April Music Inc.                       PA0001753740
   309   You Make Me Wanna...               EMI April Music Inc.                       PA0000893384
   310                                      EMI April Music Inc. / EMI Blackwood
         Have Some Fun                      Music Inc                                  PA0001158407
   311                                      EMI April Music Inc. / EMI Blackwood
         I Need You                         Music Inc                                  PA0001590128
   312                                      EMI April Music Inc. / EMI Blackwood
         Right On the Money                 Music Inc                                  PA0000922532
   313                                      EMI April Music Inc. / EMI Blackwood
         Back 2 Good                        Music Inc.                                 PA0000844646
   314                                      EMI April Music Inc. / EMI Blackwood
         Bed Of Lies                        Music Inc.                                 PA0001006952
   315                                      EMI April Music Inc. / EMI Blackwood
         Before I Met You                   Music Inc.                                 PA0001673114
   316                                      EMI April Music Inc. / EMI Blackwood
         Changes                            Music Inc.                                 PA0001731492
   317                                      EMI April Music Inc. / EMI Blackwood
         Cold                               Music Inc.                                 PA0001104580
   318                                      EMI April Music Inc. / EMI Blackwood
         Downfall                           Music Inc.                                 PA0001104581
   319                                      EMI April Music Inc. / EMI Blackwood
         Everywhere                         Music Inc.                                 PA0001731500



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                                   List of Music Publisher Plaintiffs’ Copyrighted Compositions


                           Track                                 Plaintiff                        Registration_Number
   320                                         EMI April Music Inc. / EMI Blackwood
         Heartbreak Hotel                      Music Inc.                                  PA0000927023
   321                                         EMI April Music Inc. / EMI Blackwood
         It's Not Right But It's Okay          Music Inc.                                  PA0000954971
   322                                         EMI April Music Inc. / EMI Blackwood
         Make My Day                           Music Inc.                                  PA0001731490
   323                                         EMI April Music Inc. / EMI Blackwood
         Never Forget You                      Music Inc.                                  PA0001738485
   324                                         EMI April Music Inc. / EMI Blackwood
         Push                                  Music Inc.                                  PA0000844645
   325                                         EMI April Music Inc. / EMI Blackwood
         Takin' It There                       Music Inc.                                  PA0001640699
   326                                         EMI April Music Inc. / EMI Blackwood
         When The Music Stops                  Music Inc.                                  PA0001073068
   327                                         EMI April Music Inc. / EMI Blackwood
         Who Dat                               Music Inc.                                  PA0001640769
   328                                         EMI April Music Inc. / EMI Blackwood
         You Don't Know My Name                Music Inc.                                  PA0001158217
   329                                         EMI April Music Inc. / EMI Blackwood
         3AM                                   Music Inc.                                  PA0000844647
   330                                         EMI April Music Inc. / EMI Blackwood
         Angry                                 Music Inc.                                  PA0001006950
   331                                         EMI April Music Inc. / EMI Blackwood
         Argue                                 Music Inc.                                  PA0000844644
   332                                         EMI April Music Inc. / EMI Blackwood
         Bent                                  Music Inc.                                  PA0001006950
   333                                         EMI April Music Inc. / EMI Blackwood
         Black & White People                  Music Inc.                                  PA0001006950
   334                                         EMI April Music Inc. / EMI Blackwood
         Busted                                Music Inc.                                  PA0000844644
   335                                         EMI April Music Inc. / EMI Blackwood
         Crutch                                Music Inc.                                  PA0001006950
   336                                         EMI April Music Inc. / EMI Blackwood
         Damn                                  Music Inc.                                  PA0000844644
   337                                         EMI April Music Inc. / EMI Blackwood
         Disease                               Music Inc.                                  PA0001105084
   338                                         EMI April Music Inc. / EMI Blackwood
         Don't Look Down                       Music Inc.                                  PA0001738410
   339                                         EMI April Music Inc. / EMI Blackwood
         Fallin' Out                           Music Inc.                                  PA0001589919
   340                                         EMI April Music Inc. / EMI Blackwood
         Girl Like That                        Music Inc.                                  PA0000844644
   341                                         EMI April Music Inc. / EMI Blackwood
         Hang                                  Music Inc.                                  PA0000844644
   342                                         EMI April Music Inc. / EMI Blackwood
         Heart Heart Heartbreak                Music Inc.                                  PA0001735191; PA0001730760
   343                                         EMI April Music Inc. / EMI Blackwood
         If You're Gone                        Music Inc.                                  PA0001006950; PA0001038500
   344                                         EMI April Music Inc. / EMI Blackwood
         Kody                                  Music Inc.                                  PA0000844644



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                        Track                                 Plaintiff                        Registration_Number
   345                                      EMI April Music Inc. / EMI Blackwood
         Long Day                           Music Inc.                                  PA0000844644
   346                                      EMI April Music Inc. / EMI Blackwood
         Mad Season                         Music Inc.                                  PA0001006950
   347                                      EMI April Music Inc. / EMI Blackwood
         Outro (Obie Trice/ Cheers)         Music Inc.                                  PA0001159257
   348                                      EMI April Music Inc. / EMI Blackwood
         Piano Man                          Music Inc.                                  PA0001625977
   349                                      EMI April Music Inc. / EMI Blackwood
         Real World                         Music Inc.                                  PA0001655141
   350                                      EMI April Music Inc. / EMI Blackwood
         Rest Stop                          Music Inc.                                  PA0001038500
   351                                      EMI April Music Inc. / EMI Blackwood
         So Simple                          Music Inc.                                  PA0001158375
   352                                      EMI April Music Inc. / EMI Blackwood
         Teenage Love Affair                Music Inc.                                  PA0001590132
   353                                      EMI April Music Inc. / EMI Blackwood
         Un-thinkable (I'm Ready)           Music Inc.                                  PA0001666749
   354                                      EMI April Music Inc. / EMI Blackwood
         Warm It Up (With Love)             Music Inc.                                  PA0001624745
   355                                      EMI April Music Inc. / EMI Blackwood
         You Won't Be Mine                  Music Inc.                                  PA0001006950
   356                                      EMI April Music Inc. / EMI Blackwood
                                            Music Inc. / Sony/ATV Music Publishing
         Fallen                             LLC                                         PA0001712987
   357                                      EMI April Music Inc. / EMI Blackwood
                                            Music Inc. / Sony/ATV Music Publishing
         Like This                          LLC                                         PA0001072623
   358                                      EMI April Music Inc. / EMI Consortium
         A Moment To Myself                 Songs Inc. d/b/a EMI Longitude Music        PA0000986838
   359                                      EMI April Music Inc. / EMI Consortium
         backagain                          Songs, Inc. d/b/a EMI Longitude Music       PA0001395994
   360
         until                              EMI April Music Inc. / Jobete Music Co Inc. PA0001624579
   361
         Superstar                          EMI April Music Inc. / Jobete Music Co. Inc. PA0001159085
   362                                      EMI April Music Inc. / Sony/ATV Music
         All My Life                        Publishing LLC                               PA0001644944
   363                                      EMI April Music Inc. / Sony/ATV Music
         Anything (To Find You)             Publishing LLC                               PA0001900915
   364                                      EMI April Music Inc. / Sony/ATV Music
         Call Up The Homies                 Publishing LLC                               PA0001706741
   365                                      EMI April Music Inc. / Sony/ATV Music
         Climax                             Publishing LLC                               PA0001825135
   366                                      EMI April Music Inc. / Sony/ATV Music
         Cold                               Publishing LLC                               PA0001707770
   367                                      EMI April Music Inc. / Sony/ATV Music
         Energy                             Publishing LLC                               PA0001840559
   368                                      EMI April Music Inc. / Sony/ATV Music
         Fistful Of Tears                   Publishing LLC                               PA0001707770


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                                List of Music Publisher Plaintiffs’ Copyrighted Compositions


                        Track                                 Plaintiff                        Registration_Number
   369                                      EMI April Music Inc. / Sony/ATV Music
         Help Somebody                      Publishing LLC                                PA0001707770
   370                                      EMI April Music Inc. / Sony/ATV Music
         Lemme See                          Publishing LLC                                PA0001828069
   371                                      EMI April Music Inc. / Sony/ATV Music
         Love You                           Publishing LLC                                PA0001707770
   372                                      EMI April Music Inc. / Sony/ATV Music
         Phoenix Rise                       Publishing LLC                                PA0001707770
   373                                      EMI April Music Inc. / Sony/ATV Music
         Playing Possum                     Publishing LLC                                PA0001707770
   374                                      EMI April Music Inc. / Sony/ATV Music
         Save You Tonight                   Publishing LLC                                PA0001784623
   375                                      EMI April Music Inc. / Sony/ATV Music
         Slower                             Publishing LLC                                PA0001835570
   376                                      EMI April Music Inc. / Sony/ATV Music
         Stop The World                     Publishing LLC                                PA0001707770
   377                                      EMI April Music Inc. / Sony/ATV Music
         Without You                        Publishing LLC                                PA0001877914
   378                                      EMI April Music Inc. / Stone Agate Music (a
         You Can't Stop Us Now              division of Jobete Music Co. Inc.)            PA0001396096
   379   911                                EMI Blackwood Music Inc.                      PA0001837905
   380   Across The World                   EMI Blackwood Music Inc.                      PA0001706677
   381   All Over Me                        EMI Blackwood Music Inc.                      PA0001732490
   382   Am I Ever Gonna Find Out           EMI Blackwood Music Inc.                      PA0001104897
   383   Anna Begins                        EMI Blackwood Music Inc.                      PA0000708858
   384   Back When It Was                   EMI Blackwood Music Inc.                      PA0001321505
   385   Bad Things                         EMI Blackwood Music Inc.                      PA0001164354
   386   Bang It Up                         EMI Blackwood Music Inc.                      PA0001626146
   387   Beautiful Mess                     EMI Blackwood Music Inc.                      PA0001153078; PA0001073133
   388   Breathing                          EMI Blackwood Music Inc.                      PA0001051657
   389   By The Way                         EMI Blackwood Music Inc.                      PA0001640696
   390   Celebrate                          EMI Blackwood Music Inc.                      PA0001775496
   391   Clarity                            EMI Blackwood Music Inc.                      PA0001832089
   392   Cling And Clatter                  EMI Blackwood Music Inc.                      PA0001051657
   393   Come To Bed                        EMI Blackwood Music Inc.                      PA0001598751
   394   Comin' Home                        EMI Blackwood Music Inc.                      PA0001167517
   395   Cool                               EMI Blackwood Music Inc.                      PA0001160425
   396   Crazy Dream                        EMI Blackwood Music Inc.                      PA0001159601
   397   Deuces                             EMI Blackwood Music Inc.                      PA0001738384
   398   Dime Mi Amor                       EMI Blackwood Music Inc.                      PA0001159602
   399   Dreamer                            EMI Blackwood Music Inc.                      PA0001071485
   400   Drive                              EMI Blackwood Music Inc.                      PA0001816534
   401   English Town                       EMI Blackwood Music Inc.                      PA0001850285
   402   Even The Stars Fall 4 U            EMI Blackwood Music Inc.                      PA0001947441
   403   Everybody                          EMI Blackwood Music Inc.                      PA0001592998
   404   Get To Me                          EMI Blackwood Music Inc.                      PA0001867242
   405   Glass                              EMI Blackwood Music Inc.                      PA0001743265
   406   Goodbye Earl                       EMI Blackwood Music Inc.                      PA0000969189
   407   Heaven                             EMI Blackwood Music Inc.                      PA0001158408



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                         Track                             Plaintiff                         Registration_Number
   408   Heaven                             EMI Blackwood Music Inc.                    PA0001159600
   409   Hello                              EMI Blackwood Music Inc.                    PA0001706431
   410   Hi-Definitions                     EMI Blackwood Music Inc.                    PA0001600815
   411   Hollywood                          EMI Blackwood Music Inc.                    PA0001159603
   412   Hurry Baby                         EMI Blackwood Music Inc.                    PA0001910891
   413   Hurt So Good                       EMI Blackwood Music Inc.                    PA0001842641
   414   I Ain't Ready To Quit              EMI Blackwood Music Inc.                    PA0001728141
   415   I Drive Your Truck                 EMI Blackwood Music Inc.                    PA0001900113
   416   I'm Gone                           EMI Blackwood Music Inc.                    PA0001788402
   417   If U Seek Amy                      EMI Blackwood Music Inc.                    PA0001881662
   418   If You Can Do Anything Else        EMI Blackwood Music Inc.                    PA0000981323
   419   In My Business                     EMI Blackwood Music Inc.                    PA0000931051
   420   Independence                       EMI Blackwood Music Inc.                    PA0001728329
   421   International Harvester            EMI Blackwood Music Inc.                    PA0001642429
   422   It's OK                            EMI Blackwood Music Inc.                    PA0001769596
   423   La Contestacion                    EMI Blackwood Music Inc.                    PA0001159599
   424   Lasso                              EMI Blackwood Music Inc.                    PA0001728410
   425   Leave                              EMI Blackwood Music Inc.                    PA0001006950
   426   Little Bit Of Everything           EMI Blackwood Music Inc.                    PA0001947440
   427   Long Distance Interlude            EMI Blackwood Music Inc.                    PA0001641290
   428   Love Ain't Like That               EMI Blackwood Music Inc.                    PA0000894510
   429   Love Somebody                      EMI Blackwood Music Inc.                    PA0001824576
   430   Mexicoma                           EMI Blackwood Music Inc.                    PA0001910901
   431   Miss You Being Gone                EMI Blackwood Music Inc.                    PA0001727845
   432   More Than A Memory                 EMI Blackwood Music Inc.                    PA0001864022
   433   More Than Love                     EMI Blackwood Music Inc.                    PA0001159604
   434   My President                       EMI Blackwood Music Inc.                    PA0001697454
   435   N.I.*.*.E.R. (The Slave and the
         Master)                            EMI Blackwood Music Inc.                    PA0001396103
   436   No One Gonna Love You              EMI Blackwood Music Inc.                    PA0001738399
   437   Nobody Else                        EMI Blackwood Music Inc.                    PA0001159606
   438   Now I Know                         EMI Blackwood Music Inc.                    PA0001162729
   439   Nowhere Fast                       EMI Blackwood Music Inc.                    PA0001642920
   440   Onda                               EMI Blackwood Music Inc.                    PA0001160202
   441   One Thing                          EMI Blackwood Music Inc.                    PA0001848513
   442   Out Of Breath                      EMI Blackwood Music Inc.                    PA0001104538
   443   Out of Character                   EMI Blackwood Music Inc.                    PA0001395668
   444   Parking Lot Party                  EMI Blackwood Music Inc.                    PA0001900112
   445   Pirate Flag                        EMI Blackwood Music Inc.                    PA0001904652
   446   Pontoon                            EMI Blackwood Music Inc.                    PA0002049153
   447   Praise You Forever                 EMI Blackwood Music Inc.                    PA0001708382
   448   Prayin' For You/Superman           EMI Blackwood Music Inc.                    PA0001627414
   449   Promise                            EMI Blackwood Music Inc.                    PA0001166650
   450   Pucker Up                          EMI Blackwood Music Inc.                    PA0001649988
   451   Raining In Baltimore               EMI Blackwood Music Inc.                    PA0000708863
   452   Real Emotions                      EMI Blackwood Music Inc.                    PA0001159607
   453   Right There                        EMI Blackwood Music Inc.                    PA0001745930
   454   Round Here                         EMI Blackwood Music Inc.                    PA0000708854



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                       Track                              Plaintiff                         Registration_Number
   455   See You Again                     EMI Blackwood Music Inc.                    PA0001807700
   456   Senorita                          EMI Blackwood Music Inc.                    PA0001159605
   457   She Thinks My Tractor's Sexy      EMI Blackwood Music Inc.                    PA0000950753
   458   Should've Kissed You              EMI Blackwood Music Inc.                    PA0001772278
   459   Simon                             EMI Blackwood Music Inc.                    PA0001051657
   460   Someone Else's Song               EMI Blackwood Music Inc.                    PA0001051657
   461
         Something To Do With My Hands     EMI Blackwood Music Inc.                    PA0001800963
   462   Songbird                          EMI Blackwood Music Inc.                    PA0000330273
   463   Spin                              EMI Blackwood Music Inc.                    PA0001104539
   464   Stanley Climbfall                 EMI Blackwood Music Inc.                    PA0001104540
   465   Stop Cheatin' On Me               EMI Blackwood Music Inc.                    PA0001907989
   466   Take Your Hand                    EMI Blackwood Music Inc.                    PA0001159167
   467   Tell Me Why                       EMI Blackwood Music Inc.                    PA0001159608
   468   That's Why I'm Here               EMI Blackwood Music Inc.                    PA0000867535
   469   The Dollar                        EMI Blackwood Music Inc.                    PA0001163958
   470   The More Boys I Meet              EMI Blackwood Music Inc.                    PAu003038078; PA0001590022
   471   The One That Got Away             EMI Blackwood Music Inc.                    PA0001818449
   472   The Recession                     EMI Blackwood Music Inc.                    PA0001640694
   473   There Goes My Baby                EMI Blackwood Music Inc.                    PA0001716542
   474   This Kiss                         EMI Blackwood Music Inc.                    PA0001864024
   475   Time Flies                        EMI Blackwood Music Inc.                    PA0001807051
   476   Tiny Little Bows                  EMI Blackwood Music Inc.                    PA0001820569
   477   Trying                            EMI Blackwood Music Inc.                    PA0001051657
   478
         U Dont Know Me (Like U Used To)   EMI Blackwood Music Inc.                    PA0000965774
   479   Unknown                           EMI Blackwood Music Inc.                    PA0001051656
   480   Unwell                            EMI Blackwood Music Inc.                    PA0001104578
   481   Velvet Sky                        EMI Blackwood Music Inc.                    PA0001159613
   482   What About Now                    EMI Blackwood Music Inc.                    PA0001166336
   483   What Makes You Beautiful          EMI Blackwood Music Inc.                    PA0001790417
   484   When I Grow Up                    EMI Blackwood Music Inc.                    PA0001640788
   485   When You Touch Me                 EMI Blackwood Music Inc.                    PA0001072626
   486   Where Do We Go                    EMI Blackwood Music Inc.                    PA0001760301
   487   Why                               EMI Blackwood Music Inc.                    PA0001660621
   488   Wine After Whiskey                EMI Blackwood Music Inc.                    PA0001807696
   489   You Lie                           EMI Blackwood Music Inc.                    PA0001728328
   490   Your Man                          EMI Blackwood Music Inc.                    PA0001163481
   491   10 Days Late                      EMI Blackwood Music Inc.                    PA0000986880
   492   All About Tonight                 EMI Blackwood Music Inc.                    PA0001716538
   493   Amazin'                           EMI Blackwood Music Inc.                    PA0001640767
   494   Ballin'                           EMI Blackwood Music Inc.                    PA0001855548
   495   BGTY                              EMI Blackwood Music Inc.                    PA0001760358
   496   Black Crowns                      EMI Blackwood Music Inc.                    PA0001788405
   497   Boys 'Round Here                  EMI Blackwood Music Inc.                    PA0001837383
   498   Burning Bright                    EMI Blackwood Music Inc.                    PA0001278083
   499   Call Me                           EMI Blackwood Music Inc.                    PA0001601050
   500   Calling                           EMI Blackwood Music Inc.                    PA0001832167



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                         Track                        Plaintiff                         Registration_Number
   501   Careless World                EMI Blackwood Music Inc.                    PA0001788401
   502   Celebration                   EMI Blackwood Music Inc.                    PA0001788393
   503   Circulate                     EMI Blackwood Music Inc.                    PA0001640772
   504   Cool                          EMI Blackwood Music Inc.                    PA0001627481
   505   Crazy World                   EMI Blackwood Music Inc.                    PA0001640764
   506   Devour                        EMI Blackwood Music Inc.                    PA0001601052
   507   Dirty                         EMI Blackwood Music Inc.                    PA0001895398
   508   Dive                          EMI Blackwood Music Inc.                    PA0001828070
   509   Do It All                     EMI Blackwood Music Inc.                    PA0001788396
   510   Don't You Know                EMI Blackwood Music Inc.                    PA0001640771
   511   Everything Back But You       EMI Blackwood Music Inc.                    PA0001167505
   512   Faded                         EMI Blackwood Music Inc.                    PA0001788407
   513   Far Away                      EMI Blackwood Music Inc.                    PA0001788325
   514   Fine Again                    EMI Blackwood Music Inc.                    PA0001627411
   515   Get Allot                     EMI Blackwood Music Inc.                    PA0001640710
   516   Good Ole Boys                 EMI Blackwood Music Inc.                    PA0001760428
   517   Her Heart                     EMI Blackwood Music Inc.                    PA0001768280
   518   Honestly                      EMI Blackwood Music Inc.                    PA0001972855
   519   Honey Bee                     EMI Blackwood Music Inc.                    PA0001760410
   520   Hustlaz Ambition              EMI Blackwood Music Inc.                    PA0001640768
   521   I Did It For Sho              EMI Blackwood Music Inc.                    PA0001627415
   522   If You Only Knew              EMI Blackwood Music Inc.                    PA0001601046
   523   Involve Yourself              EMI Blackwood Music Inc.                    PA0001395666
   524   Jesse James                   EMI Blackwood Music Inc.                    PA0000787272
   525   Lay You Down                  EMI Blackwood Music Inc.                    PA0001788308
   526   Light Dreams                  EMI Blackwood Music Inc.                    PA0001783047
   527   Love Game                     EMI Blackwood Music Inc.                    PA0001788312
   528   Mine Would Be You             EMI Blackwood Music Inc.                    PA0001859225
   529   Muthaf**ka Up                 EMI Blackwood Music Inc.                    PA0001788404
   530   My Happy Ending               EMI Blackwood Music Inc.                    PA0001159309
   531   Potty Mouth                   EMI Blackwood Music Inc.                    PA0001783085
   532   Red Light                     EMI Blackwood Music Inc.                    PA0001241918
   533   Second Chance                 EMI Blackwood Music Inc.                    PA0001601042
   534   Sin With A Grin               EMI Blackwood Music Inc.                    PA0001601054
   535   Sound Of Madness              EMI Blackwood Music Inc.                    PA0001601045
   536   Spectrum                      EMI Blackwood Music Inc.                    PA0001832077
   537   Ten Times Crazier             EMI Blackwood Music Inc.                    PA0001859226
   538   The Best Damn Thing           EMI Blackwood Music Inc.                    PA0001354251
   539   The Crow & The Butterfly      EMI Blackwood Music Inc.                    PA0001601051
   540   The Point Of It All           EMI Blackwood Music Inc.                    PA0001631133
   541   This Is Like                  EMI Blackwood Music Inc.                    PA0001788320
   542   Til I Forget About You        EMI Blackwood Music Inc.                    PA0001733313
   543   Vacation                      EMI Blackwood Music Inc.                    PA0001640774
   544   Welcome Back                  EMI Blackwood Music Inc.                    PA0001640693
   545   What A Shame                  EMI Blackwood Music Inc.                    PA0001601047
   546   What They Want                EMI Blackwood Music Inc.                    PA0001640765
   547   Love It Or Leave It           EMI Blackwood Music Inc. / Colgems-EMI
         Alone/Welcome To Jamrock      Music Inc.                                  PA0001162695



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                        Track                                 Plaintiff                        Registration_Number
   548                                      EMI Blackwood Music Inc. / EMI April
         Chemicals Collide                  Music Inc.                                  PA0001735285
   549                                      EMI Blackwood Music Inc. / EMI April
         Hey You                            Music Inc.                                  PA0001831262
   550                                      EMI Blackwood Music Inc. / EMI April
         I Decided                          Music Inc.                                  PA0001608769
   551                                      EMI Blackwood Music Inc. / EMI April
         Ode to Marvin                      Music Inc.                                  PA0001608798
   552                                      EMI Blackwood Music Inc. / EMI April
         Real Thing                         Music Inc.                                  PA0001735194
   553                                      EMI Blackwood Music Inc. / EMI April
         Sandcastle Disco                   Music Inc.                                  PA0001615101
   554                                      EMI Blackwood Music Inc. / EMI April
         Take You Out                       Music Inc.                                  PA0001068165
   555                                      EMI Blackwood Music Inc. / EMI April
         What About Us?                     Music Inc.                                  PA0001072616
   556                                      EMI Blackwood Music Inc. / EMI April
         Would've Been the One              Music Inc.                                  PA0001608779
   557                                      EMI Blackwood Music Inc. / EMI April
         The Great Escape                   Music Inc.                                  PA0001165808
   558                                      EMI Blackwood Music Inc. / Jobete Music
         Don't Do It                        Co. Inc.                                    PA0001640702
   559                                      EMI Blackwood Music Inc. / Jobete Music
         Lil Freak                          Co. Inc. / EMI April Music Inc.             PA0001700473
   560                                      EMI Blackwood Music Inc. / Sony/ATV
         Ay Chico (Lengua Afuera)           Music Publishing LLC                        PA0001166251
   561                                      EMI Blackwood Music Inc. / Sony/ATV
         Back in Time                       Music Publishing LLC                        PA0001833789
   562                                      EMI Blackwood Music Inc. / Sony/ATV
         Black Leather Jacket               Music Publishing LLC                        PA0001947438
   563                                      EMI Blackwood Music Inc. / Sony/ATV
         Blame It On Waylon                 Music Publishing LLC                        PA0001896309
   564                                      EMI Blackwood Music Inc. / Sony/ATV
         I'm Off That                       Music Publishing LLC                        PA0001833780
   565                                      EMI Blackwood Music Inc. / Sony/ATV
         Ice Cold                           Music Publishing LLC                        PA0001854208
   566                                      EMI Blackwood Music Inc. / Sony/ATV
         Last Night                         Music Publishing LLC                        PA0001833744
   567                                      EMI Blackwood Music Inc. / Sony/ATV
         Love's Poster Child                Music Publishing LLC                        PA0001947446
   568                                      EMI Blackwood Music Inc. / Sony/ATV
         Show Me                            Music Publishing LLC                        PA0001933694
   569                                      EMI Blackwood Music Inc. / Sony/ATV
                                            Music Publishing LLC / EMI April Music Inc.
                                            / Warner-Tamerlane Publishing Corp. / WB
         Love In This Club                  Music Corp.                                 PA0001659003
   570                                      EMI Consortium Music Publishing, Inc.
         Paris, Tokyo                       d/b/a EMI Full Keel Music                   PA0001600832
   571                                      EMI Consortium Music Publishing, Inc.
         She's Got It All                   d/b/a EMI Full Keel Music                   PA0000886673


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                       Track                                  Plaintiff                        Registration_Number
   572   Angel Flying Too Close To The      EMI Consortium Songs Inc. d/b/a EMI
         Ground                             Longitude Music                             PA0000049322
   573                                      EMI Consortium Songs Inc. d/b/a EMI
         The Only Way                       Longitude Music                             PA0001163482
   574                                      EMI Consortium Songs, Inc. d/b/a EMI
         A Baltimore Love Thing             Longitude Music                             PA0001160841
   575   GATman And Robbin                  EMI Miller Catalog Inc.                     PA0001160842
   576   Mighty "O"                         EMI Mills Music, Inc.                       PA0001165509
   577   Down With The King                 EMI U Catalog Inc.                          PA0001143443
   578   Ain't That Peculiar                Jobete Music Co Inc.                        EP0000203959; RE0000618229
   579   Hitch Hike                         Jobete Music Co Inc.                        Eu0000750856; RE0000484188
   580   Trouble Man                        Jobete Music Co Inc.                        EP0000307204
   581   If I Could Build My Whole World
         Around You                        Jobete Music Co Inc.                         EP0000229884
   582   What's Going On                   Jobete Music Co Inc.                         EP0000281238
   583   You                               Jobete Music Co Inc.                         EP0000232619; RE0000697753
   584   Ain't Nothing Like The Real Thing Jobete Music Co. Inc.                        EP0000234188; RE0000697423
   585   Can I Get A Witness               Jobete Music Co. Inc.                        Eu0000789133; RE0000535701
   586   Come Get To This                  Jobete Music Co. Inc.                        EP0000315837
   587   Distant Lover                     Jobete Music Co. Inc.                        EP0000323322; EP0000291366
   588   Good Lovin' Ain't Easy To Come
         By                                Jobete Music Co. Inc.                        EP0000254456
   589   I Ain't Mad At Cha                Jobete Music Co. Inc.                        PA0001070600
   590   I'll Be Doggone                   Jobete Music Co. Inc.                        EP0000198501
   591   Inner City Blues (Make Me Wanna
         Holler)                           Jobete Music Co. Inc.                        EP0000287807
   592   It Takes Two                      Jobete Music Co. Inc.                        EP0000214841
   593   Mercy Mercy Me (The Ecology)      Jobete Music Co. Inc.                        EP0000288939
   594   Never Can Say Goodbye             Jobete Music Co. Inc.                        Eu0000187089; RE0000772428
   595   Stay Fly                          Jobete Music Co. Inc.                        PA0001328092
   596   That's The Way Love Is            Jobete Music Co. Inc.                        RE0000678602
   597   The Onion Song                    Jobete Music Co. Inc.                        EP0000259283
   598
         Too Busy Thinking About My Baby Jobete Music Co. Inc.                          EP0000219339; PA0000358613
   599   When Did You Stop Loving Me,
         When Did I Stop Loving You      Jobete Music Co. Inc.                          PA0000041232
   600                                                                                  EP0000330074; RE0000853662;
         You're A Wonderful One             Jobete Music Co. Inc.                       EU0000812174; RE0000601434
   601   You're All I Need To Get By        Jobete Music Co. Inc.                       EP0000246516
   602   Your Precious Love                 Jobete Music Co. Inc.                       EP0000232154
   603   Dance (Ass)                        Jobete Music Co. Inc.                       PA0001760422
   604                                      Jobete Music Co. Inc. / Stone Diamond
         Anger                              Music Corp.                                 PA0000041233
   605   Get Out                            Screen Gems-EMI Music Inc.                  PA0001592997
   606   2 On                               Sony/ATV Music Publishing LLC               PA0001910781
   607   2024                               Sony/ATV Music Publishing LLC               PA0001794286
   608   9 Piece                            Sony/ATV Music Publishing LLC               PA0001864281
   609   A Capella (Something's Missing)    Sony/ATV Music Publishing LLC               PA0001821297
   610   A Gentlemen's Coup                 Sony/ATV Music Publishing LLC               PA0001887807



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                               List of Music Publisher Plaintiffs’ Copyrighted Compositions


                        Track                              Plaintiff                        Registration_Number
   611   A Name In This Town               Sony/ATV Music Publishing LLC               PA0001777805
   612   Aberdeen                          Sony/ATV Music Publishing LLC               PA0001794286
   613   Ack Like You Know                 Sony/ATV Music Publishing LLC               PA0001644889
   614   Ain't No Rest for the Wicked      Sony/ATV Music Publishing LLC               PA0001794291
   615   Airstream Song                    Sony/ATV Music Publishing LLC               PA0001682737
   616   Alejandro                         Sony/ATV Music Publishing LLC               PA0001751975
   617   All Around The World              Sony/ATV Music Publishing LLC               PA0001850389
   618   All I Really Want                 Sony/ATV Music Publishing LLC               PA0001748296
   619   All The Money In The World        Sony/ATV Music Publishing LLC               PA0001821914
   620   Always Been Me                    Sony/ATV Music Publishing LLC               PA0001777807
   621   Always Something                  Sony/ATV Music Publishing LLC               PA0001794286
   622   Apologize                         Sony/ATV Music Publishing LLC               PA0001708388
   623   Architects                        Sony/ATV Music Publishing LLC               PA0001887807
   624   Around My Head                    Sony/ATV Music Publishing LLC               PA0001794286
   625   As Long As You Love Me            Sony/ATV Music Publishing LLC               PA0001834758
   626   Aston Martin Music                Sony/ATV Music Publishing LLC               PA0001821912
   627   Aura                              Sony/ATV Music Publishing LLC               PA0001941105
   628   Automatic                         Sony/ATV Music Publishing LLC               PA0001822058
   629   Available                         Sony/ATV Music Publishing LLC               PA0001807827
   630   B.M.F. (Blowin' Money Fast)       Sony/ATV Music Publishing LLC               PA0001821909
   631   Back Against The Wall             Sony/ATV Music Publishing LLC               PA0001794291
   632   Back Stabbin' Betty               Sony/ATV Music Publishing LLC               PA0001794291
   633   Bad Habits                        Sony/ATV Music Publishing LLC               PA0001707770
   634   Bad Romance                       Sony/ATV Music Publishing LLC               PA0001751974
   635   Bassline                          Sony/ATV Music Publishing LLC               PA0001896024
   636   Beautiful Freaks                  Sony/ATV Music Publishing LLC               PA0001803641
   637   Beautiful, Dirty, Rich            Sony/ATV Music Publishing LLC               PA0001685320
   638   Beer For My Horses                Sony/ATV Music Publishing LLC               PA0001109842
   639   Best Of Times                     Sony/ATV Music Publishing LLC               PA0002069314
   640   Big Night                         Sony/ATV Music Publishing LLC               PA0001807064
   641   Black Jesus (Amen Fashion)        Sony/ATV Music Publishing LLC               PA0001752320
   642   Blind                             Sony/ATV Music Publishing LLC               PA0001813213
   643   Bojangles                         Sony/ATV Music Publishing LLC               PA0001338581
   644   Boys Boys Boys                    Sony/ATV Music Publishing LLC               PA0001685351
   645   Bravado                           Sony/ATV Music Publishing LLC               PA0001904440
   646   Brave                             Sony/ATV Music Publishing LLC               PA0001967864
   647   Broken Mirrors                    Sony/ATV Music Publishing LLC               PA0001887807
   648   Brown Eyes                        Sony/ATV Music Publishing LLC               PA0001685359
   649   Bubbly                            Sony/ATV Music Publishing LLC               PA0001391445
   650   Can't Stop Me Now                 Sony/ATV Music Publishing LLC               PA0001733402
   651   Center Stage                      Sony/ATV Music Publishing LLC               PA0001952597
   652   Chartreuse                        Sony/ATV Music Publishing LLC               PA0001952597
   653   Chasing You                       Sony/ATV Music Publishing LLC               PA0001952597
   654   Church Pew Or Bar Stool           Sony/ATV Music Publishing LLC               PA0001897745
   655   Come N Go                         Sony/ATV Music Publishing LLC               PA0001780999
   656   Crazy Ain't Original              Sony/ATV Music Publishing LLC               PA0001881665
   657   Dead Flowers                      Sony/ATV Music Publishing LLC               PA0001682745
   658   Disparity By Design               Sony/ATV Music Publishing LLC               PA0001887807



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                              List of Music Publisher Plaintiffs’ Copyrighted Compositions


                         Track                              Plaintiff                      Registration_Number
   659   DJ Khaled Interlude                Sony/ATV Music Publishing LLC             PA0001661345
   660   Don't Give Up On Us                Sony/ATV Music Publishing LLC             PA0001719662
   661   Don't Judge Me                     Sony/ATV Music Publishing LLC             PA0001896026
   662   Don't Play This Song               Sony/ATV Music Publishing LLC             PA0001750006
   663   Dope Ball (Interlude)              Sony/ATV Music Publishing LLC             PA0001733400
   664   Drinks for You (Ladies Anthem)     Sony/ATV Music Publishing LLC             PA0001833788
   665   Drones In The Valley               Sony/ATV Music Publishing LLC             PA0001794291
   666   Eh, Eh (Nothing Else I Can Say)    Sony/ATV Music Publishing LLC             PA0001685326
   667   Encore                             Sony/ATV Music Publishing LLC             PA0001813214
   668   Endgame                            Sony/ATV Music Publishing LLC             PA0001887807
   669   Finally Here                       Sony/ATV Music Publishing LLC             PA0001807843
   670   Fire Burns                         Sony/ATV Music Publishing LLC             PA0001822066
   671   Flow                               Sony/ATV Music Publishing LLC             PA0001794286
   672   Forca                              Sony/ATV Music Publishing LLC             PA0001239138
   673   Freaky Deaky                       Sony/ATV Music Publishing LLC             PA0001644872
   674   Free Love                          Sony/ATV Music Publishing LLC             PA0001794291
   675   Freedom                            Sony/ATV Music Publishing LLC             PA0001840533
   676   Gangsta Bop                        Sony/ATV Music Publishing LLC             PA0001167178
   677   GHOST!                             Sony/ATV Music Publishing LLC             PA0001750014
   678   Gimmie Dat                         Sony/ATV Music Publishing LLC             PA0001835722
   679   Girlfriend In The City             Sony/ATV Music Publishing LLC             PA0001753993
   680   Girls                              Sony/ATV Music Publishing LLC             PA0001733986
   681   Girls Fall Like Dominoes           Sony/ATV Music Publishing LLC             PA0001996711
   682   Girls Like You                     Sony/ATV Music Publishing LLC             PA0001808680
   683   Give Me Everything                 Sony/ATV Music Publishing LLC             PA0001780977
   684   Give Them What They Ask For        Sony/ATV Music Publishing LLC             PA0001733406
   685   Glasgow                            Sony/ATV Music Publishing LLC             PA0001774897
   686   Gotta Get It (Dancer)              Sony/ATV Music Publishing LLC             PA0001807837
   687   Gypsy                              Sony/ATV Music Publishing LLC             PA0001893359
   688   Hair                               Sony/ATV Music Publishing LLC             PA0001752317
   689   Happy On The Hey Now (A Song
         For Kristi)                        Sony/ATV Music Publishing LLC             PA0001899369
   690   Heart Like Mine                    Sony/ATV Music Publishing LLC             PA0001682741
   691   Help Is On The Way                 Sony/ATV Music Publishing LLC             PA0001887807
   692   Hey Baby (Drop It To The Floor)    Sony/ATV Music Publishing LLC             PA0001719812
   693   I Choose You                       Sony/ATV Music Publishing LLC             PA0001967866
   694   I Know You Know                    Sony/ATV Music Publishing LLC             PA0001807117
   695   I Like It                          Sony/ATV Music Publishing LLC             PA0001786618
   696   I Sold My Bed, But Not My Stereo   Sony/ATV Music Publishing LLC             PA0001952597
   697   I Won't Go Crazy                   Sony/ATV Music Publishing LLC             PA0001777806
   698   I'm Gone                           Sony/ATV Music Publishing LLC             PA0001971310
   699   I'm Not A Star                     Sony/ATV Music Publishing LLC             PA0001821873
   700   If I Ruled The World               Sony/ATV Music Publishing LLC             PA0001825040
   701   In One Ear                         Sony/ATV Music Publishing LLC             PA0001794292
   702   In The Dark                        Sony/ATV Music Publishing LLC             PA0001783660
   703   Indy Kidz                          Sony/ATV Music Publishing LLC             PA0001794286
   704   Invisible                          Sony/ATV Music Publishing LLC             PA0001825037
   705   It's That Time Of Day              Sony/ATV Music Publishing LLC             PA0001899360



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                         Track                            Plaintiff                        Registration_Number
   706   James Brown                      Sony/ATV Music Publishing LLC               PA0001794291
   707   Japanese Buffalo                 Sony/ATV Music Publishing LLC               PA0001794286
   708   Judas                            Sony/ATV Music Publishing LLC               PA0001794291
   709   Judas                            Sony/ATV Music Publishing LLC               PA0001752321
   710   Juice Box                        Sony/ATV Music Publishing LLC               PA0001733404
   711   Jump                             Sony/ATV Music Publishing LLC               PA0001807841
   712   Just Dance                       Sony/ATV Music Publishing LLC               PA0001685310
   713   Just One Last Time               Sony/ATV Music Publishing LLC               PA0001896046
   714   Kangaroo Court                   Sony/ATV Music Publishing LLC               PA0001952597
   715   Krazy                            Sony/ATV Music Publishing LLC               PA0001733987
   716   Lanterns                         Sony/ATV Music Publishing LLC               PA0001887807
   717   Lazy Lies                        Sony/ATV Music Publishing LLC               PA0001952597
   718   Like A G6                        Sony/ATV Music Publishing LLC               PA0001778021
   719   Lindy                            Sony/ATV Music Publishing LLC               PA0001899353
   720   Little Bad Girl                  Sony/ATV Music Publishing LLC               PA0001814075
   721   Long Distance                    Sony/ATV Music Publishing LLC               PA0001821287
   722   Lotus                            Sony/ATV Music Publishing LLC               PA0001794291
   723   Love Away                        Sony/ATV Music Publishing LLC               PA0001952597
   724   Love The Girls                   Sony/ATV Music Publishing LLC               PA0001772294
   725   Love Who You Love                Sony/ATV Music Publishing LLC               PA0001661382
   726   LoveGame                         Sony/ATV Music Publishing LLC               PA0001685315
   727   Low                              Sony/ATV Music Publishing LLC               PA0001644879
   728   Lunar                            Sony/ATV Music Publishing LLC               PA0001814079
   729   Mafia Music                      Sony/ATV Music Publishing LLC               PA0001748285
   730   Maintain the Pain                Sony/ATV Music Publishing LLC               PA0001682745
   731   Make It Stop (September's
         Children)                        Sony/ATV Music Publishing LLC               PA0001887807
   732   Makin' Plans                     Sony/ATV Music Publishing LLC               PA0001682745
   733   Mama Africa                      Sony/ATV Music Publishing LLC               PA0001167181
   734   Manos Al Aire                    Sony/ATV Music Publishing LLC               PA0001760999
   735   Marchin On                       Sony/ATV Music Publishing LLC               PA0001755881
   736   Maria                            Sony/ATV Music Publishing LLC               PA0001834767
   737   Marley                           Sony/ATV Music Publishing LLC               PA0001899367
   738   Marry Me                         Sony/ATV Music Publishing LLC               PA0001896439
   739   Mary Jane Holland                Sony/ATV Music Publishing LLC               PA0001893360
   740   Maybach Music                    Sony/ATV Music Publishing LLC               PA0001639897
   741   MC Hammer                        Sony/ATV Music Publishing LLC               PA0001821908
   742   Me and Your Cigarettes           Sony/ATV Music Publishing LLC               PA0001682744
   743   Metropolis                       Sony/ATV Music Publishing LLC               PA0001827951
   744   Midnight Hands                   Sony/ATV Music Publishing LLC               PA0001887807
   745   Mind On My Money                 Sony/ATV Music Publishing LLC               PA0001807828
   746   Mirage                           Sony/ATV Music Publishing LLC               PA0001896025
   747   Mmm Yeah                         Sony/ATV Music Publishing LLC               PA0001886182
   748   Mojo So Dope                     Sony/ATV Music Publishing LLC               PA0001750010
   749   Money Right                      Sony/ATV Music Publishing LLC               PA0001644871
   750   Monster                          Sony/ATV Music Publishing LLC               PA0001751978
   751   More                             Sony/ATV Music Publishing LLC               PA0001745641
   752   Mr. Rager                        Sony/ATV Music Publishing LLC               PA0001750006



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                               List of Music Publisher Plaintiffs’ Copyrighted Compositions


                       Track                                 Plaintiff                      Registration_Number
   753   Mr. Worldwide (Intro)               Sony/ATV Music Publishing LLC             PA0001780983
   754   Muny                                Sony/ATV Music Publishing LLC             PA0001786604
   755   Music Sounds Better                 Sony/ATV Music Publishing LLC             PA0001825036
   756   Must Be Something I Missed          Sony/ATV Music Publishing LLC             PA0001899368
   757   My Heart Beats For Love             Sony/ATV Music Publishing LLC             PA0001708952
   758   Never                               Sony/ATV Music Publishing LLC             PA0001807823
   759   Never Took The Time                 Sony/ATV Music Publishing LLC             PA0001663701
   760   Night Is Young                      Sony/ATV Music Publishing LLC             PA0001753995
   761   No. 1                               Sony/ATV Music Publishing LLC             PA0001821894
   762   Nothing Even Matters                Sony/ATV Music Publishing LLC             PA0001807063
   763   Nothing Really Matters              Sony/ATV Music Publishing LLC             PA0001814078
   764   Oh My Love                          Sony/ATV Music Publishing LLC             PA0001772289
   765   Oh Yeah                             Sony/ATV Music Publishing LLC             PA0001807062
   766   On and On                           Sony/ATV Music Publishing LLC             PA0001735747
   767   On The Floor                        Sony/ATV Music Publishing LLC             PA0001770236
   768   Only Prettier                       Sony/ATV Music Publishing LLC             PA0001682740
   769   Origami                             Sony/ATV Music Publishing LLC             PA0001952597
   770   Out Of Town Girl                    Sony/ATV Music Publishing LLC             PA0001835122
   771   Oye Baby                            Sony/ATV Music Publishing LLC             PA0001745498
   772   Paparazzi                           Sony/ATV Music Publishing LLC             PA0001685323
   773   Paper Gangsta                       Sony/ATV Music Publishing LLC             PA0001685367
   774   Papi                                Sony/ATV Music Publishing LLC             PA0001810026
   775   Party Hard / Cadillac (Interlude)   Sony/ATV Music Publishing LLC             PA0001896504
   776   Patience Gets Us Nowhere Fast       Sony/ATV Music Publishing LLC             PA0001952597
   777   Pause                               Sony/ATV Music Publishing LLC             PA0001780988
   778   Pay Me                              Sony/ATV Music Publishing LLC             PA0001808680
   779   Play Hard                           Sony/ATV Music Publishing LLC             PA0001827956
   780   Poker Face                          Sony/ATV Music Publishing LLC             PA0001685342
   781   Pretty Wings                        Sony/ATV Music Publishing LLC             PA0001707770
   782   Priceless                           Sony/ATV Music Publishing LLC             PA0001644888
   783   Put It Down                         Sony/ATV Music Publishing LLC             PA0001787201
   784   Quickie                             Sony/ATV Music Publishing LLC             PA0001808680
   785   R.O.O.T.S.                          Sony/ATV Music Publishing LLC             PA0001807832
   786   Radio                               Sony/ATV Music Publishing LLC             PA0001807090
   787   Raise 'Em Up                        Sony/ATV Music Publishing LLC             PA0001947439
   788   Raw (How You Like It)               Sony/ATV Music Publishing LLC             PA0001848766
   789   Ready To Roll                       Sony/ATV Music Publishing LLC             PA0001890859
   790   Repeat                              Sony/ATV Music Publishing LLC             PA0001814085
   791   Respirator                          Sony/ATV Music Publishing LLC             PA0001821672
   792   Rewind                              Sony/ATV Music Publishing LLC             PA0001807819
   793   Ridin' Solo                         Sony/ATV Music Publishing LLC             PA0001813218
   794   Right Before My Eyes                Sony/ATV Music Publishing LLC             PA0001794286
   795   Right By My Side                    Sony/ATV Music Publishing LLC             PA0001822037
   796   Right Here (Departed)               Sony/ATV Music Publishing LLC             PA0001821289
   797   Right Round                         Sony/ATV Music Publishing LLC             PA0001639208; PA0001648304
   798   Robot                               Sony/ATV Music Publishing LLC             PA0001708950
   799   Rocketeer                           Sony/ATV Music Publishing LLC             PA0001778016
   800   Rubber Ball                         Sony/ATV Music Publishing LLC             PA0001794286



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                                List of Music Publisher Plaintiffs’ Copyrighted Compositions


                        Track                               Plaintiff                        Registration_Number
   801   Runnin' Around                     Sony/ATV Music Publishing LLC               PA0001698432
   802   Sabertooth Tiger                   Sony/ATV Music Publishing LLC               PA0001794286
   803   Safe and Sound                     Sony/ATV Music Publishing LLC               PA0001952597
   804   Satellite                          Sony/ATV Music Publishing LLC               PA0001887807
   805   Say It With Me                     Sony/ATV Music Publishing LLC               PA0001772291
   806   Scared Of Beautiful                Sony/ATV Music Publishing LLC               PA0001846377
   807   Scars                              Sony/ATV Music Publishing LLC               PA0001708950
   808   Sell Yourself                      Sony/ATV Music Publishing LLC               PA0001794286
   809   Sexy Bitch                         Sony/ATV Music Publishing LLC               PA0001703244
   810   Shake Senora                       Sony/ATV Music Publishing LLC               PA0001820421
   811   Shake Senora Remix                 Sony/ATV Music Publishing LLC               PA0001820421
   812   She Don't Like The Lights          Sony/ATV Music Publishing LLC               PA0001822166
   813   She Wolf (Falling to Pieces)       Sony/ATV Music Publishing LLC               PA0001896051
   814   She'd Be California                Sony/ATV Music Publishing LLC               PA0001661378
   815   Shiza                              Sony/ATV Music Publishing LLC               PA0001752319
   816   Shone                              Sony/ATV Music Publishing LLC               PA0001807835
   817   Shut It Down                       Sony/ATV Music Publishing LLC               PA0001733390
   818   Silence                            Sony/ATV Music Publishing LLC               PA0000740717
   819   Sin For A Sin                      Sony/ATV Music Publishing LLC               PA0001682734
   820   Sinner                             Sony/ATV Music Publishing LLC               PA0001777809
   821   So Happy I Could Die               Sony/ATV Music Publishing LLC               PA0001751980; PA0001668692
   822   Soil To The Sun                    Sony/ATV Music Publishing LLC               PA0001794291
   823   Something For The DJs              Sony/ATV Music Publishing LLC               PA0001774899
   824   Spaghetti                          Sony/ATV Music Publishing LLC               PA0001879175
   825   Speechless                         Sony/ATV Music Publishing LLC               PA0001751979
   826   Spread The Love                    Sony/ATV Music Publishing LLC               PA0001899352
   827   Stand Up                           Sony/ATV Music Publishing LLC               PA0001946133
   828   Stars                              Sony/ATV Music Publishing LLC               PA0001753996
   829   Starstruck                         Sony/ATV Music Publishing LLC               PA0001685366; PA0001650637
   830   Stay                               Sony/ATV Music Publishing LLC               PA0001708951
   831   Stay With Me                       Sony/ATV Music Publishing LLC               PA0001698437
   832   Still Missin                       Sony/ATV Music Publishing LLC               PA0001644870
   833   Strip                              Sony/ATV Music Publishing LLC               PA0001896031
   834   Summerboy                          Sony/ATV Music Publishing LLC               PA0001685365
   835   Superstar                          Sony/ATV Music Publishing LLC               PA0001825039
   836   Survivor Guilt                     Sony/ATV Music Publishing LLC               PA0001887807
   837   Sweat                              Sony/ATV Music Publishing LLC               PA0001803810
   838   Sweat (Dubstep Remix)              Sony/ATV Music Publishing LLC               PA0001814071
   839   Sweet Surrender                    Sony/ATV Music Publishing LLC               PA0000866242
   840   Sweetie                            Sony/ATV Music Publishing LLC               PA0001864023
   841   Take Me Along                      Sony/ATV Music Publishing LLC               PA0001708950
   842   Teeth                              Sony/ATV Music Publishing LLC               PA0001751976
   843   Tell Me How To Live                Sony/ATV Music Publishing LLC               PA0001952597
   844   The Future                         Sony/ATV Music Publishing LLC               PA0001774893
   845   The Only One                       Sony/ATV Music Publishing LLC               PA0001807094
   846   The Sun Will Rise                  Sony/ATV Music Publishing LLC               PA0001807177
   847   The Sweet Escape                   Sony/ATV Music Publishing LLC               PA0001166379
   848   The Time (Dirty Bit)               Sony/ATV Music Publishing LLC               PA0001796440



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                         Track                             Plaintiff                        Registration_Number
   849   The War Is Over                   Sony/ATV Music Publishing LLC               PA0001807174
   850   These Worries                     Sony/ATV Music Publishing LLC               PA0001750006
   851   Things That Matter                Sony/ATV Music Publishing LLC               PA0001661359
   852   This Is Letting Go                Sony/ATV Music Publishing LLC               PA0001887807
   853   Tik Tik Boom                      Sony/ATV Music Publishing LLC               PA0001917951
   854   Til It's Gone                     Sony/ATV Music Publishing LLC               PA0001917966
   855   Time                              Sony/ATV Music Publishing LLC               PA0001874359
   856   Tiny Little Robots                Sony/ATV Music Publishing LLC               PA0001794291
   857   Titanium                          Sony/ATV Music Publishing LLC               PA0001814072
   858   Tonight Tonight                   Sony/ATV Music Publishing LLC               PA0001765703
   859   Took My Love                      Sony/ATV Music Publishing LLC               PA0001781001
   860   Torn Down                         Sony/ATV Music Publishing LLC               PA0001821291
   861   Touch Me                          Sony/ATV Music Publishing LLC               PA0001896041
   862   Touch Me                          Sony/ATV Music Publishing LLC               PA0001807825
   863   Toy Story                         Sony/ATV Music Publishing LLC               PA0001774895
   864   Triumph                           Sony/ATV Music Publishing LLC               PA0001733388
   865   Turn Me On                        Sony/ATV Music Publishing LLC               PA0001814076; PA0001822072
   866   Twisted                           Sony/ATV Music Publishing LLC               PA0001642854
   867   U Want Me 2                       Sony/ATV Music Publishing LLC               PA0001719661
   868   Venus                             Sony/ATV Music Publishing LLC               PA0001893364
   869   Virginia Bluebell                 Sony/ATV Music Publishing LLC               PA0001682743
   870   Vixen                             Sony/ATV Music Publishing LLC               PA0001808680
   871   Wait For Me                       Sony/ATV Music Publishing LLC               PA0001887807
   872   Way Out Here                      Sony/ATV Music Publishing LLC               PA0001777804
   873   We Aite (Wake Your Mind Up)       Sony/ATV Music Publishing LLC               PA0001750006
   874   What I Wanted to Say              Sony/ATV Music Publishing LLC               PA0001698434
   875   What If                           Sony/ATV Music Publishing LLC               PA0001813212
   876   Whatcha Say                       Sony/ATV Music Publishing LLC               PA0001813211
   877   When Love Takes Over              Sony/ATV Music Publishing LLC               PA0001682910; PA0001644855
   878   White Liar                        Sony/ATV Music Publishing LLC               PA0001682738
   879   Who I Am With You                 Sony/ATV Music Publishing LLC               PA0001887676
   880   Why Don't We Just Dance           Sony/ATV Music Publishing LLC               PA0001689774
   881   With You, Without You             Sony/ATV Music Publishing LLC               PA0001607900
   882   Won't Be Lonely Long - On The
         Road                              Sony/ATV Music Publishing LLC               PA0001777801
   883   XO                                Sony/ATV Music Publishing LLC               PA0001879186
   884   You Ain't Seen Country Yet        Sony/ATV Music Publishing LLC               PA0001777803
   885   You And I                         Sony/ATV Music Publishing LLC               PA0001751989
   886   Call Of The Wild                  Sony/ATV Music Publishing LLC               PA0001733405
   887   Hustle Hard Remix                 Sony/ATV Music Publishing LLC               PA0001794383
   888   Intro                             Sony/ATV Music Publishing LLC               PA0001874326
   889   Trouble On My Mind                Sony/ATV Music Publishing LLC               PA0001789134
   890                                     Sony/ATV Music Publishing LLC / EMI April
         Home This Christmas               Music Inc.                                  PA0001780222
   891                                     Sony/ATV Music Publishing LLC / EMI April
         Move Like You Gonna Die           Music Inc.                                  PA0001875762; PA0001662776
   892                                     Sony/ATV Music Publishing LLC / EMI April
         The Way                           Music Inc.                                  PA0001903036



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                      Track                                Plaintiff                         Registration_Number
   893                                    Sony/ATV Music Publishing LLC / EMI April
         You're Not In On The Joke        Music Inc.                                  PA0001875761; PA0001662742
   894                                    Sony/ATV Music Publishing LLC / EMI
         Downtown                         Blackwood Music Inc.                        PA0001864826
   895   Your Mama Should've Named You Sony/ATV Music Publishing LLC / EMI
         Whiskey                          Blackwood Music Inc.                        PA0001914393
   896                                    Sony/ATV Music Publishing LLC / EMI
         Feel This Moment                 Blackwood Music Inc.                        PA0001858590
   897                                    Sony/ATV Music Publishing LLC / EMI
         Fire                             Blackwood Music Inc.                        PA0001896434
   898                                    Sony/ATV Music Publishing LLC / EMI
         Global Warming                   Blackwood Music Inc.                        PA0001858589
   899                                    Sony/ATV Music Publishing LLC / EMI
         Hope We Meet Again               Blackwood Music Inc.                        PA0001858593
   900                                    Sony/ATV Music Publishing LLC / EMI
         Wet The Bed                      Blackwood Music Inc.                        PA0001883692
   901   Let's Get It On                  Stone Diamond Music Corp.                   EP0000314589
   902                                    Stone Diamond Music Corp. / Jobete
         God Gave Me Style                Music Co. Inc.                              PA0001160843
                                         Universal Music Publishing Plaintiffs
   903                                    Music Corporation of America, Inc. dba
         A Girl Like Me                   Universal Music Corp.                       PA0001164298
   904                                    Music Corporation of America, Inc. dba
         Angel                            Universal Music Corp.                       PA0001046461
   905                                    Music Corporation of America, Inc. dba
         Back on Earth                    Universal Music Corp.                       PA0000895946
   906                                    Music Corporation of America, Inc. dba
         Can U Get Away                   Universal Music Corp.                       PA0000875890
   907   Cat People (Putting Out Fire)    Music Corporation of America, Inc. dba
         (Single Version)                 Universal Music Corp.                       PA0000131825
   908                                    Music Corporation of America, Inc. dba
         Definition Of A Thug N***a       Universal Music Corp.                       PA0000776781
   909                                    Music Corporation of America, Inc. dba
         Dreams of Our Fathers            Universal Music Corp.                       PA0001039322
   910                                    Music Corporation of America, Inc. dba
         Everyday                         Universal Music Corp.                       PA0001039330
   911   Falling In Love (Is Hard On The  Music Corporation of America, Inc. dba
         Knees)                           Universal Music Corp.                       PA0000847442
   912                                    Music Corporation of America, Inc. dba
         Fool to Think                    Universal Music Corp.                       PA0001039327
   913                                    Music Corporation of America, Inc. dba
         For Tha Love Of $                Universal Music Corp.                       PA0000713004
   914                                    Music Corporation of America, Inc. dba
         Ghost Behind My Eyes             Universal Music Corp.                       PA0000795018
   915                                    Music Corporation of America, Inc. dba
         Good Woman Bad                   Universal Music Corp.                       PA0000785095
   916                                    Music Corporation of America, Inc. dba
         Hand On The Pump                 Universal Music Corp.                       PA0000538434
   917                                    Music Corporation of America, Inc. dba
         Here I Go Again                  Universal Music Corp.                       PA0001328100; PA0001162725



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                                   List of Music Publisher Plaintiffs’ Copyrighted Compositions


                           Track                                Plaintiff                         Registration_Number
   918                                         Music Corporation of America, Inc. dba
         Hits From The Bong                    Universal Music Corp.                       PA0000791818
   919                                         Music Corporation of America, Inc. dba
         How I Could Just Kill A Man           Universal Music Corp.                       PA0000796241
   920                                         Music Corporation of America, Inc. dba
         I Did It                              Universal Music Corp.                       PA0001039319
   921                                         Music Corporation of America, Inc. dba
         I'm So into You                       Universal Music Corp.                       PA0000664028
   922                                         Music Corporation of America, Inc. dba
         I've Come To Expect It From You       Universal Music Corp.                       PA0000482947
   923                                         Music Corporation of America, Inc. dba
         If I Die 2Nite                        Universal Music Corp.                       PA0000773737
   924                                         Music Corporation of America, Inc. dba
         If I Had It All                       Universal Music Corp.                       PA0001039324
   925                                         Music Corporation of America, Inc. dba
         Insane In The Brain                   Universal Music Corp.                       PA0000664235
   926                                         Music Corporation of America, Inc. dba
         Just About Now                        Universal Music Corp.                       PA0000669876
   927                                         Music Corporation of America, Inc. dba
         Just Around The Eyes                  Universal Music Corp.                       PA0000713702
   928                                         Music Corporation of America, Inc. dba
         Just Push Play                        Universal Music Corp.                       PA0001048574
   929                                         Music Corporation of America, Inc. dba
         Lady, Lady                            Universal Music Corp.                       PA0000731125
   930                                         Music Corporation of America, Inc. dba
         Livin' On The Edge                    Universal Music Corp.                       PA0000832940
   931                                         Music Corporation of America, Inc. dba
         Lord Knows                            Universal Music Corp.                       PA0000773740
   932                                         Music Corporation of America, Inc. dba
         Love Is On The Way (Real Love)        Universal Music Corp.                       PA0000731122
   933                                         Music Corporation of America, Inc. dba
         Me Against The World                  Universal Music Corp.                       PA0000700333
   934                                         Music Corporation of America, Inc. dba
         Merry Go Round                        Universal Music Corp.                       PA0000494345
   935                                         Music Corporation of America, Inc. dba
         Mother Father                         Universal Music Corp.                       PA0001039329
   936                                         Music Corporation of America, Inc. dba
         Nothin' At All                        Universal Music Corp.                       PA0000284908
   937                                         Music Corporation of America, Inc. dba
         Old School                            Universal Music Corp.                       PA0000773742
   938                                         Music Corporation of America, Inc. dba
         Power Of Love / Love Power            Universal Music Corp.                       PA0000526816
   939                                         Music Corporation of America, Inc. dba
         Run To You                            Universal Music Corp.                       PA0000840168
   940                                         Music Corporation of America, Inc. dba
         Secret Heart                          Universal Music Corp.                       PA0000807140
   941                                         Music Corporation of America, Inc. dba
         Sleep to Dream Her                    Universal Music Corp.                       PA0001039328
   942                                         Music Corporation of America, Inc. dba
         Smile                                 Universal Music Corp.                       PA0000815805; PA0000815968



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                                List of Music Publisher Plaintiffs’ Copyrighted Compositions


                        Track                                Plaintiff                         Registration_Number
   943                                      Music Corporation of America, Inc. dba
         So Many Tears                      Universal Music Corp.                       PA0000773738
   944                                      Music Corporation of America, Inc. dba
         So Right                           Universal Music Corp.                       PA0001039323
   945                                      Music Corporation of America, Inc. dba
         Soul Intact                        Universal Music Corp.                       PA0000810659
   946                                      Music Corporation of America, Inc. dba
         Temptations                        Universal Music Corp.                       PA0000875889
   947                                      Music Corporation of America, Inc. dba
         That's What I Need                 Universal Music Corp.                       PA0000664035
   948                                      Music Corporation of America, Inc. dba
         There's A Thug In My Life          Universal Music Corp.                       PA0001162730
   949                                      Music Corporation of America, Inc. dba
         Think You're Gonna Like It         Universal Music Corp.                       PA0000664034
   950                                      Music Corporation of America, Inc. dba
         Truthfully                         Universal Music Corp.                       PA0001147359
   951                                      Music Corporation of America, Inc. dba
         Unconditional Love                 Universal Music Corp.                       PA0000980713
   952                                      Music Corporation of America, Inc. dba
         What You Are                       Universal Music Corp.                       PA0001039325
   953                                      Music Corporation of America, Inc. dba
         What's It Gonna Be                 Universal Music Corp.                       PA0000810659
   954                                      Music Corporation of America, Inc. dba
         When The World Ends                Universal Music Corp.                       PA0001046455
   955                                      Music Corporation of America, Inc. dba
         You're Always On My Mind           Universal Music Corp.                       PA0000664031
   956   4th of July Reprise                Polygram Publishing, Inc.                   PA0000863657
   957   Achy Breaky Song                   Polygram Publishing, Inc.                   PA0000713892
   958   Amish Paradise                     Polygram Publishing, Inc.                   PA0000809516
   959   Angel                              Polygram Publishing, Inc.                   PA0000342822
   960   Animals                            Polygram Publishing, Inc.                   PA0001899929
   961   Another Night                      Polygram Publishing, Inc.                   PA0000795554
   962   Back To You                        Polygram Publishing, Inc.                   PA0001120340
   963   Bad Day                            Polygram Publishing, Inc.                   PA0001025285
   964   Bittersweet                        Polygram Publishing, Inc.                   PA0000893227
   965   Breathe                            Polygram Publishing, Inc.                   PA0000999862
   966   Cool The Engines                   Polygram Publishing, Inc.                   PA0000312410
   967   Dangerous                          Polygram Publishing, Inc.                   PA0001678612
   968   Day Dreams                         Polygram Publishing, Inc.                   PA0001752520
   969   Days With You                      Polygram Publishing, Inc.                   PA0001245154
   970   Die Like This                      Polygram Publishing, Inc.                   PA0001245156
   971   Don't Let Me Be The Last One To
         Know                               Polygram Publishing, Inc.                   PA0001010089
   972   Down                               Polygram Publishing, Inc.                   PA0001025288
   973   Down Inside Of You                 Polygram Publishing, Inc.                   PA0001245163
   974   Drive Me Wild                      Polygram Publishing, Inc.                   PA0002072171
   975   Easy                               Polygram Publishing, Inc.                   PA0001025287
   976   Empty Spaces                       Polygram Publishing, Inc.                   PA0001025283
   977   Falls On Me                        Polygram Publishing, Inc.                   PA0001245161



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                             List of Music Publisher Plaintiffs’ Copyrighted Compositions


                         Track                           Plaintiff                        Registration_Number
   978    Getting Thru?                  Polygram Publishing, Inc.                   PA0001245157
   979    Gone Country                   Polygram Publishing, Inc.                   PA0000642408
   980    Good Girls Go To Heaven (Bad
          Girls Go Everywhere)           Polygram Publishing, Inc.                   PA0000669674
   981    Heart Attack                   Polygram Publishing, Inc.                   PA0001752511
   982    Hemorrhage (In My Hands)       Polygram Publishing, Inc.                   PA0001025282
   983    Hideaway                       Polygram Publishing, Inc.                   PA0000893223
   984    Higher Power                   Polygram Publishing, Inc.                   PA0000863654
   985    Home By Now/No Matter What     Polygram Publishing, Inc.                   PA0001144121
   986    I Ain't In Checotah Anymore    Polygram Publishing, Inc.                   PA0001327781
   987    I Was Country When Country
          Wasn't Cool                    Polygram Publishing, Inc.                   PA0000126702
   988    Innocent                       Polygram Publishing, Inc.                   PA0001025291
   989    Is Nothing Sacred              Polygram Publishing, Inc.                   PA0000936094
   990    It Just Won't Quit             Polygram Publishing, Inc.                   PA0000669673
   991    It's Come To This              Polygram Publishing, Inc.                   PA0000893229
   992    Ivan Meets G.I. Joe            Polygram Publishing, Inc.                   PA0000112397
   993    Jesus or A Gun                 Polygram Publishing, Inc.                   PA0000893225
   994    Jurassic Park                  Polygram Publishing, Inc.                   PA0000713893
   995    Knives                         Polygram Publishing, Inc.                   PA0001025290
   996    Last Time                      Polygram Publishing, Inc.                   PA0001025281
   997    Livin' For You                 Polygram Publishing, Inc.                   PAu001802362
   998    Love Gun                       Polygram Publishing, Inc.                   PA0001727659
   999    Luck                           Polygram Publishing, Inc.                   PA0001245155
   1000   Mary Pretends                  Polygram Publishing, Inc.                   PA0000893220
   1001   Million Miles                  Polygram Publishing, Inc.                   PA0001245162
   1002   Most Of All                    Polygram Publishing, Inc.                   PA0001245158
   1003   Movin' Down the Line           Polygram Publishing, Inc.                   PA0001752522
   1004   New Thing                      Polygram Publishing, Inc.                   PA0000893230
   1005   Over You                       Polygram Publishing, Inc.                   PA0001752515
   1006   Ozone                          Polygram Publishing, Inc.                   PA0000893222
   1007   Prove                          Polygram Publishing, Inc.                   PA0001025286
   1008   Recognize                      Polygram Publishing, Inc.                   PA0000896403
   1009   Running Away                   Polygram Publishing, Inc.                   PA0001245159
   1010   Scar                           Polygram Publishing, Inc.                   PA0001025284
   1011   Shimmer                        Polygram Publishing, Inc.                   PA0000893226
   1012   Slow                           Polygram Publishing, Inc.                   PA0001025292
   1013   So Many Ways                   Polygram Publishing, Inc.                   PA0000896404
   1014   Solace                         Polygram Publishing, Inc.                   PA0001025289
   1015   Somebody Got Murdered          Polygram Publishing, Inc.                   PA0000112402
   1016   Someone                        Polygram Publishing, Inc.                   PA0001003696
   1017   Song For You                   Polygram Publishing, Inc.                   PA0000893221
   1018   Stone Rollin                   Polygram Publishing, Inc.                   PA0001764528
   1019   Tell Me                        Polygram Publishing, Inc.                   PA0000863655
   1020   The Answer                     Polygram Publishing, Inc.                   PA0001752536
   1021   The Best Day                   Polygram Publishing, Inc.                   PA0001028241
   1022   The Magnificent Seven          Polygram Publishing, Inc.                   PA0000112394
   1023   The Motto                      Polygram Publishing, Inc.                   PA0001804402



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                               List of Music Publisher Plaintiffs’ Copyrighted Compositions


                          Track                              Plaintiff                      Registration_Number
   1024   The Star Spangled Banner          Polygram Publishing, Inc.                  PA0000863656
   1025   The Street Parade                 Polygram Publishing, Inc.                  PA0000112420
   1026   These Things                      Polygram Publishing, Inc.                  PA0001245160
   1027   Untitled**                        Polygram Publishing, Inc.                  PA0000893228
   1028   2 Of Amerikaz Most Wanted         Songs of Universal, Inc.                   PA0001070596
   1029   25 To Life                        Songs of Universal, Inc.                   PA0001730984
   1030   2nd Sucks                         Songs of Universal, Inc.                   PA0001748917
   1031   A Fool's Dance                    Songs of Universal, Inc.                   PA0001839497
   1032   A Kiss                            Songs of Universal, Inc.                   PA0001784201
   1033   All I Have In This World          Songs of Universal, Inc.                   PA0001639922
   1034   All I Want For Christmas Is You
          (Super Festive!)                  Songs of Universal, Inc.                   PA0001780229
   1035   All Signs Point To Lauderdale     Songs of Universal, Inc.                   PA0001748918
   1036   Almost Famous                     Songs of Universal, Inc.                   PA0001730979
   1037   Another Round                     Songs of Universal, Inc.                   PA0001730878
   1038   As Fast As I Could                Songs of Universal, Inc.                   PA0001700896
   1039   Baby Love                         Songs of Universal, Inc.                   PA0001602408
   1040   Backpackers                       Songs of Universal, Inc.                   PA0001773699
   1041   Be (Intro)                        Songs of Universal, Inc.                   PA0001302097
   1042   Beautiful People                  Songs of Universal, Inc.                   PA0001752889
   1043   Beautiful People                  Songs of Universal, Inc.                   PA0001750727
   1044   Best Friend                       Songs of Universal, Inc.                   PA0000757400
   1045   Best Of You                       Songs of Universal, Inc.                   PA0001730963
   1046   Beware                            Songs of Universal, Inc.                   PA0001916151
   1047   Bleeding Out                      Songs of Universal, Inc.                   PA0001816018
   1048   Bonfire                           Songs of Universal, Inc.                   PA0001773709
   1049   Boom Skit                         Songs of Universal, Inc.                   PA0001915826
   1050   Break Ya Back                     Songs of Universal, Inc.                   PA0001395672
   1051   But, Honestly                     Songs of Universal, Inc.                   PA0001625341
   1052   Can't Go Wrong                    Songs of Universal, Inc.                   PA0001839494
   1053   Changes                           Songs of Universal, Inc.                   PA0001070591
   1054   Cheer Up, Boys (Your Make Up Is
          Running)                          Songs of Universal, Inc.                   PA0001625323
   1055   Chi-City                          Songs of Universal, Inc.                   PA0001302103
   1056   Ciara To The Stage                Songs of Universal, Inc.                   PA0001729154
   1057   Cinderella Man                    Songs of Universal, Inc.                   PA0001730987
   1058   Cold Day In The Sun               Songs of Universal, Inc.                   PA0001731042
   1059   Cold Wind Blows                   Songs of Universal, Inc.                   PA0001731091
   1060   Come Alive                        Songs of Universal, Inc.                   PA0001625311
   1061   Crazy Little Thing Called Love    Songs of Universal, Inc.                   PA0001330052
   1062   Death Around The Corner           Songs of Universal, Inc.                   PA0001070586
   1063   Did It On Em                      Songs of Universal, Inc.                   PA0001745300
   1064   Director                          Songs of Universal, Inc.                   PA0001371419
   1065   DOA                               Songs of Universal, Inc.                   PA0001730972
   1066   Don't Get Me Started              Songs of Universal, Inc.                   PA0002072695
   1067   Don't Give up on Me               Songs of Universal, Inc.                   PA0001899457
   1068   Dr. West                          Songs of Universal, Inc.                   PA0001943912
   1069   Drive Me                          Songs of Universal, Inc.                   PA0001839492



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                                List of Music Publisher Plaintiffs’ Copyrighted Compositions


                          Track                               Plaintiff                      Registration_Number
   1070   Echo                               Songs of Universal, Inc.                   PA0001842409
   1071   End Over End                       Songs of Universal, Inc.                   PA0001730846
   1072   Erase/Replace                      Songs of Universal, Inc.                   PA0001625296
   1073   Every Night                        Songs of Universal, Inc.                   PA0001816017
   1074   Everything                         Songs of Universal, Inc.                   PA0001600375
   1075   Eye Candy                          Songs of Universal, Inc.                   PA0001681746
   1076   Fallen                             Songs of Universal, Inc.                   PA0001840137
   1077   Fallin' In Love                    Songs of Universal, Inc.                   PA0001603747
   1078   Farewell                           Songs of Universal, Inc.                   PA0001778700
   1079   Fool In Love                       Songs of Universal, Inc.                   PA0001804439
   1080   Free Me                            Songs of Universal, Inc.                   PA0001730772
   1081   Friend Of A Friend                 Songs of Universal, Inc.                   PA0001730881
   1082   Friend Of A Friend                 Songs of Universal, Inc.                   PA0001856075
   1083   Girl You Know                      Songs of Universal, Inc.                   PA0001395613
   1084   Girls Chase Boys                   Songs of Universal, Inc.                   PA0001932052
   1085   Going Through Changes              Songs of Universal, Inc.                   PA0001731106
   1086   Hard To Breathe                    Songs of Universal, Inc.                   PA0001768251
   1087   Haywire                            Songs of Universal, Inc.                   PA0001700892
   1088   Hazel                              Songs of Universal, Inc.                   PA0001848179
   1089   Hear Me                            Songs of Universal, Inc.                   PA0001816016
   1090   Heartbeat                          Songs of Universal, Inc.                   PA0001773703
   1091   Heavy In The Game                  Songs of Universal, Inc.                   PA0000914501
   1092   Hell                               Songs of Universal, Inc.                   PA0001731003
   1093   Hold On                            Songs of Universal, Inc.                   PA0001839485
   1094   Hold You Down                      Songs of Universal, Inc.                   PA0001773584
   1095   Home                               Songs of Universal, Inc.                   PA0001625349
   1096   How Do U Want It                   Songs of Universal, Inc.                   PA0001070595
   1097
          I Don't Feel Like Loving You Today Songs of Universal, Inc.                   PA0001299754
   1098   I Want Crazy (Encore)              Songs of Universal, Inc.                   PA0001856536
   1099   I'll Call Ya                       Songs of Universal, Inc.                   PA0001644932
   1100   If I Leave                         Songs of Universal, Inc.                   PA0001748919
   1101   Imagination                        Songs of Universal, Inc.                   PA0001371420
   1102   In Your Honor                      Songs of Universal, Inc.                   PA0001730947
   1103   Intro                              Songs of Universal, Inc.                   PA0001780742
   1104   It Ain't Easy                      Songs of Universal, Inc.                   PA0001070585
   1105   It's Time                          Songs of Universal, Inc.                   PA0001796482
   1106   It's Your World                    Songs of Universal, Inc.                   PA0001302108; PA0001302107
   1107   Just Lose It                       Songs of Universal, Inc.                   PA0001284525
   1108   Kids                               Songs of Universal, Inc.                   PA0001773582
   1109   Kisses Don't Lie                   Songs of Universal, Inc.                   PA0001164299
   1110   Leaf                               Songs of Universal, Inc.                   PA0002000110
   1111   Leave Love Alone                   Songs of Universal, Inc.                   PA0001810767
   1112   Let It Die                         Songs of Universal, Inc.                   PA0001625293
   1113   Letter Home                        Songs of Universal, Inc.                   PA0001773708
   1114   Livin This Life                    Songs of Universal, Inc.                   PA0001780720
   1115   Long Road To Ruin                  Songs of Universal, Inc.                   PA0001625301
   1116   Lost In You                        Songs of Universal, Inc.                   PA0001855522



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                               List of Music Publisher Plaintiffs’ Copyrighted Compositions


                         Track                              Plaintiff                       Registration_Number
   1117   Love is...                       Songs of Universal, Inc.                    PA0001302102
   1118   Man On The Moon                  Songs of Universal, Inc.                    PA0001839481
   1119   Marvin Gaye & Chardonnay         Songs of Universal, Inc.                    PA0001780731
   1120   Meet Me Halfway                  Songs of Universal, Inc.                    PA0001659066
   1121   Memories Pt 2                    Songs of Universal, Inc.                    PA0001780744
   1122   Miracle                          Songs of Universal, Inc.                    PA0001730876
   1123   Missing You                      Songs of Universal, Inc.                    PA0001659068
   1124   Movin' On                        Songs of Universal, Inc.                    PA0000757403
   1125   Mr. Mathers                      Songs of Universal, Inc.                    PA0001943944
   1126   My Eyes                          Songs of Universal, Inc.                    PA0001915209
   1127   My Fault                         Songs of Universal, Inc.                    PA0001796476
   1128   My Toy Soldier                   Songs of Universal, Inc.                    PA0001298500
   1129   New York Times                   Songs of Universal, Inc.                    PA0001898830
   1130   Next To You                      Songs of Universal, Inc.                    PA0001750522
   1131   No Way Back                      Songs of Universal, Inc.                    PA0001730955
   1132   Not Afraid                       Songs of Universal, Inc.                    PA0001730957
   1133   Not Tonight                      Songs of Universal, Inc.                    PA0002000109
   1134   Nothin' Like The First Time      Songs of Universal, Inc.                    PA0001858363
   1135   Nothin' On You                   Songs of Universal, Inc.                    PA0001731018
   1136   Nothing Left To Say / Rocks      Songs of Universal, Inc.                    PA0001816026
   1137   On The Mend                      Songs of Universal, Inc.                    PA0001730887
   1138   On Top of the World              Songs of Universal, Inc.                    PA0001796480
   1139   One Tribe                        Songs of Universal, Inc.                    PA0001659076
   1140   Only Wanna Give It To You        Songs of Universal, Inc.                    PA0002000105
   1141   Out Of My Head                   Songs of Universal, Inc.                    PA0001659074
   1142   Over And Out                     Songs of Universal, Inc.                    PA0001730884
   1143   Picture Perfect                  Songs of Universal, Inc.                    PA0001395677
   1144   Play                             Songs of Universal, Inc.                    PA0001726635
   1145   Private Room Intro               Songs of Universal, Inc.                    PA0001371763
   1146   Put You In A Song                Songs of Universal, Inc.                    PA0001725330
   1147   Razor                            Songs of Universal, Inc.                    PA0001731043
   1148   Real People                      Songs of Universal, Inc.                    PA0001302105
   1149   Remember My Name                 Songs of Universal, Inc.                    PA0001821988
   1150   Resolve                          Songs of Universal, Inc.                    PA0001730791
   1151   Right Place, Wrong Time          Songs of Universal, Inc.                    PA0001371418
   1152   Rockin To The Beat               Songs of Universal, Inc.                    PA0001659078
   1153   Roman Holiday                    Songs of Universal, Inc.                    PA0001915014
   1154   Round and Round                  Songs of Universal, Inc.                    PA0001796481
   1155   Selene                           Songs of Universal, Inc.                    PA0001822212
   1156   Sex Therapy                      Songs of Universal, Inc.                    PA0001678887
   1157   Shoo Be Doo                      Songs of Universal, Inc.                    PA0001593120
   1158   So Much More                     Songs of Universal, Inc.                    PA0001780714
   1159   Somewhere In My Car              Songs of Universal, Inc.                    PA0001898869
   1160   Sorry For Partyin'               Songs of Universal, Inc.                    PA0001882788
   1161   Soul's On Fire                   Songs of Universal, Inc.                    PA0001768252
   1162   Statues                          Songs of Universal, Inc.                    PA0001625338
   1163   Stay The Night                   Songs of Universal, Inc.                    PA0001902216
   1164   Still                            Songs of Universal, Inc.                    PA0001730871



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                              List of Music Publisher Plaintiffs’ Copyrighted Compositions


                         Track                             Plaintiff                          Registration_Number
   1165   Stranger Things Have Happened   Songs of Universal, Inc.                       PA0001625352
   1166   Stronger                        Songs of Universal, Inc.                       PA0001120338
   1167   Stuck On Stupid                 Songs of Universal, Inc.                       PA0002094523
   1168   Summer's End                    Songs of Universal, Inc.                       PA0001625330
   1169   Sweet Love                      Songs of Universal, Inc.                       PA0002094537
   1170   Talkin' 2 Myself                Songs of Universal, Inc.                       PA0001730970
   1171   Testify                         Songs of Universal, Inc.                       PA0001302101
   1172   That's Gonna Leave A Memory     Songs of Universal, Inc.                       PA0001910312
   1173   That's Right                    Songs of Universal, Inc.                       PA0001885587
   1174   The Corner                      Songs of Universal, Inc.                       PA0001302098
   1175   The Deepest Blues Are Black     Songs of Universal, Inc.                       PA0001730830
   1176   The Last Song                   Songs of Universal, Inc.                       PA0001731040
   1177   The Last Time                   Songs of Universal, Inc.                       PA0001328099
   1178   The News                        Songs of Universal, Inc.                       PA0001631133
   1179   The Pretender                   Songs of Universal, Inc.                       PA0001623649
   1180   The Reunion                     Songs of Universal, Inc.                       PA0001784195; PA0001842406
   1181   The River                       Songs of Universal, Inc.                       PA0001822211
   1182   The Way You Do Me               Songs of Universal, Inc.                       PA0001367649
   1183   They Say                        Songs of Universal, Inc.                       PA0001302106
   1184   This Is Me                      Songs of Universal, Inc.                       PA0001131262
   1185   This Is The House That Doubt
          Built                           Songs of Universal, Inc.                       PA0001748916
   1186   Tiptoe                          Songs of Universal, Inc.                       PA0001816000
   1187   Underdog                        Songs of Universal, Inc.                       PA0001816019
   1188   Up All Night                    Songs of Universal, Inc.                       PA0001715364
   1189   Va Va Voom                      Songs of Universal, Inc.                       PA0001835092
   1190   Virginia Moon                   Songs of Universal, Inc.                       PAu003542317
   1191   W.T.P.                          Songs of Universal, Inc.                       PA0001730966
   1192   Wait For Me                     Songs of Universal, Inc.                       PA0001780732
   1193   Wait For You                    Songs of Universal, Inc.                       PA0001821989
   1194   Wanted Is Love                  Songs of Universal, Inc.                       PA0001839493
   1195   Wave Ya Hand                    Songs of Universal, Inc.                       PA0001730648
   1196   We All Want Love                Songs of Universal, Inc.                       PA0001778698
   1197   We Oughta Be Drinkin'           Songs of Universal, Inc.                       PA0001878369
   1198   What Goes Around                Songs of Universal, Inc.                       PA0001780251
   1199   What If I Do?                   Songs of Universal, Inc.                       PA0001730872
   1200   Wheels                          Songs of Universal, Inc.                       PA0001705842
   1201   Where We Came From              Songs of Universal, Inc.                       PA0001839490
   1202   Willing To Wait                 Songs of Universal, Inc.                       PA0001328103
   1203   With You                        Songs of Universal, Inc.                       PA0001371417
   1204   Without You                     Songs of Universal, Inc.                       PA0000577490
   1205   Working Man                     Songs of Universal, Inc.                       PA0001840143
   1206   You Don't Know                  Songs of Universal, Inc.                       PA0001396073
   1207   You See Me                      Songs of Universal, Inc.                       PA0001773581
   1208   You're Never Over               Songs of Universal, Inc.                       PA0001731110
   1209   Your Love                       Songs of Universal, Inc.                       PA0001745312
   1210                                   Songs Of Universal, Inc. / Universal Music -
          I Don't Remember                Z Tunes LLC                                    PA0001729163



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                          Track                                Plaintiff                          Registration_Number
   1211                                       Songs Of Universal, Inc. / Universal Music -
          Love The Way You Lie                Z Tunes LLC                                    PA0001730976
   1212                                       Songs Of Universal, Inc. / Universal Music -
          Love The Way You Lie (Part II)      Z Tunes LLC                                    PA0001732821
   1213                                       Songs Of Universal, Inc. / Universal Music -
          On & On                             Z Tunes LLC                                    PA0001733345
   1214                                       Songs Of Universal, Inc. / Universal Music -
          The Sellout                         Z Tunes LLC                                    PA0001733312
   1215                                       Songs of Universal, Inc. / Universal Music
          03' Bonnie & Clyde                  Corp.                                          PA0001147399
   1216                                       Songs of Universal, Inc. / Universal Music
          Atlantic                            Corp.                                          PA0001777097
   1217                                       Songs of Universal, Inc. / Universal Music
          Ceiling of Plankton                 Corp.                                          PA0001777095
   1218                                       Songs of Universal, Inc. / Universal Music
          Christmas Eve                       Corp.                                          PA0001780227
   1219                                       Songs of Universal, Inc. / Universal Music
          Diamond In The Rough                Corp.                                          PA0001768249
   1220                                       Songs of Universal, Inc. / Universal Music
          Disco Inferno                       Corp.                                          PA0001298497
   1221                                       Songs of Universal, Inc. / Universal Music
          Easy                                Corp.                                          PA0001726638
   1222                                       Songs of Universal, Inc. / Universal Music
          Go Out All Night                    Corp.                                          PA0001777099
   1223                                       Songs of Universal, Inc. / Universal Music
          In My Eyes                          Corp.                                          PA0001777096
   1224                                       Songs of Universal, Inc. / Universal Music
          Meantime                            Corp.                                          PA0001777091
   1225                                       Songs of Universal, Inc. / Universal Music
          No BS                               Corp.                                          PA0001750518
   1226                                       Songs of Universal, Inc. / Universal Music
          Noche Nada                          Corp.                                          PA0001777094
   1227                                       Songs of Universal, Inc. / Universal Music
          Raining Men                         Corp.                                          PA0001732814
   1228                                       Songs of Universal, Inc. / Universal Music
          Ripe                                Corp.                                          PA0001777093
   1229                                       Songs of Universal, Inc. / Universal Music
          Saw You First                       Corp.                                          PA0001777092
   1230                                       Songs of Universal, Inc. / Universal Music
          So Many Ways                        Corp.                                          PA0001371413
   1231                                       Songs of Universal, Inc. / Universal Music
          Survival                            Corp.                                          PA0001965032
   1232                                       Songs of Universal, Inc. / Universal Music
          Up Up Up                            Corp.                                          PA0001777090
   1233                                       Songs of Universal, Inc. / Universal Music
          Where Ya Wanna Go                   Corp.                                          PA0001824684
   1234                                       Songs of Universal, Inc. / Universal Music
          Words                               Corp.                                          PA0001777098
   1235   A Distorted Reality Is Now A
          Necessity To Be Free                Universal Music - MGB NA LLC                   PA0001160161



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                              List of Music Publisher Plaintiffs’ Copyrighted Compositions


                         Track                               Plaintiff                     Registration_Number
   1236   A Fond Farewell                  Universal Music - MGB NA LLC               PA0001160152
   1237   A Passing Feeling                Universal Music - MGB NA LLC               PA0001160156
   1238   A Question Mark                  Universal Music - MGB NA LLC               PA0000943571
   1239   Ace In The Hole                  Universal Music - MGB NA LLC               PA0000419894
   1240   Alameda                          Universal Music - MGB NA LLC               PA0000859622
   1241   All Black Everything             Universal Music - MGB NA LLC               PA0001740713
   1242   Almost Doesn't Count             Universal Music - MGB NA LLC               PA0000917406
   1243   Alphabet Town                    Universal Music - MGB NA LLC               PA0000787969
   1244   Amity                            Universal Music - MGB NA LLC               PA0000943572
   1245   Angeles                          Universal Music - MGB NA LLC               PA0000859623
   1246   Baby Britain                     Universal Music - MGB NA LLC               PA0000943582
   1247   Ballad Of Big Nothing            Universal Music - MGB NA LLC               PA0000859624
   1248   Beautiful                        Universal Music - MGB NA LLC               PA0001073465
   1249   Beautiful Goodbye                Universal Music - MGB NA LLC               PA0001810814
   1250   Beautiful Lasers (2 Ways)        Universal Music - MGB NA LLC               PA0001739094
   1251   Behind The Crooked Cross         Universal Music - MGB NA LLC               PA0000398150
   1252   Better Be Quiet Now              Universal Music - MGB NA LLC               PA0001015796
   1253   Between The Bars                 Universal Music - MGB NA LLC               PA0000859625
   1254   Bled White                       Universal Music - MGB NA LLC               PA0000943583
   1255   Bless The Broken Road            Universal Music - MGB NA LLC               PA0000734451
   1256   Breakdown                        Universal Music - MGB NA LLC               PA0001166373
   1257   Bye                              Universal Music - MGB NA LLC               PA0001015793
   1258   Call The Man                     Universal Music - MGB NA LLC               PA0000786592
   1259   Can't Make A Sound               Universal Music - MGB NA LLC               PA0001015792
   1260   Candyman                         Universal Music - MGB NA LLC               PA0001165131
   1261   Christian Brothers               Universal Music - MGB NA LLC               PA0000787963
   1262   Cleanse The Soul                 Universal Music - MGB NA LLC               PA0000398146
   1263   Clementine                       Universal Music - MGB NA LLC               PA0000787964
   1264   Coast To Coast                   Universal Music - MGB NA LLC               PA0001160148
   1265   Colorbars                        Universal Music - MGB NA LLC               PA0001015789
   1266   Coming Up                        Universal Music - MGB NA LLC               PA0001739096
   1267   Coming Up Roses                  Universal Music - MGB NA LLC               PA0000787967
   1268   Condor Ave.                      Universal Music - MGB NA LLC               PA0000874054
   1269   Crashed                          Universal Music - MGB NA LLC               PA0001166377
   1270   Cupids Trick                     Universal Music - MGB NA LLC               PA0000859633
   1271   Don't Feel Right                 Universal Music - MGB NA LLC               PA0001165229
   1272   Don't Go Down                    Universal Music - MGB NA LLC               PA0001160150
   1273   Drive All Over Town              Universal Music - MGB NA LLC               PA0000874058
   1274   Easy Way Out                     Universal Music - MGB NA LLC               PA0001015787
   1275   Everybody Cares, Everybody
          Understands                      Universal Music - MGB NA LLC               PA0000943580
   1276   Everything Means Nothing To Me   Universal Music - MGB NA LLC               PA0001015783
   1277   Everything Reminds Me Of Her     Universal Music - MGB NA LLC               PA0001015782
   1278   Eye In The Sky                   Universal Music - MGB NA LLC               PA0000144130
   1279   Fortune Teller                   Universal Music - MGB NA LLC               PA0001810795
   1280   Get Back In My Life              Universal Music - MGB NA LLC               PA0001726280
   1281   Ghosts of War                    Universal Music - MGB NA LLC               PA0000398148
   1282   Give A Little More               Universal Music - MGB NA LLC               PA0001726268



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                              List of Music Publisher Plaintiffs’ Copyrighted Compositions


                         Track                              Plaintiff                      Registration_Number
   1283   Gone                            Universal Music - MGB NA LLC                PA0001694264
   1284   Good To Go                      Universal Music - MGB NA LLC                PA0000787971
   1285   Happiness (Single Version)      Universal Music - MGB NA LLC                PA0001015790
   1286   Harder To Breathe               Universal Music - MGB NA LLC                PA0001073084
   1287   Help Me                         Universal Music - MGB NA LLC                PA0001395680
   1288   Home                            Universal Music - MGB NA LLC                PA0001166372
   1289   How                             Universal Music - MGB NA LLC                PA0001784067
   1290   How 'Bout Them Cowgirls         Universal Music - MGB NA LLC                PA0001165925
   1291   How Come You Don't Call Me      Universal Music - MGB NA LLC                PA0001316943
   1292   I Can't Lie                     Universal Music - MGB NA LLC                PA0001784067
   1293   I Care                          Universal Music - MGB NA LLC                PA0001748375
   1294   I Didn't Understand             Universal Music - MGB NA LLC                PA0000943573
   1295   I Don't Wanna Care Right Now    Universal Music - MGB NA LLC                PA0001739119
   1296   I Want to Give It All           Universal Music - MGB NA LLC                PA0000106853
   1297   In The Lost And Found (Honky
          Bach)/The Roost                 Universal Music - MGB NA LLC                PA0001015785
   1298   Independence Day                Universal Music - MGB NA LLC                PA0000846538
   1299   Junk Bond Trader                Universal Music - MGB NA LLC                PA0001015781
   1300   Just A Feeling                  Universal Music - MGB NA LLC                PA0001726281
   1301   King's Crossing                 Universal Music - MGB NA LLC                PA0001160154
   1302   Kiwi Maddog 2020                Universal Music - MGB NA LLC                PA0000874061
   1303   Ladykiller                      Universal Music - MGB NA LLC                PA0001810778
   1304   Last Call                       Universal Music - MGB NA LLC                PA0000874060
   1305   Last Name                       Universal Music - MGB NA LLC                PA0001642858
   1306   Let's Get Lost                  Universal Music - MGB NA LLC                PA0001160147
   1307   Little One                      Universal Music - MGB NA LLC                PA0001160160
   1308   Live Undead                     Universal Music - MGB NA LLC                PA0000398142
   1309   Loca (English Version)          Universal Music - MGB NA LLC                PA0001834128
   1310   Loca (Spanish Version)          Universal Music - MGB NA LLC                PA0001834121
   1311   Lose My Cool                    Universal Music - MGB NA LLC                PA0001318280
   1312   Lose Myself                     Universal Music - MGB NA LLC                PA0000884229
   1313   Love Was Easy                   Universal Music - MGB NA LLC                PA0001899459
   1314   Lucky Strike                    Universal Music - MGB NA LLC                PA0001810804
   1315   Mamacita                        Universal Music - MGB NA LLC                PA0001635799
   1316   Mandatory Suicide               Universal Music - MGB NA LLC                PA0000398149
   1317   Memory Lane                     Universal Music - MGB NA LLC                PA0001160159
   1318   Misery                          Universal Music - MGB NA LLC                PA0001726265
   1319   Miss Misery                     Universal Music - MGB NA LLC                PA0000880149
   1320   Mmm Papi                        Universal Music - MGB NA LLC                PA0001800249
   1321   Must Get Out                    Universal Music - MGB NA LLC                PA0001073090
   1322   Needle In The Hay               Universal Music - MGB NA LLC                PA0000787962
   1323   Never Gonna Leave This Bed      Universal Music - MGB NA LLC                PA0001726273
   1324   No Curtain Call                 Universal Music - MGB NA LLC                PA0001726287
   1325   No Name #1                      Universal Music - MGB NA LLC                PA0000874055
   1326   No Name #2                      Universal Music - MGB NA LLC                PA0000874056
   1327   No Name #3                      Universal Music - MGB NA LLC                PA0000874057
   1328   No Name #4                      Universal Music - MGB NA LLC                PA0000874059
   1329   No Name #5                      Universal Music - MGB NA LLC                PA0000859632



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                              List of Music Publisher Plaintiffs’ Copyrighted Compositions


                         Track                              Plaintiff                      Registration_Number
   1330   Nobody Ever Told You            Universal Music - MGB NA LLC                PA0001810765
   1331   Not Coming Home                 Universal Music - MGB NA LLC                PA0001073094
   1332   Oh Well, OK                     Universal Music - MGB NA LLC                PA0000943579
   1333   One More Night                  Universal Music - MGB NA LLC                PA0001810344
   1334   One Way Ticket                  Universal Music - MGB NA LLC                PA0001810764
   1335   Ostrich & Chirping              Universal Music - MGB NA LLC                PA0001160153
   1336   Out Of Control                  Universal Music - MGB NA LLC                PA0001015243
   1337   Out Of Goodbyes                 Universal Music - MGB NA LLC                PA0001726285
   1338   Pictures Of Me                  Universal Music - MGB NA LLC                PA0000859626
   1339   Pitseleh                        Universal Music - MGB NA LLC                PA0000943578
   1340   Pretty (Ugly Before)            Universal Music - MGB NA LLC                PA0001160149
   1341   Pretty Mary K (Other Version)   Universal Music - MGB NA LLC                PA0001015791
   1342   Pretty Mary Kay                 Universal Music - MGB NA LLC                PA0001015791
   1343   Punch And Judy                  Universal Music - MGB NA LLC                PA0000859627
   1344   Rabiosa (English Version)       Universal Music - MGB NA LLC                PA0001833949
   1345   Rabiosa (Spanish Version)       Universal Music - MGB NA LLC                PA0001833947
   1346   Read Between The Lies           Universal Music - MGB NA LLC                PA0000398147
   1347   Ready To Run                    Universal Music - MGB NA LLC                PA0000955178
   1348   Return of the "G"               Universal Music - MGB NA LLC                PA0000956080
   1349   Roman Candle                    Universal Music - MGB NA LLC                PA0000874053
   1350   Rose Parade                     Universal Music - MGB NA LLC                PA0000859628
   1351   Runaway                         Universal Music - MGB NA LLC                PA0001726283
   1352   Sacrifice                       Universal Music - MGB NA LLC                PA0001163825
   1353   Sad                             Universal Music - MGB NA LLC                PA0001810801
   1354   Satellite                       Universal Music - MGB NA LLC                PA0000787968
   1355   Say Yes                         Universal Music - MGB NA LLC                PA0000859629
   1356   Secret                          Universal Music - MGB NA LLC                PA0001073092
   1357   She Will Be Loved               Universal Music - MGB NA LLC                PA0001073087
   1358   Shiver                          Universal Music - MGB NA LLC                PA0001073086
   1359   Shooting Star                   Universal Music - MGB NA LLC                PA0001160158
   1360   Shoulda Let You Go              Universal Music - MGB NA LLC                PA0001395956
   1361   Silent Scream                   Universal Music - MGB NA LLC                PA0000398144
   1362   Single File                     Universal Music - MGB NA LLC                PA0000787966
   1363   Some Song                       Universal Music - MGB NA LLC                PA0000977171
   1364   Somebody That I Used To Know    Universal Music - MGB NA LLC                PA0001015780
   1365   Son Of Sam                      Universal Music - MGB NA LLC                PA0001015779
   1366   South Of Heaven                 Universal Music - MGB NA LLC                PA0000398143
   1367   Southern Belle                  Universal Music - MGB NA LLC                PA0000787965
   1368   Speed Trials                    Universal Music - MGB NA LLC                PA0000859630
   1369   Spill The Blood                 Universal Music - MGB NA LLC                PA0000398145
   1370   St. Ides Heaven                 Universal Music - MGB NA LLC                PA0000787970
   1371   State Run Radio                 Universal Music - MGB NA LLC                PA0001739098
   1372   Strung Out Again                Universal Music - MGB NA LLC                PA0001160151
   1373   Stupidity Tries                 Universal Music - MGB NA LLC                PA0001015786
   1374   Stutter                         Universal Music - MGB NA LLC                PA0001784067
   1375   Sunday Morning                  Universal Music - MGB NA LLC                PA0001073091
   1376   Superstar                       Universal Music - MGB NA LLC                PA0001914364
   1377   Sweet Adeline                   Universal Music - MGB NA LLC                PA0000943577



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                         Track                              Plaintiff                      Registration_Number
   1378   Sweetest Goodbye                Universal Music - MGB NA LLC                PA0001073095
   1379   Tangled                         Universal Music - MGB NA LLC                PA0001073088
   1380   The Last Hour                   Universal Music - MGB NA LLC                PA0001160157
   1381   The Sun                         Universal Music - MGB NA LLC                PA0001073089
   1382   The White Lady Loves You More   Universal Music - MGB NA LLC                PA0000787972
   1383   There Will Come A Day           Universal Music - MGB NA LLC                PA0001104206
   1384   Think Twice                     Universal Music - MGB NA LLC                PA0000681510
   1385   This Love                       Universal Music - MGB NA LLC                PA0001073085
   1386   Through With You                Universal Music - MGB NA LLC                PA0001073093
   1387   Tickets                         Universal Music - MGB NA LLC                PA0001810805
   1388   Tomorrow Tomorrow               Universal Music - MGB NA LLC                PA0000943576
   1389   Tonite                          Universal Music - MGB NA LLC                PA0000106854
   1390   Tulsa Texas                     Universal Music - MGB NA LLC                PA0001910314
   1391   Twilight                        Universal Music - MGB NA LLC                PA0001160155
   1392   Used To                         Universal Music - MGB NA LLC                PA0001166369
   1393   Waltz #1                        Universal Music - MGB NA LLC                PA0000943575
   1394   Waltz, NO. 2 (XO)               Universal Music - MGB NA LLC                PA0000943574
   1395   Welcome 2 Hell                  Universal Music - MGB NA LLC                PA0001808402; PA0001784192
   1396   What I Want                     Universal Music - MGB NA LLC                PA0001166370
   1397   Wouldn't Mama Be Proud          Universal Music - MGB NA LLC                PA0001015788
   1398   Ying & The Yang                 Universal Music - MGB NA LLC                PA0001678487
   1399   1985                            Universal Music - Z Tunes LLC               PA0001159762
   1400   A-hole                          Universal Music - Z Tunes LLC               PA0001159770
   1401   All I Have To Give              Universal Music - Z Tunes LLC               PA0000859324
   1402   All The Way                     Universal Music - Z Tunes LLC               PA0001933959
   1403   Almost                          Universal Music - Z Tunes LLC               PA0001159760
   1404   Almost Home                     Universal Music - Z Tunes LLC               PA0001159842
   1405   Anything                        Universal Music - Z Tunes LLC               PA0001166331
   1406   AV                              Universal Music - Z Tunes LLC               PA0001158617
   1407   Beauty in the World             Universal Music - Z Tunes LLC               PA0001733325
   1408   Boo                             Universal Music - Z Tunes LLC               PA0001068355
   1409   Brenda's Got A Baby             Universal Music - Z Tunes LLC               PA0001319771
   1410   Brightest Morning Star          Universal Music - Z Tunes LLC               PA0001915188
   1411   Burn It Down                    Universal Music - Z Tunes LLC               PA0001805742
   1412   Caligula                        Universal Music - Z Tunes LLC               PA0000982321
   1413   Call Me Guilty                  Universal Music - Z Tunes LLC               PA0001897137
   1414   Call On Me                      Universal Music - Z Tunes LLC               PA0001087663
   1415   Can't Get the Best of Me        Universal Music - Z Tunes LLC               PA0001009100
   1416   Castle of Glass                 Universal Music - Z Tunes LLC               PA0001805745
   1417   Celebrity                       Universal Music - Z Tunes LLC               PA0001752525
   1418   Come Together                   Universal Music - Z Tunes LLC               PA0001131225
   1419   Coming Home                     Universal Music - Z Tunes LLC               PA0000968742
   1420   Crawling                        Universal Music - Z Tunes LLC               PA0001092510
   1421   Damn Girl                       Universal Music - Z Tunes LLC               PA0001165054
   1422   Destiny                         Universal Music - Z Tunes LLC               PA0001012581
   1423   Do Something                    Universal Music - Z Tunes LLC               PA0000965750
   1424   Don't Say No, Just Say Yes      Universal Music - Z Tunes LLC               PA0001087665
   1425   Don't Take Your Love Away       Universal Music - Z Tunes LLC               PA0001158619



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                           Track                                  Plaintiff                   Registration_Number
   1426   Down For The Count                    Universal Music - Z Tunes LLC            PA0001159774
   1427   Every Position                        Universal Music - Z Tunes LLC            PA0002031790
   1428   Everything About You                  Universal Music - Z Tunes LLC            PA0001158625
   1429   F*ck Faces                            Universal Music - Z Tunes LLC            PA0000951093
   1430   Feast                                 Universal Music - Z Tunes LLC            PA0001158622
   1431   Finally Made Me Happy                 Universal Music - Z Tunes LLC            PA0001167770
   1432   Flickin'                              Universal Music - Z Tunes LLC            PA0001158627
   1433   Friends O' Mine                       Universal Music - Z Tunes LLC            PA0001159776
   1434   Fuck The World                        Universal Music - Z Tunes LLC            PA0000956432
   1435   Get Away                              Universal Music - Z Tunes LLC            PA0001025466
   1436   Get Happy                             Universal Music - Z Tunes LLC            PA0001159763
   1437   Gimme All Your Lovin' or I Will
          Kill You                              Universal Music - Z Tunes LLC            PA0001068357
   1438   Good to know that if I ever need
          attention all I have to do is die     Universal Music - Z Tunes LLC            PA0001160994
   1439   Guernica                              Universal Music - Z Tunes LLC            PA0001160999
   1440   Happiness                             Universal Music - Z Tunes LLC            PA0001131229
   1441   Happy                                 Universal Music - Z Tunes LLC            PA0001012579
   1442   Here Comes Goodbye                    Universal Music - Z Tunes LLC            PA0001655601
   1443   Hold On Tight                         Universal Music - Z Tunes LLC            PA0001915189
   1444   Hooked                                Universal Music - Z Tunes LLC            PA0001158620
   1445   I Can't Wait                          Universal Music - Z Tunes LLC            PA0001396082
   1446   I Don't Need 'Em                      Universal Music - Z Tunes LLC            PA0001298501
   1447   I Hate Everything                     Universal Music - Z Tunes LLC            PA0001159807
   1448   I Wanna Know                          Universal Music - Z Tunes LLC            PA0001012580
   1449   I Will Play My Game Beneath The
          Spin Light                            Universal Music - Z Tunes LLC            PA0001160991
   1450   I'll Be Gone                          Universal Music - Z Tunes LLC            PA0001805744
   1451   I'll Never Break Your Heart           Universal Music - Z Tunes LLC            PA0000859260
   1452   If It's Lovin' That You Want          Universal Music - Z Tunes LLC            PA0001167048; PA0001162726
   1453   If It's Lovin' That You Want - Part
          2                                     Universal Music - Z Tunes LLC            PA0001689043
   1454   In Between Us                         Universal Music - Z Tunes LLC            PA0001113731
   1455   In Love With Another Man              Universal Music - Z Tunes LLC            PA0001897134
   1456   In My Remains                         Universal Music - Z Tunes LLC            PA0001805741
   1457   Jack & Jill                           Universal Music - Z Tunes LLC            PA0001087674
   1458   Jaws Theme Swimming                   Universal Music - Z Tunes LLC            PA0001160998
   1459   Larger Than Life                      Universal Music - Z Tunes LLC            PA0000940713
   1460   Last Call Casualty                    Universal Music - Z Tunes LLC            PA0001159767
   1461   Leave Out All The Rest                Universal Music - Z Tunes LLC            PA0001167571
   1462   Let You Win                           Universal Music - Z Tunes LLC            PA0001733341
   1463   Let's Go                              Universal Music - Z Tunes LLC            PA0001825022
   1464   Let's Make a Deal                     Universal Music - Z Tunes LLC            PA0001025467
   1465   Lie About Us                          Universal Music - Z Tunes LLC            PA0001167119
   1466   Lies Greed Misery                     Universal Music - Z Tunes LLC            PA0001805743
   1467   Lost in the Echo                      Universal Music - Z Tunes LLC            PA0001805740
   1468   Love Me Love Me                       Universal Music - Z Tunes LLC            PA0001784544
   1469   Love School                           Universal Music - Z Tunes LLC            PA0001087673



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                                List of Music Publisher Plaintiffs’ Copyrighted Compositions


                         Track                                   Plaintiff                   Registration_Number
   1470   Makin' Good Love                     Universal Music - Z Tunes LLC            PA0001087666
   1471   Marry The P***y                      Universal Music - Z Tunes LLC            PA0001934438
   1472   Me Against The Music                 Universal Music - Z Tunes LLC            PA0001158586
   1473   Me vs. Maradona vs. Elvis            Universal Music - Z Tunes LLC            PA0001161000
   1474   My Baby                              Universal Music - Z Tunes LLC            PA0001888781
   1475   My Foolish Heart                     Universal Music - Z Tunes LLC            PA0001950235
   1476   My Hometown                          Universal Music - Z Tunes LLC            PA0001159769
   1477   Next Ex-Girlfriend                   Universal Music - Z Tunes LLC            PA0001159768
   1478   No Limit                             Universal Music - Z Tunes LLC            PA0001087668
   1479   Oblivion                             Universal Music - Z Tunes LLC            PA0001066429
   1480   Okay I Believe You, But My
          Tommy Gun Don't                      Universal Music - Z Tunes LLC            PA0001160992
   1481   One Night Stand                      Universal Music - Z Tunes LLC            PA0001897141
   1482   One Way Street                       Universal Music - Z Tunes LLC            PA0001087672
   1483   Ooh Aah                              Universal Music - Z Tunes LLC            PA0001012582
   1484   Papercut                             Universal Music - Z Tunes LLC            PA0001092506
   1485   Parachute                            Universal Music - Z Tunes LLC            PA0001856273
   1486   Perfume (The Dreaming Mix)           Universal Music - Z Tunes LLC            PA0001915193
   1487   Phone Sex (That's What's Up)         Universal Music - Z Tunes LLC            PA0001158621
   1488   Play Crack The Sky                   Universal Music - Z Tunes LLC            PA0001160996
   1489   Points Of Authority                  Universal Music - Z Tunes LLC            PA0001092509
   1490   Powerless                            Universal Music - Z Tunes LLC            PA0001805751
   1491   PPr:Kut                              Universal Music - Z Tunes LLC            PA0001237300
   1492   Pts.Of.Athrty                        Universal Music - Z Tunes LLC            PA0001237292
   1493   Rather Hazy                          Universal Music - Z Tunes LLC            PA0001010168
   1494   Reaction                             Universal Music - Z Tunes LLC            PA0001054035
   1495   Read Your Mind                       Universal Music - Z Tunes LLC            PA0001158618
   1496   Real Love                            Universal Music - Z Tunes LLC            PA0001733344
   1497   Really Might Be Gone                 Universal Music - Z Tunes LLC            PA0001159773
   1498   Rehab                                Universal Music - Z Tunes LLC            PA0001641351
   1499   Ridiculous                           Universal Music - Z Tunes LLC            PA0001159765
   1500   Rnw@y                                Universal Music - Z Tunes LLC            PA0001237301
   1501   Roads Untraveled                     Universal Music - Z Tunes LLC            PA0001805747
   1502   Runaway                              Universal Music - Z Tunes LLC            PA0001092511
   1503   Sad Sad Situation                    Universal Music - Z Tunes LLC            PA0001159772
   1504   Screamin'                            Universal Music - Z Tunes LLC            PA0001131232
   1505   Seems To Be                          Universal Music - Z Tunes LLC            PA0001158623
   1506   Separated                            Universal Music - Z Tunes LLC            PA0001012575
   1507   Serious                              Universal Music - Z Tunes LLC            PA0001025468
   1508   Session                              Universal Music - Z Tunes LLC            PA0001256413
   1509   Sex-o-matic Venus Freak              Universal Music - Z Tunes LLC            PA0000982322
   1510   Sexual Revolution                    Universal Music - Z Tunes LLC            PA0001088199
   1511   She Ain't Right for You              Universal Music - Z Tunes LLC            PA0001131223
   1512
          She Don't Write Songs About You      Universal Music - Z Tunes LLC            PA0001131226
   1513   Shut-Up And Smile                    Universal Music - Z Tunes LLC            PA0001159766
   1514   Sic Transit Gloria ... Glory Fades   Universal Music - Z Tunes LLC            PA0001160995
   1515   Six In Da Morning                    Universal Music - Z Tunes LLC            PA0001087670



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                               List of Music Publisher Plaintiffs’ Copyrighted Compositions


                        Track                                Plaintiff                      Registration_Number
   1516   Skin to Bone                     Universal Music - Z Tunes LLC               PA0001805748
   1517   Smoothie King                    Universal Music - Z Tunes LLC               PA0001159771
   1518   Somewhere I Belong               Universal Music - Z Tunes LLC               PA0001256410
   1519   Sorry                            Universal Music - Z Tunes LLC               PA0001087667
   1520   Stalker                          Universal Music - Z Tunes LLC               PA0001733343
   1521   Still Hurts                      Universal Music - Z Tunes LLC               PA0001733323
   1522   Suicide                          Universal Music - Z Tunes LLC               PA0001087675
   1523   Take A Bow                       Universal Music - Z Tunes LLC               PA0001692696
   1524   Tautou                           Universal Music - Z Tunes LLC               PA0001160990
   1525   Tequila Sunrise                  Universal Music - Z Tunes LLC               PA0000978418
   1526   That Man                         Universal Music - Z Tunes LLC               PA0001733342
   1527   The Boss                         Universal Music - Z Tunes LLC               PA0001643618
   1528   The Boy Who Blocked His Own
          Shot                             Universal Music - Z Tunes LLC               PA0001160993
   1529   The Comeback                     Universal Music - Z Tunes LLC               PA0001733346
   1530   The Letter                       Universal Music - Z Tunes LLC               PA0000982327
   1531   The One                          Universal Music - Z Tunes LLC               PA0000940719
   1532   The Quiet Things That No One
          Ever Knows                       Universal Music - Z Tunes LLC               PA0001160997
   1533   They Down With Us                Universal Music - Z Tunes LLC               PA0001032839
   1534   Things That Made Me Change       Universal Music - Z Tunes LLC               PA0001131224
   1535   Thinkin' About You               Universal Music - Z Tunes LLC               PA0001087669
   1536   This Time                        Universal Music - Z Tunes LLC               PA0001025469
   1537   Throw This Money On You          Universal Music - Z Tunes LLC               PA0001934439
   1538   Throw Your Set In The Air        Universal Music - Z Tunes LLC               PA0000864778
   1539   Thugz Cry                        Universal Music - Z Tunes LLC               PA0000980074
   1540   Tinfoil                          Universal Music - Z Tunes LLC               PA0001805750
   1541   Treat Me Like Your Money         Universal Music - Z Tunes LLC               PA0001167777
   1542   Trucker Hat                      Universal Music - Z Tunes LLC               PA0001159761
   1543   Two-Seater                       Universal Music - Z Tunes LLC               PA0001159775
   1544   Valentine's Day                  Universal Music - Z Tunes LLC               PA0001167577
   1545   Victimized                       Universal Music - Z Tunes LLC               PA0001805746
   1546   Wake                             Universal Music - Z Tunes LLC               PA0001167569
   1547   Wanna Be Close                   Universal Music - Z Tunes LLC               PA0001158624
   1548   What Do You Want                 Universal Music - Z Tunes LLC               PA0001087664
   1549   What I Gotta Do                  Universal Music - Z Tunes LLC               PA0001734468
   1550   When U Cry                       Universal Music - Z Tunes LLC               PA0000884230
   1551   Why                              Universal Music - Z Tunes LLC               PA0001012583
   1552   Why Didn't You Call Me           Universal Music - Z Tunes LLC               PA0000982319
   1553   With You                         Universal Music - Z Tunes LLC               PA0001092508
   1554   You Ain't Right                  Universal Music - Z Tunes LLC               PA0001087671
   1555   You Deserve Better               Universal Music - Z Tunes LLC               PA0001933962
   1556   You Got Me                       Universal Music - Z Tunes LLC               PA0001158628; PA0001208305
   1557   You're Not Alone                 Universal Music - Z Tunes LLC               PA0001784547
   1558                                    Universal Music - Z Tunes LLC / Songs of
          Don't Phunk Around               Universal, Inc. / Universal Music Corp.     PA0001824676
   1559                                    Universal Music - Z Tunes LLC / Songs of
          Words I Never Said               Universal, Inc. / Universal Music Corp.     PA0001739113



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                                List of Music Publisher Plaintiffs’ Copyrighted Compositions


                        Track                                 Plaintiff                        Registration_Number
   1560                                     Universal Music - Z Tunes LLC / Universal
          It Ain't The Money                Music - MGB NA LLC                          PA0001131222
   1561                                     Universal Music - Z Tunes LLC / Universal
          Sometimes                         Music Publishing AB                         PA0000932239
   1562   (I've Just Begun) Having My Fun   Universal Music Corp.                       PA0001287638
   1563   #Beautiful                        Universal Music Corp.                       PA0001888760
   1564   4 Real                            Universal Music Corp.                       PA0001742275
   1565   Adorn                             Universal Music Corp.                       PA0001899234
   1566   Adrenaline Rush                   Universal Music Corp.                       PA0001145821
   1567   Ain't It The Life                 Universal Music Corp.                       PA0001693327
   1568   Alice                             Universal Music Corp.                       PA0001728745
   1569   Alive                             Universal Music Corp.                       PA0000544549
   1570   All Back                          Universal Music Corp.                       PA0001750523
   1571   All I Want Is You                 Universal Music Corp.                       PA0001780224
   1572   Animal                            Universal Music Corp.                       PA0000669752
   1573   Annabelle                         Universal Music Corp.                       PA0000787740
   1574   Another Try                       Universal Music Corp.                       PA0001642916
   1575   Anything But Ordinary             Universal Music Corp.                       PA0001101512
   1576   April The 14th Part 1             Universal Music Corp.                       PA0001063438
   1577   Astronaut Chick                   Universal Music Corp.                       PA0001856280
   1578   Aurora                            Universal Music Corp.                       PA0001693316
   1579   Baby, I Go Crazy                  Universal Music Corp.                       PA0001642909
   1580   Be Alright                        Universal Music Corp.                       PA0001850370
   1581   Beauty And A Beat                 Universal Music Corp.                       PA0001850375
   1582   Better Days                       Universal Music Corp.                       PA0000877830
   1583   Better Man                        Universal Music Corp.                       PA0000663649
   1584   Black Star                        Universal Music Corp.                       PA0001742258
   1585   Breakout                          Universal Music Corp.                       PA0001705474
   1586   Breakout                          Universal Music Corp.                       PA0001693301
   1587   Build You Up                      Universal Music Corp.                       PA0001298503
   1588   By The Mark                       Universal Music Corp.                       PA0000787742
   1589   Candy Shop                        Universal Music Corp.                       PA0001298495
   1590   Cant Leave Em Alone               Universal Music Corp.                       PA0001885593
   1591   Complicated                       Universal Music Corp.                       PA0001101506
   1592   Corduroy                          Universal Music Corp.                       PA0000663646
   1593   Crept And We Came                 Universal Music Corp.                       PA0000767829
   1594   Curiosity                         Universal Music Corp.                       PA0001864128
   1595   Darlin                            Universal Music Corp.                       PA0001742277
   1596   Daughter                          Universal Music Corp.                       PA0000669753
   1597   Dear Someone                      Universal Music Corp.                       PA0001063436
   1598   Destiny (Live)                    Universal Music Corp.                       PA0001131247
   1599   Deuces Are Wild                   Universal Music Corp.                       PA0000693447
   1600   Didn't We Almost Have It All      Universal Music Corp.                       PA0000348786
   1601   Dirty Frank                       Universal Music Corp.                       PA0000593703
   1602   Dissident                         Universal Music Corp.                       PA0000669755
   1603   DJ Play A Love Song               Universal Music Corp.                       PA0001696017
   1604   East 1999                         Universal Music Corp.                       PA0000767827
   1605   Echo                              Universal Music Corp.                       PA0001727653



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                                List of Music Publisher Plaintiffs’ Copyrighted Compositions


                         Track                               Plaintiff                       Registration_Number
   1606   End Of The Road                   Universal Music Corp.                       PA0001649584
   1607   Eternal                           Universal Music Corp.                       PA0000767828
   1608   Everybody Loves You Now           Universal Music Corp.                       PA0000119693
   1609   Everything Is Fine                Universal Music Corp.                       PA0001642898
   1610   Everything Is Free                Universal Music Corp.                       PA0001063442
   1611   Exclusive                         Universal Music Corp.                       PA0001323360
   1612   Fa-Fa-Fa-Fa-Fa (Sad Song)         Universal Music Corp.                       PA0000318166
   1613   Fall To Pieces                    Universal Music Corp.                       PA0001251271
   1614   Far Behind                        Universal Music Corp.                       PA0001649582
   1615   Fly As The Sky                    Universal Music Corp.                       PA0001317549
   1616   Forgotten                         Universal Music Corp.                       PA0001251273
   1617   Frontin'                          Universal Music Corp.                       PA0001317546
   1618   Generator                         Universal Music Corp.                       PA0001693314
   1619   Get In My Car                     Universal Music Corp.                       PA0001298494
   1620   Ghetto Dreams                     Universal Music Corp.                       PA0001833561
   1621   Ghetto Gospel                     Universal Music Corp.                       PA0001323618
   1622   Gimme Stitches                    Universal Music Corp.                       PA0001693310
   1623   Girlfriend                        Universal Music Corp.                       PA0001334139
   1624   Given To Fly                      Universal Music Corp.                       PAu002290743
   1625   Glamorous                         Universal Music Corp.                       PA0001370493
   1626   Go                                Universal Music Corp.                       PA0000669751
   1627   Good Time                         Universal Music Corp.                       PA0001821138
   1628   Goodbye                           Universal Music Corp.                       PA0001742279
   1629   GPSA (Ghetto Public Service
          Announcement)                     Universal Music Corp.                       PA0001371422
   1630   Grind Time                        Universal Music Corp.                       PA0001628178
   1631   Guaranteed                        Universal Music Corp.                       PA0001685123
   1632   Guitar String / Wedding Ring      Universal Music Corp.                       PA0001842644
   1633   Hail, Hail                        Universal Music Corp.                       PAu002141241
   1634   Hand Of The Dead Body             Universal Music Corp.                       PA0000794897
   1635   Hate It or Love It                Universal Music Corp.                       PA0001277483
   1636   Have Some Fun                     Universal Music Corp.                       PA0001858598
   1637   He Wasn't                         Universal Music Corp.                       PA0001251276
   1638   Headwires                         Universal Music Corp.                       PA0001693324
   1639   Heaven                            Universal Music Corp.                       PA0001073138
   1640   Here Comes The Weekend            Universal Music Corp.                       PA0001817456
   1641   Here I Am                         Universal Music Corp.                       PA0001661331
   1642   Hero                              Universal Music Corp.                       PA0001751381
   1643   Hey Girl                          Universal Music Corp.                       PA0001295883
   1644   Homewrecker                       Universal Music Corp.                       PA0001248780
   1645   How Does It Feel                  Universal Music Corp.                       PA0001251275
   1646                                                                                 PAu000817628; PA0000243349;
          How Will I Know                   Universal Music Corp.                       PA0000266437
   1647   Hustler's Ambition                Universal Music Corp.                       PA0001372056
   1648   I Can Do Better                   Universal Music Corp.                       PA0001334140
   1649   I Don't Give                      Universal Music Corp.                       PA0001233579
   1650   I Don't Have To Try               Universal Music Corp.                       PA0001724691
   1651   I Dream A Highway                 Universal Music Corp.                       PA0001063443



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                                 List of Music Publisher Plaintiffs’ Copyrighted Compositions


                         Track                                Plaintiff                       Registration_Number
   1652   I Go To Extremes                   Universal Music Corp.                       PA0000458310
   1653   I Got Id                           Universal Music Corp.                       PA0000776998
   1654   I Got My Baby                      Universal Music Corp.                       PA0000976310
   1655   I Got The Will                     Universal Music Corp.                       PA0000402311
   1656   I Just Want You                    Universal Music Corp.                       PA0000774129
   1657   I Love College                     Universal Music Corp.                       PA0001731209
   1658   I Love You                         Universal Music Corp.                       PA0001785768
   1659
          I Want To Sing That Rock And Roll Universal Music Corp.                        PA0001063439
   1660   I Want You                        Universal Music Corp.                        PA0001302581
   1661   I'd Rather                        Universal Music Corp.                        PA0001053165
   1662   I'm Goin Back                     Universal Music Corp.                        PA0001159522
   1663   I'm Out                           Universal Music Corp.                        PA0001936025
   1664   I'm Supposed To Die Tonight       Universal Music Corp.                        PA0001298492
   1665   I'm Trippin                       Universal Music Corp.                        PA0001856289
   1666   I'm with You                      Universal Music Corp.                        PA0001101508
   1667   If My Heart Had Wings             Universal Music Corp.                        PA0000976309
   1668   Immortality                       Universal Music Corp.                        PA0000663651
   1669   Indifference                      Universal Music Corp.                        PA0000669762
   1670   It's All About U                  Universal Music Corp.                        PA0000809080
   1671   Just A Lil Bit                    Universal Music Corp.                        PA0001298496
   1672   Learn To Fly                      Universal Music Corp.                        PA0001693305
   1673   Lie To Me                         Universal Music Corp.                        PA0001868630
   1674   Life is a Highway                 Universal Music Corp.                        PA0000683569
   1675   Life, Love And The Meaning Of     Universal Music Corp.                        PA0001697492
   1676   Light Years                       Universal Music Corp.                        PA0001006826
   1677   Live-In Skin                      Universal Music Corp.                        PA0001693317
   1678   Long Nights                       Universal Music Corp.                        PA0001685123
   1679   Love You Gently                   Universal Music Corp.                        PA0001602834
   1680   M.I.A.                            Universal Music Corp.                        PA0001693329
   1681   Man Down                          Universal Music Corp.                        PA0001732813
   1682   Miss You                          Universal Music Corp.                        PA0001864797
   1683   Mo'Murda                          Universal Music Corp.                        PA0000767834
   1684   Movin' Out (Anthony's Song)       Universal Music Corp.                        PA0000046906
   1685   Mr. Bill Collector                Universal Music Corp.                        PA0000767831
   1686   Ms. Hangover                      Universal Music Corp.                        PA0001639096
   1687   My First Lover                    Universal Music Corp.                        PA0001063435
   1688   My Love                           Universal Music Corp.                        PA0001885589
   1689   My Piece                          Universal Music Corp.                        PA0001751375
   1690   Naked                             Universal Music Corp.                        PA0001101517
   1691   Never Call U B**** Again          Universal Music Corp.                        PA0001115088
   1692   Next Year                         Universal Music Corp.                        PA0001693320
   1693   No Ceiling                        Universal Music Corp.                        PA0001685123
   1694   No More Love                      Universal Music Corp.                        PA0001278081
   1695   No One Has Eyes Like You          Universal Music Corp.                        PA0001618391
   1696   No Snitchin'                      Universal Music Corp.                        PA0001317545
   1697   Nobody's Fool                     Universal Music Corp.                        PA0001101515
   1698   Nobody's Home                     Universal Music Corp.                        PA0001251268



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                              List of Music Publisher Plaintiffs’ Copyrighted Compositions


                         Track                             Plaintiff                       Registration_Number
   1699   Not For You                     Universal Music Corp.                       PA0000663641
   1700   Nothingman                      Universal Music Corp.                       PA0000663643
   1701   Now You Got Someone             Universal Music Corp.                       PA0001371421
   1702   Off He Goes                     Universal Music Corp.                       PAu002141248
   1703   Once And Forever                Universal Music Corp.                       PA0001779598
   1704   One                             Universal Music Corp.                       PA0001120335
   1705   One Love                        Universal Music Corp.                       PA0001850371
   1706   Only Thing I Ever Get For
          Christmas                       Universal Music Corp.                       PA0001780235
   1707   Orphan Girl                     Universal Music Corp.                       PA0000714948
   1708   Outro                           Universal Music Corp.                       PA0001317551
   1709   Pass You By                     Universal Music Corp.                       PA0000787739
   1710   Permanent Scar                  Universal Music Corp.                       PA0001856298
   1711   Picture Perfect                 Universal Music Corp.                       PA0001317548
   1712   Piggy Bank                      Universal Music Corp.                       PA0001298491
   1713   Radar                           Universal Music Corp.                       PA0001732673
   1714   Rag Doll                        Universal Music Corp.                       PA0000349998
   1715   Rain                            Universal Music Corp.                       PA0001317547
   1716   Red Clay Halo                   Universal Music Corp.                       PA0001063437
   1717   Remember When                   Universal Music Corp.                       PAu003539449
   1718   Resist The Temptation           Universal Music Corp.                       PA0001640073
   1719   Revelator                       Universal Music Corp.                       PA0001063434
   1720   Ride                            Universal Music Corp.                       PA0001849604
   1721   Rider                           Universal Music Corp.                       PA0001395512
   1722   Ridin'                          Universal Music Corp.                       PA0001317544
   1723   Rise                            Universal Music Corp.                       PA0001685123
   1724   Roll                            Universal Music Corp.                       PA0001639100
   1725   Ruination Day Part 2            Universal Music Corp.                       PA0001063441
   1726   Runaway                         Universal Music Corp.                       PA0001334141
   1727   Ryder Music                     Universal Music Corp.                       PA0001298498
   1728   Save You                        Universal Music Corp.                       PA0001134589
   1729   Setting Forth                   Universal Music Corp.                       PA0001649580
   1730   She's Got A Way                 Universal Music Corp.                       PA0000119692
   1731   Shine                           Universal Music Corp.                       PA0001864791
   1732   Shotz To Tha Double Glock       Universal Music Corp.                       PA0000767835
   1733   Silent Night                    Universal Music Corp.                       PA0001782591
   1734   Sk8er Boi                       Universal Music Corp.                       PA0001101507
   1735   Slipped Away                    Universal Music Corp.                       PA0001251269
   1736   Smile                           Universal Music Corp.                       PA0001785766
   1737   Someone Else's Dream            Universal Music Corp.                       PA0000764860
   1738   Spin The Black Circle           Universal Music Corp.                       PA0000663640
   1739   Stacked Actors                  Universal Music Corp.                       PA0001693331
   1740   Stop Standing There             Universal Music Corp.                       PA0001742271
   1741   Supreme                         Universal Music Corp.                       PA0001034208
   1742   Sure Thing                      Universal Music Corp.                       PA0001751394
   1743   Take Me Home                    Universal Music Corp.                       PA0001864792
   1744   Tear My Stillhouse Down         Universal Music Corp.                       PA0000762783
   1745   Text Me Texas                   Universal Music Corp.                       PA0001878108



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                         Track                                Plaintiff                     Registration_Number
   1746   The Aftermath                      Universal Music Corp.                     PA0001916365
   1747   The Chair                          Universal Music Corp.                     PA0000258281
   1748   The Downeaster 'Alexa'             Universal Music Corp.                     PA0000458309
   1749   The Future Is Now                  Universal Music Corp.                     PA0001856271
   1750   The Rain                           Universal Music Corp.                     PA0001396083
   1751   The River Of Dreams                Universal Music Corp.                     PA0000693490
   1752   The Way He Was Raised              Universal Music Corp.                     PA0001642914
   1753   The Wolf                           Universal Music Corp.                     PA0001685123
   1754   These Arms Of Mine                 Universal Music Corp.                     PA0000258549
   1755
          They Don't Give A F**** About Us   Universal Music Corp.                     PA0001115097
   1756   Things I'll Never Say              Universal Music Corp.                     PA0001101513
   1757   Think I'm Crazy                    Universal Music Corp.                     PA0001167383
   1758   This Is 50                         Universal Music Corp.                     PA0001298490
   1759   Thugz Mansion                      Universal Music Corp.                     PA0001115087
   1760   Tired Of Runnin'                   Universal Music Corp.                     PA0001396084
   1761   To The Moon                        Universal Music Corp.                     PA0001751378
   1762   Tomorrow                           Universal Music Corp.                     PA0001101511
   1763   Tony Montana - Behind The
          Scenes                             Universal Music Corp.                     PA0001859140
   1764   Top of the World                   Universal Music Corp.                     PA0001114803
   1765   Trailerhood                        Universal Music Corp.                     PA0001642900
   1766   Trick or Treat                     Universal Music Corp.                     PA0001011470
   1767   True Believers                     Universal Music Corp.                     PA0001864805
   1768   Truth No. 2                        Universal Music Corp.                     PA0001114802
   1769   Tuolumne                           Universal Music Corp.                     PA0001685126
   1770   Turn It Up                         Universal Music Corp.                     PA0001317543
   1771   Turn Me Up                         Universal Music Corp.                     PA0001842638
   1772   Turntables                         Universal Music Corp.                     PA0001732352
   1773   Unsaveable                         Universal Music Corp.                     PA0001120337
   1774   Vertigo                            Universal Music Corp.                     PA0001896435
   1775   Void In My Life                    Universal Music Corp.                     PA0001317550
   1776   Walk On Water                      Universal Music Corp.                     PA0001015665
   1777   What About Love                    Universal Music Corp.                     PA0000265040
   1778   What The Hell                      Universal Music Corp.                     PA0001785765
   1779   What's In It For Me                Universal Music Corp.                     PA0000976311
   1780   When I Get Free                    Universal Music Corp.                     PA0001051889
   1781   Who Knows                          Universal Music Corp.                     PA0001251272
   1782   Who You Are                        Universal Music Corp.                     PAu002141251
   1783   Wide Awake                         Universal Music Corp.                     PA0001765708
   1784   Wish You Were Here                 Universal Music Corp.                     PA0001785767
   1785   Word Forward                       Universal Music Corp.                     PA0001678922
   1786   Write This Down                    Universal Music Corp.                     PA0000947848
   1787   Wth>You                            Universal Music Corp.                     PA0001237298
   1788   Yellow Ledbetter                   Universal Music Corp.                     PA0000756318
   1789   You                                Universal Music Corp.                     PA0001757407
   1790   You Don't Miss Your Water          Universal Music Corp.                     PA0000387512
   1791   You Stay With Me                   Universal Music Corp.                     PA0001302582



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                                 List of Music Publisher Plaintiffs’ Copyrighted Compositions


                       Track                                   Plaintiff                      Registration_Number
   1792   Cream (Version w/o Rap                                                         PAu001547996; PA0000549273;
          Monologue)                         Universal Music Corp.                       PA0000543529
   1793   Gett Off                           Universal Music Corp.                       PA0000535946
   1794   Kiss                               Universal Music Corp.                       PA0000284474
   1795   U Got The Look                     Universal Music Corp.                       PA0000339613
   1796                                      Universal Music Corp. / Songs of Universal,
          Cheers                             Inc.                                        PA0001245485
   1797                                      Universal Music Corp. / Songs of Universal,
          Got Some Teeth                     Inc.                                        PA0001245484
   1798                                      Universal Music Corp. / Songs of Universal,
          Lady                               Inc.                                        PA0001245486
   1799                                      Universal Music Corp. / Songs of Universal,
          Never Forget Ya                    Inc.                                        PA0001245493
   1800
          A Forest                           Universal Music Publishing - MGB Limited PA0000194922
   1801
          A Night Like This                  Universal Music Publishing - MGB Limited PA0000279380
   1802
          Charlotte Sometimes                Universal Music Publishing - MGB Limited PA0000344066
   1803
          Clocks                             Universal Music Publishing - MGB Limited PA0001073304
   1804
          Don't Panic                        Universal Music Publishing - MGB Limited PA0000981356
   1805
          In My Place                        Universal Music Publishing - MGB Limited PA0001073301
   1806
          Jumping Someone Else's Train       Universal Music Publishing - MGB Limited PA0000205032
   1807
          Killing An Arab                    Universal Music Publishing - MGB Limited PA0000205039
   1808
          Let's Go To Bed                    Universal Music Publishing - MGB Limited PA0000190147
   1809
          Lullaby                            Universal Music Publishing - MGB Limited PA0001073354
   1810
          Other Voices ( LP version )        Universal Music Publishing - MGB Limited PA0000194927
   1811
          Play For Today                     Universal Music Publishing - MGB Limited PA0000194917
   1812
          Primary                            Universal Music Publishing - MGB Limited PA0000194926
   1813
          Somewhere Only We Know             Universal Music Publishing - MGB Limited PA0001160739
   1814
          The Caterpillar                    Universal Music Publishing - MGB Limited PA0000215389
   1815
          The Hanging Garden                 Universal Music Publishing - MGB Limited PA0000192007
   1816
          The Scientist                      Universal Music Publishing - MGB Limited PA0001073303
   1817
          Yellow                             Universal Music Publishing - MGB Limited PA0000981360




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                                  List of Music Publisher Plaintiffs’ Copyrighted Compositions


                          Track                                 Plaintiff                        Registration_Number
   1818                                       Universal Music Publishing - MGB Limited
          A Thousand Beautiful Things         / Universal Music - MGB NA LLC              PA0001105462
   1819                                       Universal Music Publishing - MGB Limited
          Let It Die                          / Universal Music - MGB NA LLC              PA0001166700
   1820                                       Universal Music Publishing - MGB Limited
          Lonely Lonely                       / Universal Music - MGB NA LLC              PA0001166704
   1821                                       Universal Music Publishing - MGB Limited
          Mushaboom                           / Universal Music - MGB NA LLC              PA0001166692
   1822                                       Universal Music Publishing - MGB Limited
          Pavement Cracks                     / Universal Music - MGB NA LLC              PA0001105463
   1823                                       Universal Music Publishing - MGB Limited
          Why                                 / Universal Music - MGB NA LLC              PA0001166751
   1824   Bringing Out The Elvis              Universal Music Publishing AB               PA0000955483
   1825   Done Stealin'                       Universal Music Publishing AB               PA0001677401
   1826   Shape Of My Heart                   Universal Music Publishing AB               PA0001039513
   1827   Something To Die For                Universal Music Publishing AB               PA0001677407
   1828   Stronger (What Doesn't Kill You)    Universal Music Publishing AB               PA0001771872
   1829   (White Man) in Hammersmith
          Palais                              Universal Music Publishing Limited          PA0000066409
   1830   8 Mile                              Universal Music Publishing Limited          PA0001204555
   1831   After The Storm                     Universal Music Publishing Limited          PA0001932494
   1832   Babel                               Universal Music Publishing Limited          PA0001818828
   1833   Bad Blood                           Universal Music Publishing Limited          PA0001915737
   1834   Below My Feet                       Universal Music Publishing Limited          PA0001818826
   1835   Best For Last                       Universal Music Publishing Limited          PA0001975721
   1836   Between Two Lungs                   Universal Music Publishing Limited          PA0001892800
   1837   Broken Crown                        Universal Music Publishing Limited          PA0001818825
   1838   Chasing Pavements                   Universal Music Publishing Limited          PA0001975709
   1839   Clash City Rockers                  Universal Music Publishing Limited          PA0000066407
   1840   Cleanin Out My Closet               Universal Music Publishing Limited          PA0001073403; PA0001225996
   1841   Cold Shoulder                       Universal Music Publishing Limited          PA0001975723
   1842   Complete Control                    Universal Music Publishing Limited          PA0000066408
   1843   Cosmic Love                         Universal Music Publishing Limited          PA0001892799
   1844   Daydreamer                          Universal Music Publishing Limited          PA0001975694
   1845   Distractions (Live)                 Universal Music Publishing Limited          PA0001263481
   1846   Dog Days Are Over                   Universal Music Publishing Limited          PA0001892802
   1847   Don't You Remember                  Universal Music Publishing Limited          PA0001734876
   1848   Electric Bird                       Universal Music Publishing Limited          PA0001994826
   1849   Encore/Curtains Down                Universal Music Publishing Limited          PA0001295406
   1850   English Civil War                   Universal Music Publishing Limited          PA0000044735
   1851   Feels Like Today                    Universal Music Publishing Limited          PA0001245179
   1852   First Love                          Universal Music Publishing Limited          PA0001975718
   1853   Flaws                               Universal Music Publishing Limited          PA0001915732
   1854   For Those Below                     Universal Music Publishing Limited          PA0001818816
   1855   Garageland                          Universal Music Publishing Limited          PA0000044756
   1856   Ghosts That We Knew                 Universal Music Publishing Limited          PA0001818832
   1857   Give Me My Month                    Universal Music Publishing Limited          PA0001824175
   1858   Hands Are Clever                    Universal Music Publishing Limited          PA0001806286
   1859   Hate & War                          Universal Music Publishing Limited          PA0000044748


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                                List of Music Publisher Plaintiffs’ Copyrighted Compositions


                         Track                               Plaintiff                       Registration_Number
   1860   Holland Road                      Universal Music Publishing Limited          PA0001818831
   1861   Hometown Glory                    Universal Music Publishing Limited          PA0001975714
   1862   Hopeless Wanderer                 Universal Music Publishing Limited          PA0001818824
   1863   Humming Bird                      Universal Music Publishing Limited          PA0001806288
   1864   I Love You                        Universal Music Publishing Limited          PA0001806282
   1865   I Mind                            Universal Music Publishing Limited          PA0001827817
   1866   I Never Learnt To Share           Universal Music Publishing Limited          PA0001827811
   1867   I Want Love (LP Version)          Universal Music Publishing Limited          PA0001064720
   1868   I Will Wait                       Universal Music Publishing Limited          PA0001818830
   1869   I Won't Let You Down              Universal Music Publishing Limited          PA0001806274
   1870   I'm Not Calling You A Liar        Universal Music Publishing Limited          PA0001892801
   1871   I'm Scared                        Universal Music Publishing Limited          PA0001698335
   1872   I'm So Bored with the U.S.A.      Universal Music Publishing Limited          PA0000044746
   1873   Janie Jones                       Universal Music Publishing Limited          PA0000044744
   1874   Just Don't Give A Fuck            Universal Music Publishing Limited          PA0000954432
   1875   Kiss With A Fist                  Universal Music Publishing Limited          PA0001892795
   1876   Latch                             Universal Music Publishing Limited          PA0001916095
   1877   Laura Palmer                      Universal Music Publishing Limited          PA0001915734
   1878   Lindisfarne II                    Universal Music Publishing Limited          PA0001827813
   1879   Little Lion Man                   Universal Music Publishing Limited          PA0001932483
   1880   London's Burning                  Universal Music Publishing Limited          PA0000044751
   1881   Lose Yourself                     Universal Music Publishing Limited          PA0001152688
   1882   Lover Of The Light                Universal Music Publishing Limited          PA0001818820
   1883   Lovers' Eyes                      Universal Music Publishing Limited          PA0001818822
   1884   Measurements                      Universal Music Publishing Limited          PA0001824202
   1885   Melt My Heart To Stone            Universal Music Publishing Limited          PA0001975706
   1886   More Than This                    Universal Music Publishing Limited          PA0001830362
   1887   My Fault                          Universal Music Publishing Limited          PA0000954429
   1888   My Same                           Universal Music Publishing Limited          PA0001975716
   1889   No More I Love You's              Universal Music Publishing Limited          PA0000753262
   1890   Not With Haste                    Universal Music Publishing Limited          PA0001818827
   1891   One And Only                      Universal Music Publishing Limited          PA0001734869
   1892   One Foot Wrong                    Universal Music Publishing Limited          PA0001698064
   1893   Paul (Skit)                       Universal Music Publishing Limited          PA0001295388
   1894   Rabbit Heart (Raise It Up)        Universal Music Publishing Limited          PA0001892789
   1895   Rap Name                          Universal Music Publishing Limited          PA0001248992
   1896   Relax My Beloved                  Universal Music Publishing Limited          PA0001806292
   1897   Reminder                          Universal Music Publishing Limited          PA0001818823
   1898   Rumour Has It                     Universal Music Publishing Limited          PA0001734865
   1899   Safe European Home                Universal Music Publishing Limited          PA0000044734
   1900   Sanctuary                         Universal Music Publishing Limited          PA0001806278
   1901   Say Goodbye Hollywood             Universal Music Publishing Limited          PA0001090374
   1902   Sigh No More                      Universal Music Publishing Limited          PA0001932474
   1903   Sing For The Moment               Universal Music Publishing Limited          PA0001093104
   1904   Soldier                           Universal Music Publishing Limited          PA0001073064
   1905   Someone Like You                  Universal Music Publishing Limited          PA0001734868
   1906   Spend Some Time                   Universal Music Publishing Limited          PA0001295395
   1907   Square Dance                      Universal Music Publishing Limited          PA0001073065



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                         Track                                 Plaintiff                     Registration_Number
   1908   Stay Free                           Universal Music Publishing Limited        PA0000044740
   1909   Still Don't Give                    Universal Music Publishing Limited        PA0000954424
   1910   Superman                            Universal Music Publishing Limited        PA0001073066
   1911   Take It All                         Universal Music Publishing Limited        PA0001734872
   1912   The Cave                            Universal Music Publishing Limited        PA0001932476
   1913   The Wilhelm Scream                  Universal Music Publishing Limited        PA0001824165
   1914   Things We Lost in the Fire (Abbey
          Road Sessions)                      Universal Music Publishing Limited        PA0001915726
   1915   Tired                               Universal Music Publishing Limited        PA0001975712
   1916   To Care (Like You)                  Universal Music Publishing Limited        PA0001824177
   1917   Tommy Gun                           Universal Music Publishing Limited        PA0000044736
   1918   Train In Vain                       Universal Music Publishing Limited        PA0000066125
   1919   Treading Water                      Universal Music Publishing Limited        PA0001806293
   1920   True Love                           Universal Music Publishing Limited        PA0001817461
   1921   Turning Tables                      Universal Music Publishing Limited        PA0001734878
   1922   Up All Night                        Universal Music Publishing Limited        PA0001806294
   1923   Wait Your Turn                      Universal Music Publishing Limited        PA0001668381
   1924   Warriors                            Universal Music Publishing Limited        PA0001898514
   1925   Where Are You Now                   Universal Music Publishing Limited        PA0001818817
   1926   Whispering                          Universal Music Publishing Limited        PA0001806283
   1927   Whispers In The Dark                Universal Music Publishing Limited        PA0001818829
   1928   White Blank Page                    Universal Music Publishing Limited        PA0001932481
   1929   White Riot                          Universal Music Publishing Limited        PA0000044747
   1930   Why Don't You Call Me?              Universal Music Publishing Limited        PA0001827815
   1931   Winter Winds                        Universal Music Publishing Limited        PA0001932478
   1932   Without Me                          Universal Music Publishing Limited        PA0001143650
   1933   1234                                Universal Music Publishing MGB Limited    PA0001692663
   1934   A Message                           Universal Music Publishing MGB Limited    PA0001700392
   1935   Brandy Alexander                    Universal Music Publishing MGB Limited    PA0001692661
   1936   Fix You                             Universal Music Publishing MGB Limited    PA0001700422
   1937   Honey Honey                         Universal Music Publishing MGB Limited    PA0001692656
   1938   How My Heart Behaves                Universal Music Publishing MGB Limited    PA0001692650
   1939   I Feel It All                       Universal Music Publishing MGB Limited    PA0001692643
   1940   Intuition                           Universal Music Publishing MGB Limited    PA0001692658
   1941   Low                                 Universal Music Publishing MGB Limited    PA0001700384
   1942   My Moon My Man                      Universal Music Publishing MGB Limited    PA0001692639
   1943   October Song                        Universal Music Publishing MGB Limited    PA0001792201
   1944   Past In Present                     Universal Music Publishing MGB Limited    PA0001692670
   1945   Square One                          Universal Music Publishing MGB Limited    PA0001700428
   1946   Swallowed In The Sea                Universal Music Publishing MGB Limited    PA0001700387
   1947   The Hardest Part                    Universal Music Publishing MGB Limited    PA0001700389
   1948   The Park                            Universal Music Publishing MGB Limited    PA0001692751
   1949   The Water                           Universal Music Publishing MGB Limited    PA0001692757
   1950   Twisted Logic                       Universal Music Publishing MGB Limited    PA0001700354
   1951   What If                             Universal Music Publishing MGB Limited    PA0001700424
   1952   White Shadows                       Universal Music Publishing MGB Limited    PA0001700400
   1953   100 Yard Dash                       Universal Music Publishing, Inc.          PA0001612668
   1954   Love That Girl                      Universal Music Publishing, Inc.          PA0001612668



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                                 List of Music Publisher Plaintiffs’ Copyrighted Compositions


                         Track                                Plaintiff                       Registration_Number
   1955   Signs                             Universal Music Publishing, Inc.             PA0001193822
   1956   Sometimes                         Universal Music Publishing, Inc.             PA0001612668
   1957   Still Ballin'                     Universal Music Publishing, Inc.             PA0001219183
   1958   Animal Instinct                   Universal/Island Music Limited               PA0000968355
   1959   Daffodil Lament                   Universal/Island Music Limited               PA0000734582
   1960   Free To Decide                    Universal/Island Music Limited               PA0000791577
   1961   Hollywood                         Universal/Island Music Limited               PA0000791574
   1962   I Can't Be With You               Universal/Island Music Limited               PA0000734572
   1963   Police & Thieves                  Universal/Island Music Limited               PA0000046453
   1964   Promises                          Universal/Island Music Limited               PA0000968357
   1965   Ridiculous Thoughts               Universal/Island Music Limited               PA0000734579
   1966   This Is The Day                   Universal/Island Music Limited               PA0001277414
   1967   Time Is Ticking Out               Universal/Island Music Limited               PA0001277412
   1968   You And Me                        Universal/Island Music Limited               PA0000968358
   1969                                     Universal/MCA Music Publishing Pty.
          We Run The Night                  Limited                                      PA0001929045
                                           Warner/Chappell Music, Inc. Plaintiffs
   1970   Wasted Years                      Cotillion Music, Inc.                        PA0001819821
   1971   Wait A Minute                     Cotillion Music, Inc.                        PA0001697038
   1972   Gotta Have It                     Intersong USA, Inc.                          PA0001762033
   1973   No Church In The Wild             Intersong USA, Inc.                          PA0001762032
   1974   Otis                              Intersong USA, Inc.                          PA0001762031
   1975   So Appalled                       Intersong USA, Inc.                          PA0001740945
   1976   Talk About Our Love               Intersong USA, Inc.                          PA0001281568
   1977   Two Words                         Intersong USA, Inc.                          PA0001292803
   1978   So Much Like My Dad               Rightsong Music Inc.                         PA0000225775
   1979                                     Rightsong Music Inc. / Warner-Tamerlane
          Naughty Girl                      Publishing Corp.                             PA0001375850
   1980   Down In The Valley                Unichappell Music Inc.                       EU0000721849; RE0000476578
   1981   Gold Digger                       Unichappell Music Inc.                       PA0001299043
   1982   Hallelujah I Love Her So          Unichappell Music Inc.                       EU0000437231; RE0000193661
   1983   Home In Your Heart                Unichappell Music Inc.                       Eu0000760358; RE0000519130
   1984   In The Rain                       Unichappell Music Inc.                       PA0001697043
   1985   Live Fast, Die Young              Unichappell Music Inc.                       PA0001739156
   1986   Mrs Brown You've Got A Lovely
          Daughter                           Unichappell Music Inc.                      EP0000200905
   1987   Necromancer                        Unichappell Music Inc.                      Eu0000236563
   1988   New God Flow                       Unichappell Music Inc.                      PA0001839620
   1989   New God Flow.1                     Unichappell Music Inc.                      PA0001839620
   1990                                                                                  Eu0000937504; EP0000204266;
          Papa's Got A Brand New Bag         Unichappell Music Inc.                      RE0000660458; RE0000621005
   1991   San Franciscan Nights              Unichappell Music Inc.                      EP0000241081
   1992   Somebody That I Used To Know       Unichappell Music Inc.                      PA0001785517
   1993   The Title                          Unichappell Music Inc.                      PA0001263488
   1994   Walking The Floor Over You         Unichappell Music Inc.                      EP0000105220
   1995   1st Of Tha Month                   Unichappell Music Inc.                      PA0000782831; SRu000005339
   1996   Crazy in Love                      Unichappell Music Inc.                      PA0001131132; PA0001208972
   1997   Don't Like.1                       Unichappell Music Inc.                      PA0001808408



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                                 List of Music Publisher Plaintiffs’ Copyrighted Compositions


                         Track                                Plaintiff                         Registration_Number
   1998                                       Unichappell Music Inc. / Warner-
          TKO                                 Tamerlane Publishing Corp.                 PA0001896712
   1999   After Your Heart                    W.B.M. Music Corp.                         PA0001603421
   2000   Confessions                         W.B.M. Music Corp.                         PA0001227181
   2001   FutureSex/LoveSound                 W.B.M. Music Corp.                         PA0001368884
   2002   Got You Home                        W.B.M. Music Corp.                         PA0001343363
   2003   Losing My Way                       W.B.M. Music Corp.                         PA0001368885
   2004   LoveStoned / I Think She Knows
          Interlude                           W.B.M. Music Corp.                         PA0001368884
   2005   Lovestoned/I Think She Knows        W.B.M. Music Corp.                         PA0001368884
   2006   Medley: Sexy Ladies / Let Me Talk
          to You (Prelude)                    W.B.M. Music Corp.                         PA0001368884
   2007   Oklahoma Sky                        W.B.M. Music Corp.                         PA0001789998
   2008   Sexy Ladies                         W.B.M. Music Corp.                         PA0001368884
   2009   SexyBack                            W.B.M. Music Corp.                         PA0001368818
   2010   So Hard                             W.B.M. Music Corp.                         PA0001375845
   2011   Summer Love                         W.B.M. Music Corp.                         PA0001368885
   2012   Throwed                             W.B.M. Music Corp.                         PA0001719705
   2013   Was It Worth It?                    W.B.M. Music Corp.                         PA0001603613
   2014   What Goes Around... Comes
          Around                              W.B.M. Music Corp.                         PA0001368884
   2015   What Goes Around.../...Comes
          Around Interlude                    W.B.M. Music Corp.                         PA0001368884
   2016   Where Did He Go                     W.B.M. Music Corp.                         PA0001767261
   2017   Lloyd (Intro)                       W.B.M. Music Corp.                         PA0001387423
   2018                                       W.B.M. Music Corp. / Warner-Tamerlane
          Hardly Breathing                    Publishing Corp.                           PA0001882751
   2019                                       W.B.M. Music Corp. / Warner-Tamerlane
          My Love                             Publishing Corp.                           PA0001368886
   2020   Generation                          W.B.M. Music Corp. / WB Music Corp.        PA0001644603
   2021   The End                             W.B.M. Music Corp. / WB Music Corp.        PA0001644615
   2022   When I'm Gone                       W.B.M. Music Corp. / WB Music Corp.        PA0001644615
   2023   Blue Clear Sky                      W.B.M. Music Corp., Inc.                   PA0000828422
   2024   It Matters To Me                    W.B.M. Music Corp., Inc.                   PAu001966659
   2025   You Will Be Mine                    W.B.M. Music Corp., Inc.                   PAu001966658
   2026   21 Guns                             Warner Chappell Music Inc.                 PA0001653856; PA0001859360
   2027   Clumsy                              Warner Chappell Music Inc.                 PA0001165468
   2028   Beautiful                           Warner-Tamerlane Publishing Corp.          PA0001868404
   2029   Home Sweet Home                     Warner-Tamerlane Publishing Corp.          PA0000269462
   2030   I Stand Accused                     Warner-Tamerlane Publishing Corp.          EP0000281384
   2031   1st Time                            Warner-Tamerlane Publishing Corp.          PA0001347989
   2032   2012                                Warner-Tamerlane Publishing Corp.          PA0001842279
   2033   6 Foot 7 Foot                       Warner-Tamerlane Publishing Corp.          PA0001807261
   2034   A Conspiracy                        Warner-Tamerlane Publishing Corp.          PA0000738881
   2035   Abortion                            Warner-Tamerlane Publishing Corp.          PA0001842433
   2036   All Kinds of Kinds                  Warner-Tamerlane Publishing Corp.          PA0001789995
   2037   All Of The Lights                   Warner-Tamerlane Publishing Corp.          PA0001791088
   2038   All Of The Lights (Interlude)       Warner-Tamerlane Publishing Corp.          PA0001791088
   2039   All Summer Long                     Warner-Tamerlane Publishing Corp.          PA0001643681


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                               List of Music Publisher Plaintiffs’ Copyrighted Compositions


                         Track                            Plaintiff                         Registration_Number
   2040   Almost Lose It                   Warner-Tamerlane Publishing Corp.           PA0001846094
   2041   Already Taken                    Warner-Tamerlane Publishing Corp.           PA0001902781
   2042   American Star                    Warner-Tamerlane Publishing Corp.           PA0001728543
   2043   Apple Pie Moonshine              Warner-Tamerlane Publishing Corp.           PA0001761402; PA0001917489
   2044   As You Turn Away                 Warner-Tamerlane Publishing Corp.           PA0001817433
   2045   Baby Come Home                   Warner-Tamerlane Publishing Corp.           PA0001114113
   2046   Bad Decisions                    Warner-Tamerlane Publishing Corp.           PA0001865868
   2047   Bad Luck Blue Eyes Goodbye       Warner-Tamerlane Publishing Corp.           PA0000577818
   2048   Bang                             Warner-Tamerlane Publishing Corp.           PA0001739089
   2049   Banjo                            Warner-Tamerlane Publishing Corp.           PA0001853119
   2050   Barry Bonds                      Warner-Tamerlane Publishing Corp.           PA0001861693
   2051   Because Of Your Love             Warner-Tamerlane Publishing Corp.           PA0001249901
   2052   Bending the Rules and Breaking
          the Law                          Warner-Tamerlane Publishing Corp.           PA0001694074
   2053   Better In The Long Run           Warner-Tamerlane Publishing Corp.           PA0001790002
   2054   Birthday Song                    Warner-Tamerlane Publishing Corp.           PA0001844437
   2055                                                                                PA0001891174; PA0001890242;
          Black Skinhead                   Warner-Tamerlane Publishing Corp.           PA0001901344
   2056   Blackberry                       Warner-Tamerlane Publishing Corp.           PA0001043932
   2057                                                                                PA0001855571; PA0001921565;
          Blood On The Leaves              Warner-Tamerlane Publishing Corp.           PA0001890233
   2058   Blow Remix                       Warner-Tamerlane Publishing Corp.           PA0001918139
   2059   Blue Ocean Floor                 Warner-Tamerlane Publishing Corp.           PA0001915504
   2060   Body 2 Body                      Warner-Tamerlane Publishing Corp.           PA0001868401
   2061   Body Ache                        Warner-Tamerlane Publishing Corp.           PA0001917965
   2062   Bottle Poppin'                   Warner-Tamerlane Publishing Corp.           PA0001648776
   2063   Bound 2                          Warner-Tamerlane Publishing Corp.           PA0001921191
   2064   Bravo                            Warner-Tamerlane Publishing Corp.           PA0001778260
   2065   Breathe                          Warner-Tamerlane Publishing Corp.           PA0001349255
   2066   Bricksquad                       Warner-Tamerlane Publishing Corp.           PA0001739083
   2067   Bustin' At 'Em                   Warner-Tamerlane Publishing Corp.           PA0001739055
   2068   By Your Side                     Warner-Tamerlane Publishing Corp.           PAu002367443; PA0000939602
   2069   BYOB                             Warner-Tamerlane Publishing Corp.           PA0001648815
   2070   California King Bed              Warner-Tamerlane Publishing Corp.           PA0001771890
   2071   Camouflage                       Warner-Tamerlane Publishing Corp.           PA0002001267
   2072   Can You Feel It                  Warner-Tamerlane Publishing Corp.           PA0001780093
   2073   Candy                            Warner-Tamerlane Publishing Corp.           PA0001763960
   2074   Carried Away                     Warner-Tamerlane Publishing Corp.           PA0000830048
   2075   Carry Out                        Warner-Tamerlane Publishing Corp.           PA0001780010
   2076   Carrying Your Love With Me       Warner-Tamerlane Publishing Corp.           PA0000849801
   2077   Changed                          Warner-Tamerlane Publishing Corp.           PA0001853120
   2078   Chapter V                        Warner-Tamerlane Publishing Corp.           PA0001865863
   2079   Chevy Smile                      Warner-Tamerlane Publishing Corp.           PA0001648814
   2080   Cigarettes and Coffee            Warner-Tamerlane Publishing Corp.           Eu0000684610; RE0000442404
   2081   Circus                           Warner-Tamerlane Publishing Corp.           PA0001622999
   2082   Cocky                            Warner-Tamerlane Publishing Corp.           PAu002625389; PA0001114105
   2083   Cold As Stone                    Warner-Tamerlane Publishing Corp.           PA0001817040
   2084   Come A Little Closer             Warner-Tamerlane Publishing Corp.           PA0001069964



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                         Track                           Plaintiff                         Registration_Number
   2085   Come Wake Me Up                 Warner-Tamerlane Publishing Corp.           PA0001853117
   2086   Compass                         Warner-Tamerlane Publishing Corp.           PA0001879179
   2087   Control Myself                  Warner-Tamerlane Publishing Corp.           PA0001599521
   2088   Da Da Da                        Warner-Tamerlane Publishing Corp.           PA0001728546
   2089   Dance With Me Tonight           Warner-Tamerlane Publishing Corp.           PA0001847635
   2090   Dancin' Away With My Heart      Warner-Tamerlane Publishing Corp.           PA0001817030
   2091   Dark As A Dungeon               Warner-Tamerlane Publishing Corp.           RE0000430852; EP0000151748
   2092   Days Like These                 Warner-Tamerlane Publishing Corp.           PA0001790666
   2093   Dear Mama                       Warner-Tamerlane Publishing Corp.           PA0000773741; PA0000875888
   2094   Dem Haters                      Warner-Tamerlane Publishing Corp.           PA0001317458
   2095   Devil In A New Dress            Warner-Tamerlane Publishing Corp.           PA0001791337
   2096   Dive In                         Warner-Tamerlane Publishing Corp.           PA0001868040
   2097   Don't Be Scared                 Warner-Tamerlane Publishing Corp.           PA0001931589
   2098   Don't Hold The Wall             Warner-Tamerlane Publishing Corp.           PA0001915504
   2099   Don't Play Wit It               Warner-Tamerlane Publishing Corp.           PA0001347984
   2100   Don't Tell Me U Love Me         Warner-Tamerlane Publishing Corp.           PA0001638755
   2101   Doorbell                        Warner-Tamerlane Publishing Corp.           PA0001856251
   2102   Dope Boy Magic                  Warner-Tamerlane Publishing Corp.           PA0001347985
   2103   Downtown Girl                   Warner-Tamerlane Publishing Corp.           PA0001856129
   2104   Drop The World                  Warner-Tamerlane Publishing Corp.           PA0001848752
   2105   Drunk And Hot Girls             Warner-Tamerlane Publishing Corp.           PA0001592989
   2106   Drunk in Love                   Warner-Tamerlane Publishing Corp.           PA0001918132
   2107   Drunk In the Morning            Warner-Tamerlane Publishing Corp.           PAu002607513; PA0001114114
   2108   Ease Off The Liquor             Warner-Tamerlane Publishing Corp.           PA0001780085
   2109   Easy                            Warner-Tamerlane Publishing Corp.           PA0001349254
   2110   Every Girl                      Warner-Tamerlane Publishing Corp.           PA0001741596
   2111   Extravaganza                    Warner-Tamerlane Publishing Corp.           PA0001323666
   2112   F.U.T.W.                        Warner-Tamerlane Publishing Corp.           PA0001858842
   2113   F**k This Industry              Warner-Tamerlane Publishing Corp.           PA0001739132
   2114   Fall Into Me                    Warner-Tamerlane Publishing Corp.           PA0001884101
   2115   Fancy                           Warner-Tamerlane Publishing Corp.           PA0001852254
   2116   Fast Cars And Freedom           Warner-Tamerlane Publishing Corp.           PA0001268341
   2117   Feng Shui                       Warner-Tamerlane Publishing Corp.           PA0001338255
   2118   Flip Flop                       Warner-Tamerlane Publishing Corp.           PA0001347987
   2119   Flowers                         Warner-Tamerlane Publishing Corp.           PA0001162294
   2120   Forever                         Warner-Tamerlane Publishing Corp.           PAu002635078; PA0001114104
   2121   Forever Unstoppable             Warner-Tamerlane Publishing Corp.           PA0001856129
   2122   Forever Yours                   Warner-Tamerlane Publishing Corp.           PA0001865870
   2123   Fumble                          Warner-Tamerlane Publishing Corp.           PA0001866132
   2124   G Check                         Warner-Tamerlane Publishing Corp.           PA0001739116
   2125   G.R.I.T.S                       Warner-Tamerlane Publishing Corp.           PA0001750920
   2126   Get A Life                      Warner-Tamerlane Publishing Corp.           PA0001728548
   2127   Get Some                        Warner-Tamerlane Publishing Corp.           PA0001253726
   2128   Getting To Da Money             Warner-Tamerlane Publishing Corp.           PA0001648763
   2129   Ghetto Love                     Warner-Tamerlane Publishing Corp.           PA0001396265
   2130   Gimme Whatcha Got               Warner-Tamerlane Publishing Corp.           PA0001732722
   2131   Go Faster                       Warner-Tamerlane Publishing Corp.           PA0000939602
   2132   Go N' Get It                    Warner-Tamerlane Publishing Corp.           PA0001808406



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                           Track                            Plaintiff                         Registration_Number
   2133   Gonorrhea                          Warner-Tamerlane Publishing Corp.           PA0001741928
   2134   Good Friday                        Warner-Tamerlane Publishing Corp.           PAu002069934; PA0000812918
   2135   Good Life                          Warner-Tamerlane Publishing Corp.           PA0001597235
   2136   Good Times Gone                    Warner-Tamerlane Publishing Corp.           PA0001103821
   2137   Gorgeous                           Warner-Tamerlane Publishing Corp.           PA0001740943
   2138   Got To Get My Heart Back           Warner-Tamerlane Publishing Corp.           PA0001603589
   2139   Grove St. Party                    Warner-Tamerlane Publishing Corp.           PA0001739117
   2140   Hail Mary                          Warner-Tamerlane Publishing Corp.           PA0001865861
   2141   Halfway to Heaven                  Warner-Tamerlane Publishing Corp.           PA0001693861
   2142   Hangnail                           Warner-Tamerlane Publishing Corp.           PA0001103821
   2143   Harajuku Girls                     Warner-Tamerlane Publishing Corp.           PA0001274356
   2144   Hear Me Coming                     Warner-Tamerlane Publishing Corp.           PA0001347989
   2145   Heart Attack                       Warner-Tamerlane Publishing Corp.           PA0001931588
   2146   Hell On Wheels                     Warner-Tamerlane Publishing Corp.           PA0001694071
   2147   Hell Yeah                          Warner-Tamerlane Publishing Corp.           PA0001648815
   2148   Hello Good Morning                 Warner-Tamerlane Publishing Corp.           PA0001745034
   2149   Hold My Liquor                     Warner-Tamerlane Publishing Corp.           PA0001890241
   2150   Hold Up                            Warner-Tamerlane Publishing Corp.           PA0001741949
   2151   Hollywood                          Warner-Tamerlane Publishing Corp.           PA0001103822
   2152   Hollywood Divorce                  Warner-Tamerlane Publishing Corp.           PA0001603423
   2153   Holy Grail                         Warner-Tamerlane Publishing Corp.           PA0001858794
   2154   How To Hate                        Warner-Tamerlane Publishing Corp.           PA0001807231
   2155   How To Love                        Warner-Tamerlane Publishing Corp.           PA0001807262
   2156   Hustle Hard                        Warner-Tamerlane Publishing Corp.           PA0001808406
   2157   Hustlemania (Skit)                 Warner-Tamerlane Publishing Corp.           PA0001648764
   2158   HYFR (Hell Ya Fucking Right)       Warner-Tamerlane Publishing Corp.           PA0001869936
   2159   Hyyerr                             Warner-Tamerlane Publishing Corp.           PA0001679583
   2160   I Ain't Goin' Out Like That        Warner-Tamerlane Publishing Corp.           PA0000848472
   2161   I Am Not A Human Being             Warner-Tamerlane Publishing Corp.           PA0001741896
   2162   I Can Only Imagine                 Warner-Tamerlane Publishing Corp.           PA0001778164
   2163   I Can Transform Ya                 Warner-Tamerlane Publishing Corp.           PA0001744956
   2164   I Get It                           Warner-Tamerlane Publishing Corp.           PA0001387419
   2165   I Know You See It                  Warner-Tamerlane Publishing Corp.           PA0001347990
   2166   I Know You Won't                   Warner-Tamerlane Publishing Corp.           PA0001644685
   2167   I Like It Like That                Warner-Tamerlane Publishing Corp.           PA0001856125
   2168   I Like The View                    Warner-Tamerlane Publishing Corp.           PA0001807227
   2169   I Melt                             Warner-Tamerlane Publishing Corp.           PA0001136262
   2170   I Run To You                       Warner-Tamerlane Publishing Corp.           PA0001706945
   2171   I Stand Accused                    Warner-Tamerlane Publishing Corp.           EP0000329319
   2172   I'll Die For You                   Warner-Tamerlane Publishing Corp.           PA0001732190
   2173   I'm Him                            Warner-Tamerlane Publishing Corp.           PA0001347988
   2174   I'm In It                          Warner-Tamerlane Publishing Corp.           PA0001890238
   2175   I'm Single                         Warner-Tamerlane Publishing Corp.           PA0001741951
   2176   I'm So Blessed                     Warner-Tamerlane Publishing Corp.           PA0001852361
   2177   I'm So Over You                    Warner-Tamerlane Publishing Corp.           PA0001732191
   2178   If Drinkin' Don't Kill Me (Her
          Memory Will)                       Warner-Tamerlane Publishing Corp.           PA0000102104
   2179   If Today Was Your Last Day         Warner-Tamerlane Publishing Corp.           PA0001622259



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                          Track                            Plaintiff                         Registration_Number
   2180   In Case You Didn't Know           Warner-Tamerlane Publishing Corp.           PA0001847635
   2181   Initiation                        Warner-Tamerlane Publishing Corp.           PA0001951618
   2182   Inside Interlewd                  Warner-Tamerlane Publishing Corp.           PA0001866129
   2183   Interlude                         Warner-Tamerlane Publishing Corp.           PA0001807226
   2184   Interlude4U                       Warner-Tamerlane Publishing Corp.           PA0001865878
   2185   Intro                             Warner-Tamerlane Publishing Corp.           PA0001807226
   2186   It Did                            Warner-Tamerlane Publishing Corp.           PA0001628194
   2187   It Will Be Me                     Warner-Tamerlane Publishing Corp.           PA0000988177
   2188   It's Five O' Clock Somewhere      Warner-Tamerlane Publishing Corp.           PA0001158580
   2189   It's Good                         Warner-Tamerlane Publishing Corp.           PA0001842432
   2190   It's Not Over                     Warner-Tamerlane Publishing Corp.           PA0001349172
   2191   Jesus For A Day                   Warner-Tamerlane Publishing Corp.           PA0001157410
   2192   Johnny Cash                       Warner-Tamerlane Publishing Corp.           PA0001292991
   2193   Just A Kiss                       Warner-Tamerlane Publishing Corp.           PA0001817035
   2194   Just For                          Warner-Tamerlane Publishing Corp.           PA0001103819
   2195   Karma                             Warner-Tamerlane Publishing Corp.           PA0001739133
   2196   Keep Me From Loving You           Warner-Tamerlane Publishing Corp.           PA0001641540
   2197   Keep You With Me                  Warner-Tamerlane Publishing Corp.           PA0001856129
   2198   Kickin' My Heart Around           Warner-Tamerlane Publishing Corp.           PAu002367443; PA0000939602
   2199   Knock It Out                      Warner-Tamerlane Publishing Corp.           PA0001347991
   2200   Knock You Down                    Warner-Tamerlane Publishing Corp.           PA0001767248
   2201   La Familia                        Warner-Tamerlane Publishing Corp.           PA0001858842
   2202   Ladies Go Wild                    Warner-Tamerlane Publishing Corp.           PA0001846093
   2203   Lay It On Me                      Warner-Tamerlane Publishing Corp.           PAu002607508; PA0001114110
   2204   Let It Rock                       Warner-Tamerlane Publishing Corp.           PA0001624274
   2205   Let The Beat Build                Warner-Tamerlane Publishing Corp.           PA0001621374
   2206   Let The Groove Get In             Warner-Tamerlane Publishing Corp.           PA0001915504
   2207   Let's Make Love                   Warner-Tamerlane Publishing Corp.           PA0000988178
   2208   Lifeline                          Warner-Tamerlane Publishing Corp.           PA0001671748
   2209   Like We Never Loved At All        Warner-Tamerlane Publishing Corp.           PA0001290857
   2210   Live By The Gun                   Warner-Tamerlane Publishing Corp.           PA0001746038
   2211   Lollipop                          Warner-Tamerlane Publishing Corp.           PA0001619781
   2212   Lonely Road Of Faith              Warner-Tamerlane Publishing Corp.           PAu002635077; PA0001114106
   2213   Look At Me Now                    Warner-Tamerlane Publishing Corp.           PA0001921210
   2214   Lookin' At You                    Warner-Tamerlane Publishing Corp.           PA0001263491
   2215   Looks That Kill                   Warner-Tamerlane Publishing Corp.           PA0000193924
   2216   Love Faces                        Warner-Tamerlane Publishing Corp.           PA0001856243
   2217   Love I've Found In You            Warner-Tamerlane Publishing Corp.           PA0001817038
   2218   Loyal                             Warner-Tamerlane Publishing Corp.           PA0001912898
   2219   Made In America                   Warner-Tamerlane Publishing Corp.           PA0001768256
   2220   Made To Be Together               Warner-Tamerlane Publishing Corp.           PA0001856238
   2221   Main Title (From "Star Wars")     Warner-Tamerlane Publishing Corp.           PA0000062943
   2222   Make Me Proud                     Warner-Tamerlane Publishing Corp.           PA0001869946
   2223   Mama's Broken Heart               Warner-Tamerlane Publishing Corp.           PA0001790000
   2224   Marvin & Chardonnay               Warner-Tamerlane Publishing Corp.           PA0001760433
   2225   Medicated                         Warner-Tamerlane Publishing Corp.           PA0001952869
   2226   MegaMan                           Warner-Tamerlane Publishing Corp.           PA0001807233
   2227   Memory Lane                       Warner-Tamerlane Publishing Corp.           PA0001868403



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                              List of Music Publisher Plaintiffs’ Copyrighted Compositions


                          Track                          Plaintiff                         Registration_Number
   2228   Mercy.1                         Warner-Tamerlane Publishing Corp.           PA0001913931
   2229   Midnight Train To Memphis       Warner-Tamerlane Publishing Corp.           PAu002607511; PA0001114112
   2230   Mirror                          Warner-Tamerlane Publishing Corp.           PA0001842434
   2231   Miss Me                         Warner-Tamerlane Publishing Corp.           PA0001728552
   2232   Moment 4 Life                   Warner-Tamerlane Publishing Corp.           PA0001739210
   2233   Momma                           Warner-Tamerlane Publishing Corp.           PA0001648755
   2234   Money Bought                    Warner-Tamerlane Publishing Corp.           PA0001103822
   2235   Mosh                            Warner-Tamerlane Publishing Corp.           PA0001284524
   2236   My Kinda Party                  Warner-Tamerlane Publishing Corp.           PA0001750920
   2237   My Wild Frontier                Warner-Tamerlane Publishing Corp.           PA0000901850
   2238   Never Again                     Warner-Tamerlane Publishing Corp.           PA0001819832
   2239   Never Ever                      Warner-Tamerlane Publishing Corp.           PA0001659049
   2240   New Joc City - Intro            Warner-Tamerlane Publishing Corp.           PA0001347982
   2241   New Slaves                      Warner-Tamerlane Publishing Corp.           PA0001890237
   2242   Nightmares Of The Bottom        Warner-Tamerlane Publishing Corp.           PA0001915461
   2243   No                              Warner-Tamerlane Publishing Corp.           PA0001628202
   2244   Not Over You                    Warner-Tamerlane Publishing Corp.           PA0001763962
   2245   On Fire                         Warner-Tamerlane Publishing Corp.           PA0001848480
   2246   On Sight                        Warner-Tamerlane Publishing Corp.           PA0001890235
   2247   One Way Trip                    Warner-Tamerlane Publishing Corp.           PA0001728549
   2248   One, Two Step                   Warner-Tamerlane Publishing Corp.           PA0001263489
   2249   Only A Fool                     Warner-Tamerlane Publishing Corp.           PAu002367443; PA0000939602
   2250   Outro                           Warner-Tamerlane Publishing Corp.           PA0001807226
   2251   Own It                          Warner-Tamerlane Publishing Corp.           PA0001891427
   2252   P.Y.T. (Pretty Young Thing)     Warner-Tamerlane Publishing Corp.           PA0000159305; PA0000193603
   2253   Paint This House                Warner-Tamerlane Publishing Corp.           PA0001882750
   2254   Pak Man                         Warner-Tamerlane Publishing Corp.           PA0001648771
   2255   Panic Prone                     Warner-Tamerlane Publishing Corp.           PA0001253726
   2256   Panty Wetter                    Warner-Tamerlane Publishing Corp.           PA0001865865
   2257   Paper Scissors Rock             Warner-Tamerlane Publishing Corp.           PA0001866592
   2258   Paradice                        Warner-Tamerlane Publishing Corp.           PA0001728547
   2259   Part II (On The Run)            Warner-Tamerlane Publishing Corp.           PA0001858831
   2260   Partition                       Warner-Tamerlane Publishing Corp.           PA0001918144
   2261   Patron                          Warner-Tamerlane Publishing Corp.           PA0001347986
   2262   Payphone                        Warner-Tamerlane Publishing Corp.           PA0001849242
   2263   Phone Home                      Warner-Tamerlane Publishing Corp.           PA0001621245
   2264   Pick Up The Phone               Warner-Tamerlane Publishing Corp.           PA0001263490
   2265   Picture Perfect                 Warner-Tamerlane Publishing Corp.           PA0001347992
   2266   Play Your Cards                 Warner-Tamerlane Publishing Corp.           PA0001648743
   2267   Player's Prayer                 Warner-Tamerlane Publishing Corp.           PA0001387429
   2268   Playin' Hard                    Warner-Tamerlane Publishing Corp.           PA0001866123
   2269   Please Return My Call           Warner-Tamerlane Publishing Corp.           PA0001771885
   2270   Pocahontas Proud                Warner-Tamerlane Publishing Corp.           PA0001227155
   2271   Pop That                        Warner-Tamerlane Publishing Corp.           PA0001861940
   2272   Popular                         Warner-Tamerlane Publishing Corp.           PA0001741903
   2273   Pound Cake / Paris Morton Music
          2                               Warner-Tamerlane Publishing Corp.           PA0001967812
   2274   Prayin' For Daylight            Warner-Tamerlane Publishing Corp.           PA0000978701



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                          Track                           Plaintiff                         Registration_Number
   2275   President Carter                 Warner-Tamerlane Publishing Corp.           PA0001807235
   2276   Pretty Girl's Lie                Warner-Tamerlane Publishing Corp.           PA0001865867
   2277   Prom Queen                       Warner-Tamerlane Publishing Corp.           PA0001728544
   2278   Pusher Love Girl                 Warner-Tamerlane Publishing Corp.           PA0001915504
   2279   Queen Of Hearts                  Warner-Tamerlane Publishing Corp.           PA0001742580
   2280   Radiation                        Warner-Tamerlane Publishing Corp.           PA0001763960
   2281   Radio                            Warner-Tamerlane Publishing Corp.           PA0001630369
   2282   Rest Of Our Life                 Warner-Tamerlane Publishing Corp.           PA0001896429
   2283   Right Above It                   Warner-Tamerlane Publishing Corp.           PA0001741926
   2284   Right In Front Of You            Warner-Tamerlane Publishing Corp.           PA0001102062
   2285   Right One Time                   Warner-Tamerlane Publishing Corp.           PA0001853122
   2286   Rise Above                       Warner-Tamerlane Publishing Corp.           PA0001951621
   2287   Rocket                           Warner-Tamerlane Publishing Corp.           PA0001918124
   2288   Run Every Time                   Warner-Tamerlane Publishing Corp.           PA0001763961
   2289   Say Something                    Warner-Tamerlane Publishing Corp.           PA0001728554
   2290   See Me Now                       Warner-Tamerlane Publishing Corp.           PA0001865581
   2291   See You In My Nightmares         Warner-Tamerlane Publishing Corp.           PA0001643088
   2292   See You When I See You           Warner-Tamerlane Publishing Corp.           PA0001790669
   2293   Send It Up                       Warner-Tamerlane Publishing Corp.           PA0001890236
   2294   Session One                      Warner-Tamerlane Publishing Corp.           PA0001848890
   2295   Sex In The Lounge                Warner-Tamerlane Publishing Corp.           PA0001842417
   2296   Shattered Glass                  Warner-Tamerlane Publishing Corp.           PA0001632385
   2297   She Don't Have to Know           Warner-Tamerlane Publishing Corp.           PA0001299028
   2298   She Talks To Angels              Warner-Tamerlane Publishing Corp.           PA0000532894
   2299   She Will                         Warner-Tamerlane Publishing Corp.           PA0001807232
   2300   Shine                            Warner-Tamerlane Publishing Corp.           PA0001305505
   2301   Shoot Me Down                    Warner-Tamerlane Publishing Corp.           PA0001915522
   2302   Shout At The Devil               Warner-Tamerlane Publishing Corp.           PA0000193923
   2303   Shut It Down                     Warner-Tamerlane Publishing Corp.           PA0001870871
   2304   Simply Amazing                   Warner-Tamerlane Publishing Corp.           PA0001868036
   2305   Skeletons                        Warner-Tamerlane Publishing Corp.           PA0001789847
   2306   Ski Mask Way                     Warner-Tamerlane Publishing Corp.           PA0001281578
   2307   So Special                       Warner-Tamerlane Publishing Corp.           PA0001807229
   2308   Somewhere Love Remains           Warner-Tamerlane Publishing Corp.           PA0001817433
   2309   Spaceship Coupe                  Warner-Tamerlane Publishing Corp.           PA0001915506
   2310   Spell It Out                     Warner-Tamerlane Publishing Corp.           PA0001763961
   2311   St. Elsewhere                    Warner-Tamerlane Publishing Corp.           PA0001338251
   2312   Stealing                         Warner-Tamerlane Publishing Corp.           PA0001763960
   2313   Sting Me                         Warner-Tamerlane Publishing Corp.           PAu001613582; PA0000577821
   2314
          Stop, Look, Listen (To Your Heart) Warner-Tamerlane Publishing Corp.         EP0000286226
   2315   Straight Jacket Fashion            Warner-Tamerlane Publishing Corp.         PA0001387418
   2316   Straight Up                        Warner-Tamerlane Publishing Corp.         PA0001808141
   2317   Strawberry Bubblegum               Warner-Tamerlane Publishing Corp.         PA0001915506
   2318   StreetLove                         Warner-Tamerlane Publishing Corp.         PA0001387433
   2319   Sugar                              Warner-Tamerlane Publishing Corp.         PA0001638753
   2320   Suit & Tie                         Warner-Tamerlane Publishing Corp.         PA0001939563
   2321   Sunshine & Summertime              Warner-Tamerlane Publishing Corp.         PA0001290858



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                         Track                             Plaintiff                        Registration_Number
   2322   Sweeter                           Warner-Tamerlane Publishing Corp.          PA0001763962
   2323   Take It Outside                   Warner-Tamerlane Publishing Corp.          PA0001694081
   2324   Take You Home                     Warner-Tamerlane Publishing Corp.          PA0001387431
   2325   Tattoos On This Town              Warner-Tamerlane Publishing Corp.          PA0001790667
   2326   Teach Me How To Dougie            Warner-Tamerlane Publishing Corp.          PA0001744864
   2327   Tell Somebody                     Warner-Tamerlane Publishing Corp.          PA0001842284
   2328   Texas Was You                     Warner-Tamerlane Publishing Corp.          PA0001790669
   2329   That Girl                         Warner-Tamerlane Publishing Corp.          PA0001915505
   2330   The Boogie Monster                Warner-Tamerlane Publishing Corp.          PA0001338253
   2331   The Clincher                      Warner-Tamerlane Publishing Corp.          PA0001253725
   2332   The Fad                           Warner-Tamerlane Publishing Corp.          PA0001387418
   2333   The Night Before (Life Goes On)   Warner-Tamerlane Publishing Corp.          PA0001302091
   2334   The Price Is Wrong                Warner-Tamerlane Publishing Corp.          PA0001728550
   2335   The Real Her                      Warner-Tamerlane Publishing Corp.          PA0001869994
   2336   Them Boys                         Warner-Tamerlane Publishing Corp.          PA0001693846
   2337   This Song Is About You            Warner-Tamerlane Publishing Corp.          PA0001847635
   2338   Thorn In My Pride                 Warner-Tamerlane Publishing Corp.          PAu000613584; PA0000577819
   2339   Thug Style                        Warner-Tamerlane Publishing Corp.          PA0001263491
   2340   Till I Die                        Warner-Tamerlane Publishing Corp.          PA0001842278
   2341   Tomorrow In The Bottle            Warner-Tamerlane Publishing Corp.          PA0001780008
   2342   Too Bad                           Warner-Tamerlane Publishing Corp.          PA0001103820
   2343   Too Fast For Love                 Warner-Tamerlane Publishing Corp.          PA0000152365
   2344   Touch The Sky                     Warner-Tamerlane Publishing Corp.          PA0001299042
   2345   Transformer                       Warner-Tamerlane Publishing Corp.          PA0001338256
   2346   True                              Warner-Tamerlane Publishing Corp.          PA0000895879
   2347   Trumpet Lights                    Warner-Tamerlane Publishing Corp.          PA0001842283
   2348   TTG (Trained To Go)               Warner-Tamerlane Publishing Corp.          PA0001739067
   2349   Tunnel Vision                     Warner-Tamerlane Publishing Corp.          PA0001915506
   2350   Turnin Me On                      Warner-Tamerlane Publishing Corp.          PA0001881520
   2351   Two Shots                         Warner-Tamerlane Publishing Corp.          PA0001842435
   2352   Under Ground Kings                Warner-Tamerlane Publishing Corp.          PA0001808381
   2353   Valentine                         Warner-Tamerlane Publishing Corp.          PA0001387428
   2354   Vitamin R (Leading Us Along)      Warner-Tamerlane Publishing Corp.          PA0001253726
   2355   Waitin' On a Woman                Warner-Tamerlane Publishing Corp.          PA0001288292
   2356   Walking On The Moon               Warner-Tamerlane Publishing Corp.          PA0001893004
   2357   Wanted You More                   Warner-Tamerlane Publishing Corp.          PA0001817205
   2358   Wasted                            Warner-Tamerlane Publishing Corp.          PA0001302090
   2359   Watch n' Learn                    Warner-Tamerlane Publishing Corp.          PA0001842405
   2360   WCSR                              Warner-Tamerlane Publishing Corp.          Pau002607518; PA0001114103
   2361   We Belong To The Music            Warner-Tamerlane Publishing Corp.          PA0001780088
   2362   We'll Be Fine                     Warner-Tamerlane Publishing Corp.          PA0001869942
   2363   Welcome To The Jungle             Warner-Tamerlane Publishing Corp.          PA0001816412
   2364   Well Enough Alone                 Warner-Tamerlane Publishing Corp.          PA0001387417
   2365   What Happened                     Warner-Tamerlane Publishing Corp.          PA0001227154
   2366   What I Learned Out On The Road    Warner-Tamerlane Publishing Corp.          PAu002625391; PA0001114109
   2367   What You Wanna Do                 Warner-Tamerlane Publishing Corp.          PA0001387432
   2368   Whatever                          Warner-Tamerlane Publishing Corp.          PA0001856129
   2369   When I Think About Cheatin'       Warner-Tamerlane Publishing Corp.          PA0001227155



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                        Track                              Plaintiff                        Registration_Number
   2370   When It Rains                     Warner-Tamerlane Publishing Corp.          PA0001227155
   2371   When U Love Someone               Warner-Tamerlane Publishing Corp.          PA0001638755
   2372   When You Were Mine                Warner-Tamerlane Publishing Corp.          PA0001817032
   2373   Where Do I Hide                   Warner-Tamerlane Publishing Corp.          PA0001103821
   2374   Where You Are                     Warner-Tamerlane Publishing Corp.          PA0001763960
   2375   Who Gon Stop Me                   Warner-Tamerlane Publishing Corp.          PA0001850662
   2376   Wild Ones                         Warner-Tamerlane Publishing Corp.          PA0001883945
   2377   Wipe Your Eyes                    Warner-Tamerlane Publishing Corp.          PA0001811795
   2378   Wiser Time                        Warner-Tamerlane Publishing Corp.          PA0000738881
   2379   Wish You Would                    Warner-Tamerlane Publishing Corp.          PA0001660102
   2380   Woke Up This Morning              Warner-Tamerlane Publishing Corp.          PA0001103820
   2381   Work Hard, Play Hard              Warner-Tamerlane Publishing Corp.          PA0001951615
   2382   Wut We Doin?                      Warner-Tamerlane Publishing Corp.          PA0001846684
   2383   You (Edited)                      Warner-Tamerlane Publishing Corp.          PA0001387424
   2384   You Are Everything                Warner-Tamerlane Publishing Corp.          EP0000291953
   2385   You Know Where I'm At             Warner-Tamerlane Publishing Corp.          PA0001763960
   2386   You Never Met A Motherf**Ker
          Quite Like Me                     Warner-Tamerlane Publishing Corp.          PAu002607516; PA0001114102
   2387   Yuck!                             Warner-Tamerlane Publishing Corp.          PA0001846689
   2388   No Love                           Warner-Tamerlane Publishing Corp.          PA0001735858
   2389   Panty Droppa (Intro)              Warner-Tamerlane Publishing Corp.          PA0001703149
   2390                                     Warner-Tamerlane Publishing Corp. /
          Chaining Day                      Unichappell Music Inc.                     PA0001939572
   2391                                     Warner-Tamerlane Publishing Corp. /
          Lost In The World                 Unichappell Music Inc.                     PA0001784045
   2392                                     Warner-Tamerlane Publishing Corp. /
          Pump It Harder                    Unichappell Music Inc.                     PA0001723093
   2393                                     Warner-Tamerlane Publishing Corp. / WB
          No Lie                            Music Corp.                                PA0001846688
   2394                                     Warner-Tamerlane Publishing Corp. / WB
          All The Shine                     Music Corp. / W.B.M. Music, Inc.           PA0001901207
   2395                                     Warner-Tamerlane Publishing Corp. / WB
          Fire Fly                          Music Corp. / W.B.M. Music, Inc.           PA0001901207
   2396                                     Warner-Tamerlane Publishing Corp. / WB
          LES                               Music Corp. / W.B.M. Music, Inc.           PA0001901207
   2397                                     Warner-Tamerlane Publishing Corp. / WB
          Outside                           Music Corp. / W.B.M. Music, Inc.           PA0001773713; PA0001901207
   2398                                     Warner-Tamerlane Publishing Corp. / WB
          Sunrise                           Music Corp. / W.B.M. Music, Inc.           PA0001773580; PA0001901207
   2399                                     Warner-Tamerlane Publishing Corp. / WB
          That Power                        Music Corp. / W.B.M. Music, Inc.           PA0001901207
   2400   When Something Is Wrong With
          My Baby                           Warner/Chappell Music                      EU0000964275
   2401   Always Late (with Your Kisses)    Warner/Chappell Music, Inc.                EP0000056342; RE0000017054
   2402   1 Mo Time                         Warner/Chappell Music, Inc.                PA0001765676
   2403   Bouquet of Roses                  Warner/Chappell Music, Inc.                EP0000027412
   2404   Bury Me Not On the Lone Prairie   Warner/Chappell Music, Inc.                Eu0000893037; RE0000609798
   2405   California Waiting                Warner/Chappell Music, Inc.                PA0001204543
   2406   Casey Jones                       Warner/Chappell Music, Inc.                EU0000753361; RE0000515038



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                       Track                              Plaintiff                         Registration_Number
   2407   Closer                           Warner/Chappell Music, Inc.                 PA0001204538; PA0001615767
   2408                                                                                Eu0000322794; RE0000084677;
          Cry Me a River                   Warner/Chappell Music, Inc.                 EP0000094728; RE0000152354
   2409   Dance Real Slow                  Warner/Chappell Music, Inc.                 PA0001859563
   2410   Don't Take Your Guns to Town     Warner/Chappell Music, Inc.                 Eu0000548552; ; RE0000283032
   2411   Faithful                         Warner/Chappell Music, Inc.                 PA0001299024
   2412   Five Feet High and Rising        Warner/Chappell Music, Inc.                 Eu0000571483; RE0000320846
   2413   Frankie's Man Johnny             Warner/Chappell Music, Inc.                 Eu0000545553RE0000283029
   2414   Friday                           Warner/Chappell Music, Inc.                 PA0001765676
   2415   Genius                           Warner/Chappell Music, Inc.                 PA0001204546
   2416   Happy Alone                      Warner/Chappell Music, Inc.                 PA0001204539
   2417   Holy Roller Novocaine            Warner/Chappell Music, Inc.                 PA0001204548
   2418   I Am The Club                    Warner/Chappell Music, Inc.                 PA0001765676
   2419   I Cross My Heart                 Warner/Chappell Music, Inc.                 PA0000593349; PA0000643057
   2420   I Got Stripes                    Warner/Chappell Music, Inc.                 Eu0000571481; RE0000328946
   2421   I Still Miss Someone             Warner/Chappell Music, Inc.                 Eu0000541378; RE0000283809
   2422   Jesus, Take The Wheel            Warner/Chappell Music, Inc.                 PA0001339680
   2423   Joe's Head                       Warner/Chappell Music, Inc.                 PA0001204541
   2424   Just A Dream                     Warner/Chappell Music, Inc.                 PA0001742365
   2425   Little Miss Strange              Warner/Chappell Music, Inc.                 Eu0000081092
   2426   Losing You                       Warner/Chappell Music, Inc.                 PA0001637010
   2427   Molly's Chambers                 Warner/Chappell Music, Inc.                 PA0001204545
   2428   My Funny Valentine               Warner/Chappell Music, Inc.                 EP0000061055
   2429   Pick a Bale O' Cotton            Warner/Chappell Music, Inc.                 EU0000736399
   2430   Pickin' Time                     Warner/Chappell Music, Inc.                 Eu0000548553; RE0000276205
   2431   Position Of Power                Warner/Chappell Music, Inc.                 PA0001868739
   2432   Red Morning Light                Warner/Chappell Music, Inc.                 PA0001204538
   2433   Rewind                           Warner/Chappell Music, Inc.                 PA0001969112
   2434   She's So Fine                    Warner/Chappell Music, Inc.                 Eu0000031444
   2435   So Amazing                       Warner/Chappell Music, Inc.                 PA0001868740
   2436   Spiral Staircase                 Warner/Chappell Music, Inc.                 PA0001204544
   2437   Stand                            Warner/Chappell Music, Inc.                 PA0001345399
   2438   Sweet Betsy from Pike            Warner/Chappell Music, Inc.                 Eu0000893033; RE0000609795
   2439   Take Care                        Warner/Chappell Music, Inc.                 PA0001841723
   2440   Tennessee Flat Top Box           Warner/Chappell Music, Inc.                 Eu0000684114; RE0000428313
   2441   The Food                         Warner/Chappell Music, Inc.                 PA0001299025; PA0001302104
   2442   The Legend Of John Henry's
          Hammer                           Warner/Chappell Music, Inc.                 Eu0000753362; RE0000519119
   2443   Trani                            Warner/Chappell Music, Inc.                 PA0001204542
   2444   Understand Your Man              Warner/Chappell Music, Inc.                 Eu0000805018; RE0000568246
   2445   Walking The Blues                Warner/Chappell Music, Inc.                 RE0000283023; EU0000541382
   2446   Wasted Time                      Warner/Chappell Music, Inc.                 PA0001204540
   2447   Wreck of the Old 97              Warner/Chappell Music, Inc.                 Eu0000824378; RE0000575401
   2448   You Look So Good In Love         Warner/Chappell Music, Inc.                 PAu000502409
   2449                                    Warner/Chappell Music, Inc. / WB Music
          All Over The Road                Corp.                                       PA0001859563
   2450                                    Warner/Chappell Music, Inc. / WB Music
          American Saturday Night          Corp.                                       PA0001674346



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                        Track                               Plaintiff                          Registration_Number
   2451                                     Warner/Chappell Music, Inc. / WB Music
          Aw Naw                            Corp.                                       PA0001887674
   2452                                     Warner/Chappell Music, Inc. / WB Music
          Catch All The Fish                Corp.                                       PA0001644207
   2453                                     Warner/Chappell Music, Inc. / WB Music
          Crash My Party                    Corp.                                       PA0001870878
   2454                                     Warner/Chappell Music, Inc. / WB Music
          Love Her Like She's Leavin'       Corp.                                       PA0001769705
   2455                                     Warner/Chappell Music, Inc. / WB Music
          Thank God For Hometowns           Corp.                                       PA0001848754
   2456                                     Warner/Chappell Music, Inc. / WB Music
          Then                              Corp.                                       PA0001703715
   2457                                     Warner/Chappell Music, Inc. / Warner-
          Where Have You Been               Tamerlane Publishing Corp.                  PA0001801575
   2458   ¡Viva La Gloria!                  WB Music Corp.                              PA0001859360
   2459   (Oh No) What You Got              WB Music Corp.                              PA0001149533
   2460   (One Of Those) Crazy Girls        WB Music Corp.                              PA0001854435
   2461   1+1                               WB Music Corp.                              PA0001861929
   2462   107                               WB Music Corp.                              PA0001022575
   2463   A Welcome Burden                  WB Music Corp.                              PA0001059185
   2464   Achilles Last Stand               WB Music Corp.                              Eu0000655755; RE0000895725
   2465   Addicted                          WB Music Corp.                              PA0001084656
   2466   Afrodisiac                        WB Music Corp.                              PA0001236712
   2467   All Her Love                      WB Music Corp.                              PA0001087582
   2468   All I Ask For                     WB Music Corp.                              PA0001146376
   2469   All I Wanted                      WB Music Corp.                              PA0001676908
   2470   All In The Name Of...             WB Music Corp.                              PA0000354504
   2471   All Me                            WB Music Corp.                              PA0001967814
   2472   All My Love                       WB Music Corp.                              PA0000078104
   2473   All Night Long                    WB Music Corp.                              PA0001741514
   2474   All The Same                      WB Music Corp.                              PA0000914816
   2475   All The Time                      WB Music Corp.                              PA0001059863
   2476   Already Gone                      WB Music Corp.                              PA0001249431
   2477   Amen                              WB Music Corp.                              PA0001842305
   2478   American Eulogy: Mass
          Hysteria/Modern World             WB Music Corp.                              PA0001859360
   2479   American Idiot                    WB Music Corp.                              PA0001251385
   2480   Anklebiters                       WB Music Corp.                              PA0001854436
   2481   Armatage Shanks                   WB Music Corp.                              PA0000774217
   2482   Avarice                           WB Music Corp.                              PA0001352640PA0001296201
   2483   Awaken                            WB Music Corp.                              PA0001111236
   2484   Bab's Uvula Who?                  WB Music Corp.                              PA0000774217
   2485   Babe I'm Gonna Leave You          WB Music Corp.                              EP0000256803
   2486   Baby You Belong                   WB Music Corp.                              PA0001147137
   2487   Back To School (Mini Maggit)      WB Music Corp.                              PA0001033072
   2488   Bad Boy Boogie                    WB Music Corp.                              PA0000354502
   2489   Bad News                          WB Music Corp.                              PA0001633768
   2490   bang bang bang                    WB Music Corp.                              PA0001750215
   2491   Basement                          WB Music Corp.                              PA0001075310


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                                List of Music Publisher Plaintiffs’ Copyrighted Compositions


                         Track                                Plaintiff                      Registration_Number
   2492   Basket Case                       WB Music Corp.                              PA0000713967
   2493   Battle-axe                        WB Music Corp.                              PA0001157470
   2494   BBC                               WB Music Corp.                              PA0001858826
   2495   Be Alone                          WB Music Corp.                              PA0001854435
   2496   Be Quiet And Drive                WB Music Corp.                              PA0000870906
   2497   Before The Lobotomy               WB Music Corp.                              PA0001859360
   2498   Believe                           WB Music Corp.                              PA0001111236
   2499   Berzerk                           WB Music Corp.                              PA0001863184
   2500   Betty's a Bombshell               WB Music Corp.                              PA0001762863
   2501   Beware                            WB Music Corp.                              PA0001373477
   2502   Big Pimpin'/Papercut              WB Music Corp.                              PA0001080612; PA0001937229
   2503   Birdman Interlude                 WB Music Corp.                              PA0001814502
   2504   Birthday Cake                     WB Music Corp.                              PA0001841920
   2505   Birthmark                         WB Music Corp.                              PA0000776635
   2506   Black Dog                         WB Music Corp.                              EU0000301138; RE0000820347
   2507   Black Moon                        WB Music Corp.                              PA0001336033
   2508   Bliss                             WB Music Corp.                              PA0001741512
   2509   Blood Brothers                    WB Music Corp.                              PA0001870874
   2510   Blood, Sex And Booze              WB Music Corp.                              PA0001022884
   2511   Bored                             WB Music Corp.                              PA0000776635
   2512   Born For This                     WB Music Corp.                              PA0001595081
   2513   Bottom                            WB Music Corp.                              PA0001225978; PA0001204553
   2514   Boulevard Of Broken Dreams        WB Music Corp.                              PA0001251317
   2515   Bound                             WB Music Corp.                              PA0001111236
   2516   Brat                              WB Music Corp.                              PA0000774217
   2517   Breath                            WB Music Corp.                              PA0001111236
   2518   Brick By Boring Brick             WB Music Corp.                              PA0001676905
   2519   Bring Me Down                     WB Music Corp.                              PA0001311759; PA0001075311
   2520   Bring The Noize                   WB Music Corp.                              PA0001862990
   2521   Broken Glass                      WB Music Corp.                              PA0001335215
   2522   Brooklyn                          WB Music Corp.                              PA0001335215
   2523   Buried Alive Interlude            WB Music Corp.                              PA0001869935
   2524   Burnout                           WB Music Corp.                              PA0000713967
   2525   Business                          WB Music Corp.                              PA0001118664
   2526   California Gurls                  WB Music Corp.                              PA0001753646
   2527   Careful                           WB Music Corp.                              PA0001676905
   2528   Carousel                          WB Music Corp.                              PA0001335214
   2529   Change (In The House Of Flies)    WB Music Corp.                              PA0001029983
   2530   Change My Mind                    WB Music Corp.                              PA0001204552
   2531   Chasin' That Neon Rainbow         WB Music Corp.                              PA0000458323
   2532   Chasing Sirens                    WB Music Corp.                              PA0001022575
   2533   Chattahoochee                     WB Music Corp.                              PA0000587430
   2534   Cherry Waves                      WB Music Corp.                              PA0001373477
   2535   Children Of The Korn              WB Music Corp.                              PA0001058922
   2536   Chloe                             WB Music Corp.                              PA0001762863
   2537   Christian's Inferno               WB Music Corp.                              PA0001859360
   2538   Chump                             WB Music Corp.                              PA0000713967
   2539   Church On Sunday                  WB Music Corp.                              PA0001022884



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                               List of Music Publisher Plaintiffs’ Copyrighted Compositions


                         Track                                Plaintiff                     Registration_Number
   2540   Circle The Drain                   WB Music Corp.                            PA0001753641
   2541   Clique                             WB Music Corp.                            PA0001913932
   2542   Close Your Eyes and Count to Ten   WB Music Corp.                            PA0001762863
   2543   Closure                            WB Music Corp.                            PA0001859504
   2544   Cloud 9                            WB Music Corp.                            PA0001262375
   2545   Coffee                             WB Music Corp.                            PA0001779668
   2546   Coffee Shop                        WB Music Corp.                            PA0001858764
   2547   Colours                            WB Music Corp.                            PA0001397703; PA0001762865
   2548   Combat                             WB Music Corp.                            PA0001373477; PA0001373482
   2549   Come As You Are                    WB Music Corp.                            PA0001236710
   2550   Come Rain or Come Shine            WB Music Corp.                            EP0000001893; PAu002123922
   2551   Comfortable Liar                   WB Music Corp.                            PA0001859610
   2552   Coming Clean                       WB Music Corp.                            PA0000713967
   2553   Communication Breakdown            WB Music Corp.                            EP0000256801
   2554   Conflict                           WB Music Corp.                            PA0001000622
   2555   Cop Car                            WB Music Corp.                            PA0001878240
   2556   Countdown                          WB Music Corp.                            PA0001861897
   2557   Crazy                              WB Music Corp.                            PA0001251376
   2558   Crenshaw Punch / I'll Throw
          Rocks At You                       WB Music Corp.                            PA0001336034
   2559   Criminal                           WB Music Corp.                            PA0001697247
   2560   Cruel and Beautiful World          WB Music Corp.                            PA0001762863
   2561   crushcrushcrush                    WB Music Corp.                            PA0001595045
   2562   Cry Me A River                     WB Music Corp.                            PA0001266147
   2563   D'yer Mak'er                       WB Music Corp.                            EP0000256801
   2564   Dai The Flu                        WB Music Corp.                            PA0000870906
   2565   Dancing On Glass                   WB Music Corp.                            PA0000354501
   2566   Dangerously In Love                WB Music Corp.                            PA0000954078
   2567   Daydreaming                        WB Music Corp.                            PA0001854435
   2568   Dazed And Confused                 WB Music Corp.                            Eu0000402445
   2569   Dead                               WB Music Corp.                            PA0001741514
   2570   Deathblow                          WB Music Corp.                            PA0001157470
   2571   Decadence                          WB Music Corp.                            PA0001296200
   2572   Deceiver                           WB Music Corp.                            PA0001697227
   2573   Dehumanized                        WB Music Corp.                            PA0001224644
   2574   Deify                              WB Music Corp.                            PA0001296199
   2575   Devour                             WB Music Corp.                            PA0001111236
   2576   Digital Bath                       WB Music Corp.                            PA0001029983
   2577   Dirt Off Your Shoulder/Lying
          From You                           WB Music Corp.                            PA0001937215
   2578   Dissention                         WB Music Corp.                            PA0000914816
   2579   Divide                             WB Music Corp.                            PA0001697247
   2580   Don't Rock The Jukebox             WB Music Corp.                            PA0000525633
   2581   Don't Wake Me Up                   WB Music Corp.                            PA0001842282
   2582   Don't Wanna Think About You        WB Music Corp.                            PA0001238984
   2583   Dopefiend's Diner                  WB Music Corp.                            PA0001696337
   2584   Double Bubble Trouble              WB Music Corp.                            PA0001919079
   2585   Down With The Sickness             WB Music Corp.                            PA0001000622



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                          Track                              Plaintiff                      Registration_Number
   2586   Dr Feelgood                      WB Music Corp.                              PA0000440229
   2587   Dramatica                        WB Music Corp.                              PA0001022575
   2588   Dressin' Up                      WB Music Corp.                              PA0001816541
   2589   Drift And Die                    WB Music Corp.                              PA0001075312
   2590   Drive Slow                       WB Music Corp.                              PA0001310079
   2591   Droppin' Plates                  WB Music Corp.                              PA0001000622
   2592   E.T.                             WB Music Corp.                              PA0001753644
   2593   East Jesus Nowhere               WB Music Corp.                              PA0001859360
   2594   Elevator                         WB Music Corp.                              PA0001647059
   2595   Emenius Sleepus                  WB Music Corp.                              PA0000713968
   2596   Emergency                        WB Music Corp.                              PA0001305589
   2597   End Of Time                      WB Music Corp.                              PA0001861922
   2598   Enough                           WB Music Corp.                              PA0001697242
   2599   Entombed                         WB Music Corp.                              PA0001849262
   2600   Eva                              WB Music Corp.                              PA0001022575
   2601   Everything                       WB Music Corp.                              PA0001640776
   2602   Everytime                        WB Music Corp.                              PA0001251376
   2603   Extremely Blessed                WB Music Corp.                              PA0001846687
   2604   Eyes-Radio-Lies                  WB Music Corp.                              PA0001022575
   2605   F**k The Club Up                 WB Music Corp.                              PA0001847136
   2606   F*ckwithmeyouknowigotit          WB Music Corp.                              PA0001858846
   2607   Facade                           WB Music Corp.                              PA0001697247
   2608   Fall                             WB Music Corp.                              PA0001884084
   2609   Fast In My Car                   WB Music Corp.                              PA0001854436
   2610   Fear                             WB Music Corp.                              PA0001000622
   2611   Feeling Sorry                    WB Music Corp.                              PA0001676906
   2612   Fences                           WB Music Corp.                              PA0001595053
   2613   Fetisha                          WB Music Corp.                              PA0000914814
   2614   Fiction (Dreams In Digital)      WB Music Corp.                              PA0001022579
   2615   Fiend                            WB Music Corp.                              PA0000914814
   2616   Finally                          WB Music Corp.                              PA0001236713
   2617   Fireal                           WB Music Corp.                              PA0000776635
   2618   Firework                         WB Music Corp.                              PA0001753920
   2619   Five Years Dead                  WB Music Corp.                              PA0000332227
   2620   Flawless                         WB Music Corp.                              PA0001918122
   2621   Focus                            WB Music Corp.                              PA0001236716
   2622   For A Pessimist, I'm Pretty
          Optimistic                       WB Music Corp.                              PA0001595045
   2623   For My Dawgs                     WB Music Corp.                              PA0001847144
   2624   Forfeit                          WB Music Corp.                              PA0001859504
   2625   Forgiven                         WB Music Corp.                              PA0001352640; PA0001296201
   2626   Freak Of The World               WB Music Corp.                              PA0001225980
   2627   Future                           WB Music Corp.                              PA0001854435
   2628   Gauze                            WB Music Corp.                              PA0001849262
   2629   Geek Stink Breath                WB Music Corp.                              PA0000774217
   2630   Gender                           WB Music Corp.                              PA0000914814
   2631   Get Your Money Up                WB Music Corp.                              PA0001881522
   2632   Girls, Girls, Girls              WB Music Corp.                              PA0000342182



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                              List of Music Publisher Plaintiffs’ Copyrighted Compositions


                          Track                             Plaintiff                      Registration_Number
   2633   Go                              WB Music Corp.                              PA0001302099
   2634   God Must Hate Me                WB Music Corp.                              PA0001084657
   2635   God Of The Mind                 WB Music Corp.                              PA0001045439
   2636   Good Riddance (Time Of Your
          Life)                           WB Music Corp.                              PA0001059866
   2637   Good Times Bad Times            WB Music Corp.                              EP0000256802
   2638   Goon Squad                      WB Music Corp.                              PA0001849262
   2639   Graphic Nature                  WB Music Corp.                              PA0001849262
   2640   Grow Up                         WB Music Corp.                              PA0001854435
   2641   Guarded                         WB Music Corp.                              PA0001296198
   2642   Guilt Trip                      WB Music Corp.                              PA0001883988
   2643   Gunz Come Out                   WB Music Corp.                              PA0001281577
   2644   Hallelujah                      WB Music Corp.                              PA0001595045
   2645   Hard                            WB Music Corp.                              PA0001711867
   2646   Hate                            WB Music Corp.                              PA0001711046
   2647   Hate To See Your Heart Break    WB Music Corp.                              PA0001854435
   2648   Haunted                         WB Music Corp.                              PA0001697242
   2649   Have You Seen Her               WB Music Corp.                              PA0001087579
   2650   He Won't Hurt You               WB Music Corp.                              PA0001087585
   2651   Headup                          WB Music Corp.                              PA0000870907
   2652   Heartache That Don't Stop
          Hurting                         WB Music Corp.                              PA0001727379
   2653   Heartbreaker                    WB Music Corp.                              EP0000267881
   2654   Heartland                       WB Music Corp.                              PA0000643056
   2655   Hell                            WB Music Corp.                              PA0001310671
   2656   Hello                           WB Music Corp.                              PA0001789865
   2657   Here In The Real World          WB Music Corp.                              PA0000458321
   2658   Here We Go Again                WB Music Corp.                              PA0001305590
   2659   Hexagram                        WB Music Corp.                              PA0001157469
   2660   Hey Hey What Can I Do?          WB Music Corp.                              Eu0000222687
   2661   Hip Hop Star                    WB Music Corp.                              PA0001208970
   2662   Hitchin' A Ride                 WB Music Corp.                              PA0001059862
   2663   Hold On, We're Going Home       WB Music Corp.                              PA0001891428
   2664   Holding On                      WB Music Corp.                              PA0001644614
   2665   Hole In The Earth               WB Music Corp.                              PA0001373476
   2666   Holiday/Boulevard Of Broken
          Dreams                          WB Music Corp.                              PA0001251317
   2667   Homies                          WB Music Corp.                              PA0001847137
   2668   Horseshoes And Handgrenades     WB Music Corp.                              PA0001859360
   2669   Hot For Teacher                 WB Music Corp.                              PA0000215905
   2670   Hot N Cold (Innerpartysystem
          Main)                           WB Music Corp.                              PA0001697567
   2671   Houses Of The Holy              WB Music Corp.                              Eu0000557533
   2672   Human Nature                    WB Music Corp.                              PA0000158773
   2673   Hummingbird Heartbeat           WB Music Corp.                              PA0001753638
   2674   I Can Wait Forever              WB Music Corp.                              PA0001644607
   2675   I Feel Like I'm Forgetting
          Something                       WB Music Corp.                              PAu002504855; PA0001120877
   2676   I Tried                         WB Music Corp.                              PA0001236714


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                                 List of Music Publisher Plaintiffs’ Copyrighted Compositions


                         Track                                 Plaintiff                      Registration_Number
   2677   I Wanna Luv U                      WB Music Corp.                              PA0001087576
   2678   I Want You                         WB Music Corp.                              PA0001741512
   2679   I Won't Be There                   WB Music Corp.                              PA0001084657
   2680   I'd Do Anything                    WB Music Corp.                              PA0001084655
   2681   I'm Alive                          WB Music Corp.                              PA0001296200
   2682   I'm Just A Kid                     WB Music Corp.                              PA0001084655
   2683   I'm So Sure                        WB Music Corp.                              PA0001669444
   2684   If I Could Love You                WB Music Corp.                              PA0001657879
   2685   Ignorance                          WB Music Corp.                              PA0001676905
   2686   Immigrant Song                     WB Music Corp.                              Eu0000212957
   2687   In The End                         WB Music Corp.                              PA0000713967
   2688   In The Evening                     WB Music Corp.                              PA0000078099
   2689   In Town                            WB Music Corp.                              PA0001846685
   2690   Indestructible                     WB Music Corp.                              PA0001697227
   2691   Inside The Fire                    WB Music Corp.                              PA0001697227
   2692   Interlude: Holiday                 WB Music Corp.                              PA0001854437
   2693
          Interlude: I'm Not Angry Anymore WB Music Corp.                                PA0001854435
   2694   Interlude: Moving On             WB Music Corp.                                PA0001854435
   2695   Intoxication                     WB Music Corp.                                PA0001111236
   2696   It's A Party                     WB Music Corp.                                PA0001741512
   2697   It's Alright                     WB Music Corp.                                PA0001087587
   2698   Itchin' On A Photograph          WB Music Corp.                                PA0001762863
   2699   Izzo/In The End                  WB Music Corp.                                PA0001038342
   2700   J.A.R. (Jason Andrew Relva)      WB Music Corp.                                PA0000773776
   2701   Jaded                            WB Music Corp.                                PA0000774217
   2702   Jesus Of Suburbia                WB Music Corp.                                PA0001251310
   2703   Jigga What/Faint                 WB Music Corp.                                PA0001937227
   2704   Jump                             WB Music Corp.                                PA0001251376
   2705   Just Stop                        WB Music Corp.                                PA0001296198
   2706   Karmageddon                      WB Music Corp.                                PA0001919074
   2707   Kashmir                          WB Music Corp.                                Eu0000557529
   2708   Keep Dancin' On Me               WB Music Corp.                                PA0001659055
   2709   King For A Day                   WB Music Corp.                                PA0001059865
   2710   Knife Prty                       WB Music Corp.                                PA0001029983
   2711   Know Your Enemy                  WB Music Corp.                                PA0001859360
   2712   Last Friday Night (T.G.I.F.)     WB Music Corp.                                PA0001753637
   2713   Last Hope                        WB Music Corp.                                PA0001854435
   2714   Last Night On Earth              WB Music Corp.                                PA0001859360
   2715   Last Of The American Girls       WB Music Corp.                                PA0001859360
   2716   Leathers                         WB Music Corp.                                PA0001849262
   2717   Let Me Blow Ya Mind              WB Music Corp.                                PA0001060407
   2718   Let The Flames Begin             WB Music Corp.                                PA0001595049
   2719   Lhabia                           WB Music Corp.                                PA0000870906
   2720   Liberate                         WB Music Corp.                                PA0001111236
   2721   Liberty                          WB Music Corp.                                PA0001741511
   2722   Lifter                           WB Music Corp.                                PA0000776635
   2723   Light Up                         WB Music Corp.                                PA0001732180



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                         Track                              Plaintiff                      Registration_Number
   2724   Like A Surgeon                  WB Music Corp.                              PA0001659055
   2725   Little Man                      WB Music Corp.                              PA0001318139
   2726   Livin' On Love                  WB Music Corp.                              PA0000727505
   2727   Longview                        WB Music Corp.                              PA0000713967
   2728   Looking Up                      WB Music Corp.                              PA0001676905
   2729   Lost                            WB Music Corp.                              PA0001669756
   2730   Love On Top                     WB Music Corp.                              PA0001861938
   2731   Love Will Save Your Soul        WB Music Corp.                              PA0001762863
   2732   Lovely Cup                      WB Music Corp.                              PA0001762863
   2733   Lucky You                       WB Music Corp.                              PA0001146106
   2734   Make Her Say                    WB Music Corp.                              PA0001847910
   2735   Maria                           WB Music Corp.                              PA0001062006
   2736   MATANGI                         WB Music Corp.                              PA0001919076
   2737   Me & U                          WB Music Corp.                              PA0001627318
   2738   Me Against The World            WB Music Corp.                              PA0001251376
   2739   Meaning Of Life                 WB Music Corp.                              PA0001000622
   2740   Meet You There                  WB Music Corp.                              PA0001084656
   2741   Merry Go Round                  WB Music Corp.                              PA0001657844
   2742   Midnight In Montgomery          WB Music Corp.                              PA0000533558
   2743   Mine                            WB Music Corp.                              PA0001918125
   2744   Minerva                         WB Music Corp.                              PA0001157469
   2745   Minority                        WB Music Corp.                              PA0001022884
   2746   Minus Blindfold                 WB Music Corp.                              PA0000776635
   2747   Misery Business                 WB Music Corp.                              PA0001595045
   2748   Misguided Ghosts                WB Music Corp.                              PA0001676906
   2749   Mistress                        WB Music Corp.                              PA0001111236
   2750   Moana                           WB Music Corp.                              PA0001157471
   2751   Money Machine                   WB Music Corp.                              PA0001846686
   2752   Moonshine                       WB Music Corp.                              PA0001669444
   2753   Murder City                     WB Music Corp.                              PA0001859360
   2754   Murder To Excellence            WB Music Corp.                              PA0001816414
   2755   MX                              WB Music Corp.                              PA0000870906
   2756   My Alien                        WB Music Corp.                              PA0001084656
   2757   My Dad's Gone Crazy             WB Music Corp.                              PA0001118665
   2758   My Heart                        WB Music Corp.                              PA0001305589
   2759   Naked Kids                      WB Music Corp.                              PA0001762865
   2760   Never Change                    WB Music Corp.                              PA0001311759; PA0001075311
   2761   Never Enough                    WB Music Corp.                              PA0001284523
   2762   Never Let Me Down               WB Music Corp.                              PA0001159068
   2763   Never Let This Go               WB Music Corp.                              PA0001305588
   2764   Never Say Never                 WB Music Corp.                              PA0001741512
   2765   New York Minute: Vacation       WB Music Corp.                              PA0001251377
   2766   Next 2 You                      WB Music Corp.                              PA0001335216
   2767   Nice Guys Finish Last           WB Music Corp.                              PA0001059862
   2768   No Angel                        WB Music Corp.                              PA0001918140
   2769   No Hands                        WB Music Corp.                              PA0001739078
   2770   No Love                         WB Music Corp.                              PA0001644610
   2771   No Quarter                      WB Music Corp.                              EP0000316459



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                         Track                               Plaintiff                      Registration_Number
   2772   No Trash in My Trailer           WB Music Corp.                              PA0001056014
   2773   Nobody Feelin' No Pain           WB Music Corp.                              PA0001904211
   2774   Nobody Told Me                   WB Music Corp.                              PA0001075310
   2775   Nobody's Fault But Mine          WB Music Corp.                              Eu0000655751
   2776   Nosebleed                        WB Music Corp.                              PA0000776635
   2777   Not Like The Movies              WB Music Corp.                              PA0001753643
   2778   Nothing Left To Lose             WB Music Corp.                              PA0001249431
   2779   Notorious Thugs                  WB Music Corp.                              PA0001005836
   2780   Now                              WB Music Corp.                              PA0001854435
   2781   Numb                             WB Music Corp.                              PA0001000622
   2782   Numb/Encore                      WB Music Corp.                              PA0001160198
   2783   O Let's Do It                    WB Music Corp.                              PA0001847140
   2784   Oceans                           WB Music Corp.                              PA0001858843
   2785   Oh My Lord                       WB Music Corp.                              PA0001741514
   2786   On And On                        WB Music Corp.                              PA0001745026
   2787   One                              WB Music Corp.                              PA0001251378
   2788   One and Only                     WB Music Corp.                              PA0001759715
   2789   One Day                          WB Music Corp.                              PA0001084657
   2790   One For Me                       WB Music Corp.                              PA0001396264
   2791   One Weak                         WB Music Corp.                              PA0000776635
   2792   Onset                            WB Music Corp.                              PA0001335215
   2793   Opticon                          WB Music Corp.                              PA0001022575
   2794   Our World                        WB Music Corp.                              PA0001741505
   2795   Out Like That                    WB Music Corp.                              PA0001870872
   2796   Out of Line                      WB Music Corp.                              PA0001640776
   2797   Out Of My Head                   WB Music Corp.                              PA0001075310
   2798   Out on the Town                  WB Music Corp.                              PA0001791458
   2799   Outta Control                    WB Music Corp.                              PA0001298486
   2800   Over The Hills And Far Away      WB Music Corp.                              EP0000314551; RE0000840949
   2801   Overburdened                     WB Music Corp.                              PA0001296200
   2802   Pain Redefined                   WB Music Corp.                              PA0001352640; PA0001296201
   2803   Panama                           WB Music Corp.                              PA0000785636
   2804   Pantomime                        WB Music Corp.                              PA0000914814; PA0000966498
   2805   Parasite                         WB Music Corp.                              PA0001677916
   2806   Part II                          WB Music Corp.                              PA0001854436
   2807   Part Of Me                       WB Music Corp.                              PA0001845827
   2808   Passenger                        WB Music Corp.                              PA0001911867
   2809   Passenger                        WB Music Corp.                              PA0001029982
   2810   Peacemaker                       WB Music Corp.                              PA0001859360
   2811   Peacock                          WB Music Corp.                              PA0001753921
   2812   Pearl                            WB Music Corp.                              PA0001753642
   2813   Perfect                          WB Music Corp.                              PA0001084657
   2814   Perfect Insanity                 WB Music Corp.                              PA0001687498
   2815   Perfect World                    WB Music Corp.                              PA0001251377
   2816   Pink Cellphone                   WB Music Corp.                              PA0001373481
   2817   Pink Maggit                      WB Music Corp.                              PA0001029983
   2818   Platinum                         WB Music Corp.                              PA0000914814
   2819   Playing God                      WB Music Corp.                              PA0001676906



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                           Track                              Plaintiff                        Registration_Number
   2820   Points Of Authority/99
          Problems/One Step Closer          WB Music Corp.                              PA0001937228
   2821   Poltergeist                       WB Music Corp.                              PA0001849262
   2822   Poprocks & Coke                   WB Music Corp.                              PA0001062007
   2823   Prayer                            WB Music Corp.                              PA0001111236
   2824   Pretty Hurts                      WB Music Corp.                              PA0001918127
   2825   Primal Scream                     WB Music Corp.                              PA0000549203
   2826   Promise                           WB Music Corp.                              PA0001251378
   2827   Proof                             WB Music Corp.                              PA0001854436
   2828   Pushin'                           WB Music Corp.                              PA0001087577
   2829   Quando, Quando, Quando (with
          Nelly Furtado)                    WB Music Corp.                              EP0000162847; RE0000451824
   2830   Radiate                           WB Music Corp.                              PA0001657838
   2831   Radio                             WB Music Corp.                              PA0001939474
   2832   Rain, Tax (It's Inevitable)       WB Music Corp.                              PA0001102058
   2833   Ramble On                         WB Music Corp.                              EP0000267883
   2834   Re-Creation                       WB Music Corp.                              PA0001022578
   2835   Recovery                          WB Music Corp.                              PA0001741510
   2836   Red Camaro                        WB Music Corp.                              PA0001878244
   2837   Red Lipstick                      WB Music Corp.                              PA0001841921
   2838   Redundant                         WB Music Corp.                              PA0001059862
   2839   Release                           WB Music Corp.                              PA0001761877
   2840   Remember                          WB Music Corp.                              PA0001111236
   2841   Renegade                          WB Music Corp.                              PA0001038351
   2842   Restless Heart Syndrome           WB Music Corp.                              PA0001859360
   2843   Revival                           WB Music Corp.                              PA0000914815
   2844   Rhinestone Cowboy                 WB Music Corp.                              Eu0000459595
   2845   Rich Girl                         WB Music Corp.                              PA0001274357
   2846   Right For Me                      WB Music Corp.                              PA0001149533
   2847   Rise                              WB Music Corp.                              PA0001111236
   2848   Roar                              WB Music Corp.                              PA0001861206
   2849   Rock And Roll                     WB Music Corp.                              EP0000298501; RE0000820247
   2850   Rock The BeaT                     WB Music Corp.                              PA0001679015
   2851   Rockstar 101                      WB Music Corp.                              PA0001711708
   2852   Romantic Dreams                   WB Music Corp.                              PA0001849262
   2853   Rosemary                          WB Music Corp.                              PA0001849262
   2854                                                                                 EP0000127232; EP0000107653;
          Round Midnight                    WB Music Corp.                              RE0000246069
   2855   Run The World (Girls)             WB Music Corp.                              PA0001861905
   2856   Running Out of Time               WB Music Corp.                              PA0001644610
   2857   Rx Queen                          WB Music Corp.                              PA0001029983
   2858   Sacred Lie                        WB Music Corp.                              PA0001352640; PA0001296201
   2859   Sadiddy                           WB Music Corp.                              PA0001236712
   2860   Said                              WB Music Corp.                              PA0001153778
   2861   Same Girl                         WB Music Corp.                              PAu003411255
   2862   Same Ol' Situation (S.O.S.)       WB Music Corp.                              PA0000440234
   2863   Same Old You                      WB Music Corp.                              PA0001789997
   2864   Save You                          WB Music Corp.                              PA0001644614



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                         Track                                 Plaintiff                      Registration_Number
   2865   Saving Faces                       WB Music Corp.                              PA0001022576
   2866   Say What You Say                   WB Music Corp.                              PA0001118663
   2867   Scumbag                            WB Music Corp.                              PA0001070002
   2868   Sealion                            WB Music Corp.                              PA0001382155
   2869   See The Light                      WB Music Corp.                              PA0001859360
   2870   Send The Pain Below                WB Music Corp.                              PA0001859504
   2871   Sentimental                        WB Music Corp.                              PA0000627933; PA0000597871
   2872   She                                WB Music Corp.                              PA0000713967
   2873   She Couldn't Change Me             WB Music Corp.                              PA0001095336
   2874   She's A Rebel                      WB Music Corp.                              PA0001251316
   2875   She's Got the Rhythm (And I Got
          the Blues)                         WB Music Corp.                              PA0000586645PAu001522810
   2876   Shit Hits The Fan                  WB Music Corp.                              PA0001245810
   2877   Shorty (Got Her Eyes On Me)        WB Music Corp.                              PA0001087581
   2878   Should I Go                        WB Music Corp.                              PA0001236715
   2879   Shout Out To The Real              WB Music Corp.                              PA0001852372
   2880   Shut Up!                           WB Music Corp.                              PA0001251377
   2881   Sickened                           WB Music Corp.                              PA0001790006
   2882   Since I've Been Loving You         WB Music Corp.                              EP0000319292; RE0000843291
   2883   Single Ladies (Put A Ring On It)   WB Music Corp.                              PA0001630370
   2884   Sister Rose                        WB Music Corp.                              PA0000627931
   2885   Slow                               WB Music Corp.                              PA0001762863
   2886   Slow Dance                         WB Music Corp.                              PA0001767256
   2887   Smash Into You                     WB Music Corp.                              PA0001624967
   2888   Smoke, Drank                       WB Music Corp.                              PA0001847147
   2889   Snake In The Grass                 WB Music Corp.                              PA0001251693
   2890   So Far                             WB Music Corp.                              PA0001335214
   2891   Social Enemies                     WB Music Corp.                              PA0000914813
   2892   Somebody Stand By Me               WB Music Corp.                              PA0000705224
   2893   Someone To Watch Over Me           WB Music Corp.                              E00000651512
   2894   Song Of The Century                WB Music Corp.                              PA0001859360
   2895   Sons Of Plunder                    WB Music Corp.                              PA0001296200
   2896   Sorry                              WB Music Corp.                              PA0001335216
   2897   Spin You Around                    WB Music Corp.                              PA0001249431
   2898   Spun                               WB Music Corp.                              PA0001762863
   2899   St. Jimmy                          WB Music Corp.                              PA0001251316
   2900                                                                                  EP0000305686; RE0000819939;
          Stairway To Heaven                 WB Music Corp.                              RE0000820176
   2901   Still Into You                     WB Music Corp.                              PA0001854435
   2902   Stitches                           WB Music Corp.                              PA0000914814
   2903   Stricken                           WB Music Corp.                              PA0001296198
   2904   Stronger                           WB Music Corp.                              PA0001597242
   2905   Stuck With Me                      WB Music Corp.                              PA0000774217
   2906   Stupify                            WB Music Corp.                              PA0001000622
   2907   Suckerface                         WB Music Corp.                              PA0001022575
   2908   Sumthin' For Nuthin'               WB Music Corp.                              PA0000332225
   2909   Sunshine                           WB Music Corp.                              PA0001335215
   2910   Superpower                         WB Music Corp.                              PA0001918119



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                         Track                                Plaintiff                      Registration_Number
   2911   Swagger Jagger                    WB Music Corp.                              PA0001884104
   2912   Swerve City                       WB Music Corp.                              PA0001849262
   2913   Sydney                            WB Music Corp.                              PA0001225980
   2914   Take My Hand                      WB Music Corp.                              PA0001644614
   2915   Take You Down                     WB Music Corp.                              PA0001395676
   2916   Tattoo Of My Name                 WB Music Corp.                              PA0001896737
   2917   Teenage Dream                     WB Music Corp.                              PA0001753645
   2918   Tell Me What Your Name Is         WB Music Corp.                              PA0001659058
   2919   Tempest                           WB Music Corp.                              PA0001849262
   2920   Ten Thousand Fists                WB Music Corp.                              PA0001347236; PA0001296198
   2921   Thank You                         WB Music Corp.                              PA0001251377
   2922   That's How You Like It            WB Music Corp.                              PA0001131257
   2923   That's My Bitch                   WB Music Corp.                              PA0001762034
   2924   That's What You Get               WB Music Corp.                              PA0001595073
   2925   The Chill Of An Early Fall        WB Music Corp.                              PA0000472652
   2926   The Curse                         WB Music Corp.                              PA0001697242
   2927   The Game                          WB Music Corp.                              PA0001000622
   2928   The Grouch                        WB Music Corp.                              PA0001059862
   2929   The Last Song                     WB Music Corp.                              PA0001704476
   2930   The Lazy Song                     WB Music Corp.                              PA0001869989
   2931   The Night                         WB Music Corp.                              PA0001697227
   2932   The Odyssey                       WB Music Corp.                              PA0001022577
   2933   The One That Got Away             WB Music Corp.                              PA0001753639
   2934   The Only Exception                WB Music Corp.                              PA0001676905
   2935   The Real Slim Shady               WB Music Corp.                              PA0001040874
   2936   The Red                           WB Music Corp.                              PA0001859504
   2937                                                                                 EU0000402444; RE0000841595;
          The Song Remains The Same         WB Music Corp.                              EP0000316464; RE0000840966
   2938   The Static Age                    WB Music Corp.                              PA0001859360
   2939   The Wedding Song                  WB Music Corp.                              PA0000627930
   2940   The Worst Day Ever                WB Music Corp.                              PA0001084655
   2941   These Things                      WB Music Corp.                              PA0001741511
   2942   They Ready                        WB Music Corp.                              PA0001995515
   2943   Think                             WB Music Corp.                              PA0001204554; PA0001225979
   2944   Think About It (Don't Call My
          Crib)                             WB Music Corp.                              PA0001087584
   2945   Thinking About You                WB Music Corp.                              PA0001657895
   2946   This Luv                          WB Music Corp.                              PA0001087578
   2947   This Moment                       WB Music Corp.                              PA0001599219
   2948   Till I Get There                  WB Music Corp.                              PA0001739115
   2949   Timber                            WB Music Corp.                              PA0001868393
   2950   Time Flies                        WB Music Corp.                              PA0001225979
   2951   Time To Say Goodbye               WB Music Corp.                              PA0001644605
   2952   Tommie Sunshine's Megasix
          Smash-Up                          WB Music Corp.                              PA0001753640
   2953   Tongue Tied                       WB Music Corp.                              PA0001762863
   2954   Torn                              WB Music Corp.                              PA0001697247
   2955   Touch My Body                     WB Music Corp.                              PA0001769539



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                        Track                                 Plaintiff                      Registration_Number
   2956   Toyfriend                          WB Music Corp.                             PA0001864275
   2957   Trampled Underfoot                 WB Music Corp.                             Eu0000557531
   2958   Turn It Off                        WB Music Corp.                             PA0001676905
   2959   U Know What's Up                   WB Music Corp.                             PA0001087583
   2960   U,U,D,D,L,R,L,R,A,B,Select,Start   WB Music Corp.                             PA0001373479
   2961   Umbrella                           WB Music Corp.                             PA0001602373
   2962   Until The End Of Time              WB Music Corp.                             PA0001015657
   2963   Until The End Of Time              WB Music Corp.                             PA0001053379
   2964   Up Out My Face                     WB Music Corp.                             PA0001677862
   2965   Vapor Transmission (Intro)         WB Music Corp.                             PA0001022575
   2966   Versus                             WB Music Corp.                             PA0001858836
   2967   Violence Fetish                    WB Music Corp.                             PA0001000622
   2968   Voices                             WB Music Corp.                             PA0001000622
   2969   Waiting                            WB Music Corp.                             PA0001022884
   2970   Wake Me Up When September
          Ends                               WB Music Corp.                             PA0001251317
   2971   Walking Alone                      WB Music Corp.                             PA0001059865
   2972   Walking Contradiction              WB Music Corp.                             PA0000774217
   2973   Want                               WB Music Corp.                             PA0001000622
   2974   Warning                            WB Music Corp.                             PA0001022884
   2975   We Are Broken                      WB Music Corp.                             PA0001595053
   2976   We Are Young                       WB Music Corp.                             PA0001791456; PA0001811978
   2977   Welcome To Paradise                WB Music Corp.                             PA0000713967
   2978   What Happened To You?              WB Music Corp.                             PA0001849262
   2979   When Girls Telephone Boys          WB Music Corp.                             PA0001157470
   2980   When I'm With You                  WB Music Corp.                             PA0001084656
   2981   When It Rains                      WB Music Corp.                             PA0001595076
   2982                                                                                 EU0000301134; RE0000819916;
          When The Levee Breaks              WB Music Corp.                             EP0000319303; RE0000840985
   2983   Where The Lines Overlap            WB Music Corp.                             PA0001676905
   2984   Where's Gerrold                    WB Music Corp.                             PA0001022574
   2985   Who Am I Living For?               WB Music Corp.                             PA0001753640
   2986                                                                                 PAu000755785; PA0000264133;
          Who's Gonna Fill Their Shoes       WB Music Corp.                             PA0000265526; PA0000258925
   2987                                                                                 EU0000144295; RE0000767454;
          Whole Lotta Love                   WB Music Corp.                             EP0000267876; RE0000767436
   2988   Why They Call It Falling           WB Music Corp.                             PA0001032265
   2989   Wild Side                          WB Music Corp.                             PA0000332232
   2990   Without You                        WB Music Corp.                             PA0000440233
   2991   Work It Out                        WB Music Corp.                             PA0001073475
   2992   www.memory                         WB Music Corp.                             PA0001013750
   2993   XO                                 WB Music Corp.                             PA0001918135
   2994   Y.A.L.A.                           WB Music Corp.                             PA0001919078
   2995   You Can't Win                      WB Music Corp.                             PA0001789856
   2996   You Love Me                        WB Music Corp.                             PA0001789870
   2997   You're All I Need                  WB Music Corp.                             PA0000354505
   2998   Your Love Is A Lie                 WB Music Corp.                             PA0001644614
   2999   Crown                              WB Music Corp.                             PA0001858816



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                                  List of Music Publisher Plaintiffs’ Copyrighted Compositions


                          Track                                 Plaintiff                      Registration_Number
   3000                                                                                   Eu0000845843; ; RE0000622816; ;
          Don't Let Me Be Misunderstood       WB Music Corp.                              EP0000198593; ; RE0000650481
   3001   Lift Off                            WB Music Corp.                              PA0001768255
   3002   Mr. Know It All                     WB Music Corp.                              PA0001851190
   3003   Nickels And Dimes                   WB Music Corp.                              PA0001858821
   3004   Run This Town                       WB Music Corp.                              PA0001678122
   3005   Somewhereinamerica                  WB Music Corp.                              PA0001858818
   3006                                       WB Music Corp. / Warner-Tamerlane
          2 Reasons                           Publishing Corp.                            PA0001865859
   3007                                       WB Music Corp. / Warner-Tamerlane
          Ass Like That                       Publishing Corp.                            PA0001284525
   3008                                       WB Music Corp. / Warner-Tamerlane
          Beach Is Better                     Publishing Corp.                            PA0001858808
   3009                                       WB Music Corp. / Warner-Tamerlane
          Big Weenie                          Publishing Corp.                            PA0001284525
   3010   Bitches & Bottles (Let's Get It     WB Music Corp. / Warner-Tamerlane
          Started)                            Publishing Corp.                            PA0001852363
   3011                                       WB Music Corp. / Warner-Tamerlane
          But I Will                          Publishing Corp.                            PA0000669875
   3012                                       WB Music Corp. / Warner-Tamerlane
          Check Me Out                        Publishing Corp.                            PA0001865883
   3013                                       WB Music Corp. / Warner-Tamerlane
          Crack A Bottle                      Publishing Corp.                            PA0001848051
   3014                                       WB Music Corp. / Warner-Tamerlane
          Do You Know What You Have           Publishing Corp.                            PA0001882749
   3015                                       WB Music Corp. / Warner-Tamerlane
          Drive                               Publishing Corp.                            PA0001870025
   3016                                       WB Music Corp. / Warner-Tamerlane
          Encore                              Publishing Corp.                            PA0001284526
   3017                                       WB Music Corp. / Warner-Tamerlane
          Evil Deeds                          Publishing Corp.                            PA0001284525
   3018                                       WB Music Corp. / Warner-Tamerlane
          How Forever Feels                   Publishing Corp.                            PA0001044172
   3019                                       WB Music Corp. / Warner-Tamerlane
          Knockout                            Publishing Corp.                            PA0001848470
   3020                                       WB Music Corp. / Warner-Tamerlane
          Living The Life                     Publishing Corp.                            PA0001648817
   3021                                       WB Music Corp. / Warner-Tamerlane
          Love Money Party                    Publishing Corp.                            PA0001870000
   3022                                       WB Music Corp. / Warner-Tamerlane
          Move That Dope                      Publishing Corp.                            PA0001888725
   3023                                       WB Music Corp. / Warner-Tamerlane
          My Darlin'                          Publishing Corp.                            PA0001870022; PA0001920653
   3024                                       WB Music Corp. / Warner-Tamerlane
          Neva End                            Publishing Corp.                            PA0001856290
   3025                                       WB Music Corp. / Warner-Tamerlane
          Pon de Replay                       Publishing Corp.                            PA0001311248
   3026                                       WB Music Corp. / Warner-Tamerlane
          Rain Man                            Publishing Corp.                            PA0001284524




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                           Track                                Plaintiff                         Registration_Number
   3027                                        WB Music Corp. / Warner-Tamerlane
          Revolver                             Publishing Corp.                            PA0001764628
   3028                                        WB Music Corp. / Warner-Tamerlane
          Ridaz                                Publishing Corp.                            PA0001848889
   3029                                        WB Music Corp. / Warner-Tamerlane
          Runnin                               Publishing Corp.                            PA0001848481
   3030                                        WB Music Corp. / Warner-Tamerlane
          Saving Amy                           Publishing Corp.                            PA0001694078
   3031                                        WB Music Corp. / Warner-Tamerlane
          Shine                                Publishing Corp.                            PA0001778259
   3032                                        WB Music Corp. / Warner-Tamerlane
          Shine                                Publishing Corp.                            PA0001778259
   3033                                        WB Music Corp. / Warner-Tamerlane
          Slip of the Tongue                   Publishing Corp.                            PA0000308826
   3034                                        WB Music Corp. / Warner-Tamerlane
          SMS (Bangerz)                        Publishing Corp.                            PA0001870020
   3035                                        WB Music Corp. / Warner-Tamerlane
          Take You                             Publishing Corp.                            PA0001884089
   3036                                        WB Music Corp. / Warner-Tamerlane
          The Way You Love Me                  Publishing Corp.                            PA0000977102
   3037                                        WB Music Corp. / Warner-Tamerlane
          Truth Gonna Hurt You                 Publishing Corp.                            PA0001852655
   3038                                        WB Music Corp. / Warner-Tamerlane
          Turn On The Lights                   Publishing Corp.                            PA0001852654
   3039                                        WB Music Corp. / Warner-Tamerlane
          Two More Lonely People               Publishing Corp.                            PA0001741421
   3040                                        WB Music Corp. / Warner-Tamerlane
          Underground/Ken Kaniff               Publishing Corp.                            PA0001848054
   3041                                        WB Music Corp. / Warner-Tamerlane
          We Can't Stop                        Publishing Corp.                            PA0001870026
   3042                                        WB Music Corp. / Warner-Tamerlane
          When I Was Down                      Publishing Corp.                            PA0001087575
   3043                                        WB Music Corp. / Warner-Tamerlane
          Worst Behavior                       Publishing Corp.                            PA0001967813
   3044                                        WB Music Corp. / Warner-Tamerlane
          You Deserve It                       Publishing Corp.                            PA0001808144
   3045                                        WB Music Corp. / Warner-Tamerlane
          You Give Me Love                     Publishing Corp.                            PA0000901849
   3046                                        WB Music Corp. / Warner-Tamerlane
          Best Thing I Never Had               Publishing Corp. / W.B.M. Music Corp.       PA0001752857
   3047                                        WB Music Corp. / Warner-Tamerlane
          Blue                                 Publishing Corp. / W.B.M. Music Corp.       PA0001918115
   3048                                        WB Music Corp. / Warner-Tamerlane
          Gorilla                              Publishing Corp. / W.B.M. Music Corp.       PA0001869823
   3049                                        WB Music Corp. / Warner-Tamerlane
          Haunted                              Publishing Corp. / W.B.M. Music Corp.       PA0001918115
   3050                                        WB Music Corp. / Warner-Tamerlane
          Heaven                               Publishing Corp. / W.B.M. Music Corp.       PA0001918115
   3051                                        WB Music Corp. / Warner-Tamerlane
          Jealous                              Publishing Corp. / W.B.M. Music Corp.       PA0001918143



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                        Track                                Plaintiff                     Registration_Number
   3052                                   WB Music Corp. / Warner-Tamerlane
          Locked Out of Heaven            Publishing Corp. / W.B.M. Music Corp.      PA0001869823
   3053                                   WB Music Corp. / Warner-Tamerlane
          POWER                           Publishing Corp. / W.B.M. Music Corp.      PA0001866095
   3054                                   WB Music Corp. / Warner-Tamerlane
          Treasure                        Publishing Corp. / W.B.M. Music Corp.      PA0001869830
                               Warner/Chappell Music, Inc. and Sony/ATV and EMI Plaintiffs
   3055                                                                              PA0001207060; PA0000954422;
          Guilty Conscience               Colgems-EMI Music Inc. / WB Music Corp. PA0000962146
   3056                                   EMI April Music Inc. / Warner-Tamerlane
          Can A Drummer Get Some          Publishing Corp.                           PA0001750267; PA0001739931
   3057                                   EMI April Music Inc. / Warner-Tamerlane
          Just Like Me                    Publishing Corp.                           PA0001033071; PA0000893385
   3058                                   EMI April Music Inc. / Warner-Tamerlane
          Truth Hurts                     Publishing Corp.                           PA0001227182; PA0001159551
   3059   Hot Tottie                      EMI April Music Inc. / WB Music Corp.      PA0001760557
   3060                                   EMI April Music Inc. / EMI Blackwood
                                          Music Inc. / Warner-Tamerlaner Publishing
          Someone To Love Me (Naked)      Corp.                                      PA0001842413
   3061                                   EMI April Music Inc. / EMI Blackwood
          Last Beautiful Girl             Music Inc. / WB Music Corp.                PA0000978638; PA0001006951
   3062                                   EMI April Music Inc. / EMI Blackwood
          Out Of My Head                  Music Inc. / WB Music Corp.                PA0001750279; PA0001738574
   3063                                   EMI April Music Inc. / EMI Blackwood
                                          Music Inc. / WB Music Corp. / Warner-
          Lighters                        Tamerlane Publishing Corp.                 PA0001842411
   3064                                   EMI April Music Inc. / EMI Blackwood
                                          Music Inc. / WB Music Corp. / Warner-
          Make It Last Forever            Tamerlane Publishing Corp.                 PA0001375846; PA0001166656
   3065                                   EMI April Music Inc. / EMI Blackwood
                                          Music Inc. / WB Music Corp. /
          Hot In Here                     Warner/Chappell Music, Inc.                PA0001853118; PA0001910894
   3066                                   EMI April Music Inc. / EMI Blackwood
                                          Music Inc. / WB Music Corp. /
          That's My Kind Of Night         Warner/Chappell Music, Inc.                PA0001870880; PA0001967409
   3067                                   EMI April Music Inc. / Sony/ATV Music
                                          Publishing LLC / Warner-Tamerlane
          Brand New                       Publishing Corp.                           PA0001858773
   3068                                   EMI April Music Inc. / Unichappell Music
          Living In The Sky With Diamonds Inc.                                       PA0001678956
   3069                                   EMI April Music Inc. / Unichappell Music
          Living Proof                    Inc. /Warner-Tamerlane Publishing Corp. PA0001841719
   3070                                   EMI April Music Inc. / Unichappell Music,
          My Boo                          Inc.                                       PA0001159778
   3071
          Appetite                          EMI April Music Inc. / W.B.M. Music Corp. PA0001699247; PA0001687431
   3072
          Burn                              EMI April Music Inc. / W.B.M. Music Corp. PA0001227181; PA0001159079
   3073                                                                               PA0001227181; PA0001159082;
          Confessions Part II               EMI April Music Inc. / W.B.M. Music Corp. PA0001160227


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                            Track                                 Plaintiff                        Registration_Number
   3074
          Hey Daddy (Daddy's Home)              EMI April Music Inc. / W.B.M. Music Corp. PA0001700475; PA0001707160
   3075
          U Got It Bad                          EMI April Music Inc. / W.B.M. Music Corp.   PA0001248726; PA0000846614
   3076                                         EMI April Music Inc. / Warner-Tamerlane
          Above The Law                         Publishing Corp.                            PA0001808400
   3077                                         EMI April Music Inc. / Warner-Tamerlane
          Cheated                               Publishing Corp.                            PA0001853123
   3078                                         EMI April Music Inc. / Warner-Tamerlane
          I'm On Everything                     Publishing Corp.                            PA0001808404
   3079                                         EMI April Music Inc. / Warner-Tamerlane
          I'm Still A Guy                       Publishing Corp.                            PA0001167815
   3080                                         EMI April Music Inc. / Warner-Tamerlane
          Loud Noises                           Publishing Corp.                            PA0001808399
   3081                                         EMI April Music Inc. / Warner-Tamerlane
          One of Those Lives                    Publishing Corp.                            PA0002004472
   3082                                         EMI April Music Inc. / Warner-Tamerlane
          Take From Me                          Publishing Corp.                            PA0001808393
   3083                                         EMI April Music Inc. / Warner-Tamerlane
          You Know What                         Publishing Corp.                            PA0001373489
   3084                                         EMI April Music Inc. / Warner-Tamerlane
          A Milli                               Publishing Corp.                            PA0001651821; PA0001646370
   3085                                         EMI April Music Inc. / Warner-Tamerlane
          Bad Girl                              Publishing Corp.                            PA0001227184; PA0001159548
   3086                                         EMI April Music Inc. / Warner-Tamerlane
          Dirt Road Anthem                      Publishing Corp.                            PA0001694080
   3087                                         EMI April Music Inc. / Warner-Tamerlane
          Einstein                              Publishing Corp.                            PA0001851192; PA0001771871
   3088                                         EMI April Music Inc. / Warner-Tamerlane
          Enough Of No Love                     Publishing Corp.                            PA0001850232; PA0001833132
   3089                                         EMI April Music Inc. / Warner-Tamerlane
          Good To Me                            Publishing Corp.                            PA0001016045
   3090                                         EMI April Music Inc. / Warner-Tamerlane
          Ground Zero                           Publishing Corp.                            PA0001728545; PA0001706473
   3091                                         EMI April Music Inc. / Warner-Tamerlane
          Hustlenomics                          Publishing Corp.                            PA0001648809; PA0001648764
   3092                                         EMI April Music Inc. / Warner-Tamerlane
          I'm A G                               Publishing Corp.                            PA0001648787
   3093                                         EMI April Music Inc. / Warner-Tamerlane
          Incredible                            Publishing Corp.                            PA0001387427; PA0001167536
   3094                                         EMI April Music Inc. / Warner-Tamerlane
          It's Goin' Down                       Publishing Corp.                            PA0001349210; PA0001164441
   3095                                         EMI April Music Inc. / Warner-Tamerlane
          Last Of A Dying Breed                 Publishing Corp.                            PA0001660091
   3096                                         EMI April Music Inc. / Warner-Tamerlane
          Legs Shakin'                          Publishing Corp.                            PA0001933961
   3097                                         EMI April Music Inc. / Warner-Tamerlane
          Pieces Of Me                          Publishing Corp.                            PA0001778259; PA0001760343
   3098                                         EMI April Music Inc. / Warner-Tamerlane
          Rock the Pants                        Publishing Corp.                            PA0001720639



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                          Track                                 Plaintiff                        Registration_Number
   3099                                       EMI April Music Inc. / Warner-Tamerlane
          Simple Things                       Publishing Corp.                            PA0001227182; PA0001159549
   3100                                       EMI April Music Inc. / Warner-Tamerlane
          That Ain't Me                       Publishing Corp.                            PA0001745296; PA0001744900
   3101                                       EMI April Music Inc. / Warner-Tamerlane
          That's What It's Made For           Publishing Corp.                            PA0001227183; PA0001159550
   3102                                       EMI April Music Inc. / Warner-Tamerlane
          The Bed                             Publishing Corp.                            PA0001227153; PA0001159332
   3103                                       EMI April Music Inc. / Warner-Tamerlane
          We Were Us                          Publishing Corp.                            PA0001878243; PA0001947445
   3104                                       EMI April Music Inc. / Warner-Tamerlane
          Hands in the Air                    Publishing Corp. / WB Music Corp.           PA0001869999
   3105                                       EMI April Music Inc. / Warner-Tamerlane
                                              Publishing Corp. / WB Music Corp. /
          Gun Shot                            W.B.M. Music, Inc.                          PA0001868333
   3106                                       EMI April Music Inc. / Warner-Tamerlane
                                              Publishing Corp. / WB Music Corp. /
          Super Bass                          W.B.M. Music, Inc.                          PA0001852528
   3107                                       EMI April Music Inc. / Warner/Chappell
          All-American Girl                   Music, Inc.                                 PA0001590017
   3108   Breakdown                           EMI April Music Inc. / WB Music Corp.       PA0000896279
   3109   Heartburn                           EMI April Music Inc. / WB Music Corp.       PA0001158218; PA0001879469
   3110   High Price                          EMI April Music Inc. / WB Music Corp.       PA0001659051
   3111   I Do It For Hip Hop                 EMI April Music Inc. / WB Music Corp.       PA0001869933
   3112   Niggaz Know                         EMI April Music Inc. / WB Music Corp.       PA0001884065
   3113   Shackles (Praise You)               EMI April Music Inc. / WB Music Corp.       PA0001157819
   3114   Turn It Up                          EMI April Music Inc. / WB Music Corp.       PA0001236716; PA0001159468
   3115   Until It Breaks                     EMI April Music Inc. / WB Music Corp.       PA0001840841
   3116   Up To You                           EMI April Music Inc. / WB Music Corp.       PA0001750517
   3117   Where I Wanna Be                    EMI April Music Inc. / WB Music Corp.       PA0001087580; PA0001024534
   3118   Who Is She 2 U                      EMI April Music Inc. / WB Music Corp.       PA0001236711; PA0001159573
   3119                                       EMI April Music Inc. / WB Music Corp. /
          4 Years Old                         Warner-Tamerlane Publishing Corp.           PA0001842281
   3120                                       EMI April Music Inc. / WB Music Corp. /
          Best Thing                          Warner-Tamerlane Publishing Corp.           PA0001690183
   3121                                       EMI April Music Inc. / WB Music Corp. /
          Billionaire                         Warner-Tamerlane Publishing Corp.           PA0001740847; PA0001714525
   3122                                       EMI April Music Inc. / WB Music Corp. /
          Hip Hop                             Warner-Tamerlane Publishing Corp.           PA0001852357; PA0001874306
   3123                                       EMI April Music Inc. / WB Music Corp. /
          Hot Mess                            Warner-Tamerlane Publishing Corp.           PA0001679596; PA0001662752
   3124                                       EMI April Music Inc. / WB Music Corp. /
          Nice Guys Finish Last               Warner-Tamerlane Publishing Corp.           PA0001656109
   3125                                       EMI April Music Inc. / WB Music Corp. /     PA0001314213; PA0001159524;
          Real Hip Hop                        Warner-Tamerlane Publishing Corp.           PA0001241282
   3126                                       EMI April Music Inc. / WB Music Corp. /
          Someone Else                        Warner-Tamerlane Publishing Corp.           PA0001870024
   3127                                       EMI April Music Inc. / WB Music Corp. /     PA0001848047; PA0001706448;
          We Made You                         Warner-Tamerlane Publishing Corp.           PA0001957226



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                                   List of Music Publisher Plaintiffs’ Copyrighted Compositions


                           Track                                 Plaintiff                        Registration_Number
   3128                                        EMI April Music Inc. / WB Music Corp. /
          A Little Home                        Warner/Chappell Music, Inc.                 PA0001853121; PA0001910890
   3129                                        EMI April Music Inc. / WB Music Corp. /
          Be The Lake                          Warner/Chappell Music, Inc.                 PA0001743353; PA0002004490
   3130   Working On A Tan                     EMI April Music Inc. / WB Music Corp..      PA0001742330; PA0002004468
   3131                                        EMI Blackwood Music Inc. / Unichappell
          Untitled                             Music, Inc.                                 PA0001735849
   3132                                        EMI Blackwood Music Inc. / W.B.M. Music
          No Such Thing As Too Late            Corp.                                       PA0001835409; PA0001882752
   3133                                        EMI Blackwood Music Inc. / W.B.M. Music
          Sunburnt Lips                        Corp.                                       PA0001884828
   3134                                        EMI Blackwood Music Inc. / W.B.M. Music
          Drink to That All Night              Corp. / WB Music Corp.                      PA0001953394; PA0001910988
   3135                                        EMI Blackwood Music Inc. / Warner-
          Fuego                                Tamerlane Publishing Corp.                  PA0001884048
   3136                                        EMI Blackwood Music Inc. / Warner-
          Red Lipstick                         Tamerlane Publishing Corp.                  PA0001771886; PA0001786336
   3137                                        EMI Blackwood Music Inc. / Warner-
          Alone                                Tamerlane Publishing Corp.                  PA0001856241; PA0001786329
   3138                                        EMI Blackwood Music Inc. / Warner-
          Blind                                Tamerlane Publishing Corp.                  PA0001771887; PA0001728367
   3139                                        EMI Blackwood Music Inc. / Warner-
          Can't Be Friends                     Tamerlane Publishing Corp.                  PA0001787041; PA0001856245
   3140                                        EMI Blackwood Music Inc. / Warner-
          Duffle Bag Boy                       Tamerlane Publishing Corp.                  PA0001680553; PA0001590878
   3141                                        EMI Blackwood Music Inc. / Warner-
          Goodies                              Tamerlane Publishing Corp.                  PA0001263487; PA0001241896
   3142                                        EMI Blackwood Music Inc. / Warner-
          I'm A Dog                            Tamerlane Publishing Corp.                  PA0001058124; PA0001114111
   3143                                        EMI Blackwood Music Inc. / Warner-
          Let It Show                          Tamerlane Publishing Corp.                  PA0001802342; PA0001788316
   3144                                        EMI Blackwood Music Inc. / Warner-
          Live Your Life                       Tamerlane Publishing Corp.                  PA0001850546; PA0001654952
   3145                                        EMI Blackwood Music Inc. / Warner-
          Massage                              Tamerlane Publishing Corp.                  PA0001856242; PA0001786345
   3146                                        EMI Blackwood Music Inc. / Warner-
          Motivation                           Tamerlane Publishing Corp.                  PA0001763331; PA0001760929
   3147                                        EMI Blackwood Music Inc. / Warner-
          Number One                           Tamerlane Publishing Corp.                  PA0001299027; PA0001160616
   3148                                        EMI Blackwood Music Inc. / Warner-
          Triple Beam Dream                    Tamerlane Publishing Corp.                  PA0001868417
   3149                                        EMI Blackwood Music Inc. / Warner-
          We Owned The Night                   Tamerlane Publishing Corp.                  PA0001817027
   3150                                        EMI Blackwood Music Inc. / Warner-
                                               Tamerlane Publishing Corp. / W.B.M.
          Up In It                             Music Corp.                                 PA0001834384; PA0001951620
   3151                                        EMI Blackwood Music Inc. /
          Get Out Of This Town                 Warner/Chappell Music, Inc.                 PA0001590007; PA0001396401
   3152                                        EMI Blackwood Music Inc. / WB Music
          Anywhere With You                    Corp.                                       PA0001917492


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                           Track                                Plaintiff                         Registration_Number
   3153                                        EMI Blackwood Music Inc. / WB Music
          Don't Pay 4 It                       Corp.                                       PA0001852368
   3154                                        EMI Blackwood Music Inc. / WB Music
          Echoes Interlude                     Corp.                                       PA0001814506; PA0001788398
   3155                                        EMI Blackwood Music Inc. / WB Music
          Everything                           Corp.                                       PA0001640776; PA0001335214
   3156                                        EMI Blackwood Music Inc. / WB Music
          For The Fame                         Corp.                                       PA0001814505; PA0001788406
   3157                                        EMI Blackwood Music Inc. / WB Music
          Gimmie That Girl                     Corp.                                       PA0001741424
   3158                                        EMI Blackwood Music Inc. / WB Music
          How Many Drinks?                     Corp.                                       PA0001832802; PA0001917890
   3159                                        EMI Blackwood Music Inc. / WB Music
          It Was Faith                         Corp.                                       PA0001657887
   3160                                        EMI Blackwood Music Inc. / WB Music
          The Shape I'm In                     Corp.                                       PA0001741424; PA0001717909
   3161                                        EMI Blackwood Music Inc. / WB Music
          King & Queens                        Corp.                                       PA0001814504; PA0001788319
   3162                                        EMI Blackwood Music Inc. / WB Music
                                               Corp. / Warner-Tamerlane Publishing
          Medicine Ball                        Corp.                                       PA0001848048; PA0001706432
   3163                                        EMI Blackwood Music Inc. / WB Music
                                               Corp. / Warner-Tamerlane Publishing
          3 a.m.                               Corp.                                       PA0001848044; PA0001707168
   3164                                        EMI Blackwood Music Inc. / WB Music
                                               Corp. / Warner-Tamerlane Publishing
          Back in the Day                      Corp.                                       PA0001693859; PA0001707143
   3165                                        EMI Blackwood Music Inc. / WB Music
                                               Corp. / Warner-Tamerlane Publishing
          Bagpipes From Baghdad                Corp.                                       PA0001848045; PA0001706495
   3166                                        EMI Blackwood Music Inc. / WB Music
                                               Corp. / Warner-Tamerlane Publishing
          Bottoms Up                           Corp.                                       PA0001747296; PA0001856248
   3167                                        EMI Blackwood Music Inc. / WB Music
                                               Corp. / Warner-Tamerlane Publishing
          Deja Vu                              Corp.                                       PA0001848045; PA0001706428
   3168                                        EMI Blackwood Music Inc. / WB Music
                                               Corp. / Warner-Tamerlane Publishing
          High                                 Corp.                                       PA0001808178
   3169                                        EMI Blackwood Music Inc. / WB Music
                                               Corp. / Warner-Tamerlane Publishing
          Insane                               Corp.                                       PA0001848044; PA0001666843
   3170                                        EMI Blackwood Music Inc. / WB Music
                                               Corp. / Warner-Tamerlane Publishing
          Kick It In The Sticks                Corp.                                       PA0001693858; PA0001707147
   3171                                        EMI Blackwood Music Inc. / WB Music
                                               Corp. / Warner-Tamerlane Publishing
          Must Be The Ganja                    Corp.                                       PA0001848040; PA0001706429




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                                   List of Music Publisher Plaintiffs’ Copyrighted Compositions


                           Track                                 Plaintiff                        Registration_Number
   3172                                        EMI Blackwood Music Inc. / WB Music
                                               Corp. / Warner-Tamerlane Publishing
          My Kind of Crazy                     Corp.                                     PA0001693858; PA0001707144
   3173                                        EMI Blackwood Music Inc. / WB Music
                                               Corp. / Warner-Tamerlane Publishing
          My Mom                               Corp.                                     PA0001848040; PA0001707169
   3174                                        EMI Blackwood Music Inc. / WB Music
                                               Corp. / Warner-Tamerlane Publishing
          Old Time's Sake                      Corp.                                     PA0001848040; PA0001706421
   3175                                        EMI Blackwood Music Inc. / WB Music
                                               Corp. / Warner-Tamerlane Publishing
          Same Song & Dance                    Corp.                                     PA0001848044; PA0001706456
   3176                                        EMI Blackwood Music Inc. / WB Music
                                               Corp. / Warner-Tamerlane Publishing
          So Bad                               Corp.                                     PA0001861898; PA0001730981
   3177                                        EMI Blackwood Music Inc. / WB Music
                                               Corp. / Warner-Tamerlane Publishing
          Stay Wide Awake                      Corp.                                     PA0001848044; PA0001943940
   3178                                        EMI Blackwood Music Inc. / WB Music
                                               Corp. / Warner-Tamerlane Publishing
          Take It To The Head                  Corp.                                     PA0001852373; PA0001844665
   3179                                        EMI Blackwood Music Inc. / WB Music
          Play It Again                        Corp. / Warner/Chappell Music, Inc.       PA0001870876; PA0001967424
   3180                                        EMI Feist Catalog Inc. / Warner-Tamerlane
          Trucker Anthem                       Publishing Corp.                          PA0001058125; PA0001142644
   3181   Die In Your Arms                     Jobete Music Co. Inc. / WB Music Corp.    PA0001793961; EU0000456357
   3182                                        Sony/ATV Music Publishing LLC / Warner-
          Picasso Baby                         Tamerlane Publishing Corp.                PA0001398432; PA0001858799
   3183                                        Sony/ATV Music Publishing LLC / EMI April
                                               Music Inc. / Warner-Tamerlane Publishing
          Love in This Club, Pt. II            Corp.                                     PA0001690182; PA0001658976
   3184                                        Sony/ATV Music Publishing LLC / EMI April
          Here I Stand                         Music Inc. / WB Music Corp.               PA0001673111; PA0001659007
   3185                                        Sony/ATV Music Publishing LLC / EMI April
          Talk That Talk                       Music Inc. / WB Music Corp.               PA0001848908; PA0002003919
   3186                                        Sony/ATV Music Publishing LLC / EMI April
                                               Music Inc. / WB Music Corp. / W.B.M.
          Castle Made Of Sand                  Music Corp.                               PA0001771874; PA0001780992
   3187                                        Sony/ATV Music Publishing LLC / EMI April
                                               Music Inc. / WB Music Corp. / Warner-
          Jay Z Blue                           Tamerlane Publishing Corp.                PA0001878202; PA0001858812
   3188                                        Sony/ATV Music Publishing LLC / EMI
                                               Blackwood Music Inc. / Warner-Tamerlane
          Fast Lane                            Publishing Corp.                          PA0001842407
   3189                                        Sony/ATV Music Publishing LLC / EMI
                                               Blackwood Music Inc. / Warner-Tamerlane
          Hotel Room Service                   Publishing Corp.                          PA0001677761




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                              List of Music Publisher Plaintiffs’ Copyrighted Compositions


                      Track                                 Plaintiff                        Registration_Number
   3190                                  Sony/ATV Music Publishing LLC / EMI
                                         Blackwood Music Inc. / Warner-Tamerlane
          Without A Woman                Publishing Corp.                        PA0001865872
   3191                                  Sony/ATV Music Publishing LLC / EMI
          Dirt Road Diary                Blackwood Music Inc. / WB Music Corp.   PA0001870870; PA0001967431
   3192                                  Sony/ATV Music Publishing LLC / EMI
          Get It Started                 Blackwood Music Inc. / WB Music Corp.   PA0001856139; PA0001833984
   3193                                  Sony/ATV Music Publishing LLC / EMI
                                         Blackwood Music Inc. / WB Music Corp. /
          With The Lights On             Warner/Chappell Music, Inc.             PA0001924140
   3194                                  Sony/ATV Music Publishing LLC / Jobete
          Tears Of Joy                   Music Co Inc                            PA0001821877
   3195                                  Sony/ATV Music Publishing LLC / W.B.M.
          Mr. Right Now                  Music Corp./WB Music Corp.              PA0001852397; PA0001780994
   3196                                  Sony/ATV Music Publishing LLC / Warner-
          21                             Tamerlane Publishing Corp.              PA0001741677; PA0001821636
   3197                                  Sony/ATV Music Publishing LLC / Warner-
          American Superstar             Tamerlane Publishing Corp.              PA0001638917; PA0001644943
   3198                                  Sony/ATV Music Publishing LLC / Warner-
          Americano                      Tamerlane Publishing Corp.              PA0001757746; PA0001752324
   3199                                  Sony/ATV Music Publishing LLC / Warner-
          Back Around                    Tamerlane Publishing Corp.              PA0001693110; PA0001777802
   3200                                  Sony/ATV Music Publishing LLC / Warner-
          Bloody Mary                    Tamerlane Publishing Corp.              PA0001757746; PA0001752323
   3201                                  Sony/ATV Music Publishing LLC / Warner-
          Blunt Blowin                   Tamerlane Publishing Corp.              PA0001807230; PA0001811893
   3202                                  Sony/ATV Music Publishing LLC / Warner-
          Born This Way                  Tamerlane Publishing Corp.              PA0001757756; PA0001751981
   3203                                  Sony/ATV Music Publishing LLC / Warner-
          Cut Throat                     Tamerlane Publishing Corp.              PA0001648869
   3204                                  Sony/ATV Music Publishing LLC / Warner-
          Dance In The Dark              Tamerlane Publishing Corp.              PA0001668360
   3205                                  Sony/ATV Music Publishing LLC / Warner-
          Don't Know How To Act          Tamerlane Publishing Corp.              PA0001647060; PA0001644874
   3206                                  Sony/ATV Music Publishing LLC / Warner-
          Fall Asleep                    Tamerlane Publishing Corp.              PA0001874350
   3207                                  Sony/ATV Music Publishing LLC / Warner-
          Fashion Of His Love            Tamerlane Publishing Corp.              PA0001757748; PA0001751985
   3208                                  Sony/ATV Music Publishing LLC / Warner-
          Got Everything                 Tamerlane Publishing Corp.              PA0001951624; PA0001874348
   3209                                  Sony/ATV Music Publishing LLC / Warner-
          Government Hooker              Tamerlane Publishing Corp.              PA0001757746; PA0001752316
   3210                                  Sony/ATV Music Publishing LLC / Warner-
          Heavy Metal Lover              Tamerlane Publishing Corp.              PA0001757748; PA0001751982
   3211                                  Sony/ATV Music Publishing LLC / Warner-
          Highway Unicorn (Road To Love) Tamerlane Publishing Corp.              PA0001757746; PA0001752322
   3212                                  Sony/ATV Music Publishing LLC / Warner-
          Honestly                       Tamerlane Publishing Corp.              PA0001856126; PA0001803614
   3213                                  Sony/ATV Music Publishing LLC / Warner-
          In My Head                     Tamerlane Publishing Corp.              PA0001742580; PA0001813215


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                        Track                               Plaintiff                          Registration_Number
   3214                                     Sony/ATV Music Publishing LLC / Warner-
          In The Ayer                       Tamerlane Publishing Corp.                  PA0001647062; PA0001644948
   3215                                     Sony/ATV Music Publishing LLC / Warner-
          International Love                Tamerlane Publishing Corp.                  PA0001771867
   3216                                     Sony/ATV Music Publishing LLC / Warner-
          John                              Tamerlane Publishing Corp.                  PA0001807238
   3217                                     Sony/ATV Music Publishing LLC / Warner-
          Let It Go                         Tamerlane Publishing Corp.                  PA0001951623; PA0001874344
   3218                                     Sony/ATV Music Publishing LLC / Warner-
          Love Hangover                     Tamerlane Publishing Corp.                  PA0001742580; PA0001813216
   3219                                     Sony/ATV Music Publishing LLC / Warner-
          Love Song                         Tamerlane Publishing Corp.                  PA0001691877; PA0001682742
   3220                                     Sony/ATV Music Publishing LLC / Warner-
          Marilyn Monroe                    Tamerlane Publishing Corp.                  PA0001807225; PA0001822206
   3221                                     Sony/ATV Music Publishing LLC / Warner-
          Marry The Night                   Tamerlane Publishing Corp.                  PA0001757748; PA0001751986
   3222                                     Sony/ATV Music Publishing LLC / Warner-
          No Limit                          Tamerlane Publishing Corp.                  PA0001951617; PA0001874362
   3223                                     Sony/ATV Music Publishing LLC / Warner-
          Not A Bad Thing                   Tamerlane Publishing Corp.                  PA0001896719
   3224                                     Sony/ATV Music Publishing LLC / Warner-
          Paperbond                         Tamerlane Publishing Corp.                  PA0001874342
   3225                                     Sony/ATV Music Publishing LLC / Warner-
          Permanent December                Tamerlane Publishing Corp.                  PA0001741420; PA0001708953
   3226                                     Sony/ATV Music Publishing LLC / Warner-
          Romans Revenge                    Tamerlane Publishing Corp.                  PA0001786576
   3227                                     Sony/ATV Music Publishing LLC / Warner-
          Side FX                           Tamerlane Publishing Corp.                  PA0001896430
   3228                                     Sony/ATV Music Publishing LLC / Warner-
          Stackin                           Tamerlane Publishing Corp.                  PA0001841819
   3229                                     Sony/ATV Music Publishing LLC / Warner-
          Starships                         Tamerlane Publishing Corp.                  PA0001807221; PA0001822042
   3230                                     Sony/ATV Music Publishing LLC / Warner-
          Stupid Love                       Tamerlane Publishing Corp.                  PA0001924144
   3231                                     Sony/ATV Music Publishing LLC / Warner-
          Take Back The Night               Tamerlane Publishing Corp.                  PA0001985062; PA0001896718
   3232                                     Sony/ATV Music Publishing LLC / Warner-
          Talk Dirty                        Tamerlane Publishing Corp.                  PA0001924145
   3233                                     Sony/ATV Music Publishing LLC / Warner-
          The Bluff                         Tamerlane Publishing Corp.                  PA0001874346
   3234                                     Sony/ATV Music Publishing LLC / Warner-
          The Edge Of Glory                 Tamerlane Publishing Corp.                  PA0001757746; PA0001751987
   3235                                     Sony/ATV Music Publishing LLC / Warner-
          The Plan                          Tamerlane Publishing Corp.                  PA0001874363; PA0001913727
   3236                                     Sony/ATV Music Publishing LLC / Warner-
          The Queen                         Tamerlane Publishing Corp.                  PA0001757748; PA0001751984
   3237                                     Sony/ATV Music Publishing LLC / Warner-
          The Show Goes On                  Tamerlane Publishing Corp.                  PA0001750275; PA0001735709
   3238                                     Sony/ATV Music Publishing LLC / Warner-
          TRUE                              Tamerlane Publishing Corp.                  PA0001821294; PA0001882758



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                               List of Music Publisher Plaintiffs’ Copyrighted Compositions


                       Track                              Plaintiff                           Registration_Number
   3239                                   Sony/ATV Music Publishing LLC / Warner-
          Unfortunate                     Tamerlane Publishing Corp.                   PA0001856240; PA0001787038
   3240                                   Sony/ATV Music Publishing LLC / Warner-
          Unusual                         Tamerlane Publishing Corp.                   PA0001771888; PA0001787047
   3241                                   Sony/ATV Music Publishing LLC / Warner-
          Welcome To My Hood              Tamerlane Publishing Corp.                   PA0001844126; PA0001840262
   3242                                   Sony/ATV Music Publishing LLC / Warner-
          What's Wrong With Them          Tamerlane Publishing Corp.                   PA0001741927; PA0001804877
   3243                                   Sony/ATV Music Publishing LLC / Warner-
          Whip It                         Tamerlane Publishing Corp.                   PA0001807223; PA0001822050
   3244                                   Sony/ATV Music Publishing LLC / Warner-
          You Just Need Me                Tamerlane Publishing Corp.                   PA0001771889; PA0001787045
   3245                                   Sony/ATV Music Publishing LLC / WB
          All Alone                       Music Corp.                                  PA0001791456; PA0001810597
   3246                                   Sony/ATV Music Publishing LLC / WB
          All Alright                     Music Corp.                                  PA0001791457; PA0001810599
   3247                                   Sony/ATV Music Publishing LLC / WB
          Bomb                            Music Corp.                                  PA0001736350; PA0001883694
   3248                                   Sony/ATV Music Publishing LLC / WB
          Boyfriend                       Music Corp.                                  PA0001834755
   3249                                   Sony/ATV Music Publishing LLC / WB
          Carry On                        Music Corp.                                  PA0001791456; PA0001812238
   3250                                   Sony/ATV Music Publishing LLC / WB
          Each Other                      Music Corp.                                  PA0001823951; PA0001763340
   3251                                   Sony/ATV Music Publishing LLC / WB
          I Cry                           Music Corp.                                  PA0001864854; PA0001887864
   3252                                   Sony/ATV Music Publishing LLC / WB
          I Did It For My Dawgz           Music Corp.                                  PA0001852371; PA0001874308
   3253                                   Sony/ATV Music Publishing LLC / WB
          I Know You Want Me (Calle Ocho) Music Corp.                                  PA0001733983; PA0001706662
   3254                                   Sony/ATV Music Publishing LLC / WB
          It Gets Better                  Music Corp.                                  PA0001791456; PA0001810595
   3255                                   Sony/ATV Music Publishing LLC / WB
          Lace and Leather                Music Corp.                                  PA0001622996; PA0001647942
   3256                                   Sony/ATV Music Publishing LLC / WB
          Lover's Thing                   Music Corp.                                  PA0001659046; PA0001755160
   3257                                   Sony/ATV Music Publishing LLC / WB
          One Foot                        Music Corp.                                  PA0001791458; PA0001811984
   3258                                   Sony/ATV Music Publishing LLC / WB
          She Ain't You                   Music Corp.                                  PA0001775944; PA0001772287
   3259                                   Sony/ATV Music Publishing LLC / WB
          Some Nights                     Music Corp.                                  PA0001791456; PA0001810594
   3260                                   Sony/ATV Music Publishing LLC / WB
          Some Nights (Intro)             Music Corp.                                  PA0001791456; PA0001810593
   3261                                   Sony/ATV Music Publishing LLC / WB
          Stars                           Music Corp.                                  PA0001791456; PA0001810598
   3262                                   Sony/ATV Music Publishing LLC / WB
          Turn Around (5,4,3,2,1)         Music Corp.                                  PA0001745024; PA0001821659
   3263                                   Sony/ATV Music Publishing LLC / WB
          Why Am I the One                Music Corp.                                  PA0001791456; PA0001810596



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                                 List of Music Publisher Plaintiffs’ Copyrighted Compositions


                         Track                                 Plaintiff                        Registration_Number
   3264                                      Sony/ATV Music Publishing LLC / WB
          Why You Up In Here                 Music Corp.                                 PA0001741641; PA0001821674
   3265                                      Sony/ATV Music Publishing LLC / WB
          The Sky's The Limit                Music Corp. / Intersong USA                 PA0001742577; PA0001813221
   3266                                      Sony/ATV Music Publishing LLC / WB
                                             Music Corp. / Warner-Tamerlane
          Applause                           Publishing Corp.                            PA0001893358
   3267                                      Sony/ATV Music Publishing LLC / WB
                                             Music Corp. / Warner-Tamerlane
          ARTPOP                             Publishing Corp.                            PA0001893362
   3268                                      Sony/ATV Music Publishing LLC / WB
                                             Music Corp. / Warner-Tamerlane
          Beg For It                         Publishing Corp.                            PA0001864144; PA0001772282
   3269                                      Sony/ATV Music Publishing LLC / WB
                                             Music Corp. / Warner-Tamerlane
          Dope                               Publishing Corp.                            PA0001893362
   3270                                      Sony/ATV Music Publishing LLC / WB
                                             Music Corp. / Warner-Tamerlane
          Heaven                             Publishing Corp.                            PA0001858834
   3271                                      Sony/ATV Music Publishing LLC / WB
                                             Music Corp. / Warner-Tamerlane
          Jewels N' Drugs                    Publishing Corp.                            PA0001893363
   3272                                      Sony/ATV Music Publishing LLC / WB
                                             Music Corp. / Warner-Tamerlane
          Let It Roll Part 2                 Publishing Corp.                            PA0001863569
   3273                                      Sony/ATV Music Publishing LLC / WB
                                             Music Corp. / Warner-Tamerlane
          Lose Control                       Publishing Corp.                            PA0001780014; PA0001755876
   3274                                      Sony/ATV Music Publishing LLC / WB
                                             Music Corp. / Warner-Tamerlane
          MANiCURE                           Publishing Corp.                            PA0001893362
   3275                                      Sony/ATV Music Publishing LLC / WB
                                             Music Corp. / Warner-Tamerlane
          Maybe You're Right                 Publishing Corp.                            PA0001870023; PA0001920676
   3276                                      Sony/ATV Music Publishing LLC / WB
                                             Music Corp. / Warner-Tamerlane
          Morning After Dark                 Publishing Corp.                            PA0001780007; PA0001755873
   3277                                      Sony/ATV Music Publishing LLC / WB
                                             Music Corp. / Warner-Tamerlane
          Remember You                       Publishing Corp.                            PA0001872896
   3278                                      Sony/ATV Music Publishing LLC / WB
                                             Music Corp. / Warner-Tamerlane
          Swine                              Publishing Corp.                            PA0001893362
   3279                                      Sony/ATV Music Publishing LLC / WB
                                             Music Corp. / Warner-Tamerlane
          The One I Love                     Publishing Corp.                            PA0001755880
   3280                                      Sony/ATV Music Publishing LLC / WB
                                             Music Corp. / Warner-Tamerlane
          Tom Ford                           Publishing Corp.                            PA0001858805



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                                List of Music Publisher Plaintiffs’ Copyrighted Compositions


                        Track                                 Plaintiff                        Registration_Number
   3281                                     Sony/ATV Music Publishing LLC / WB
                                            Music Corp. / Warner-Tamerlane
                                            Publishing Corp. / Warner/Chappell
          Biggest Fan                       Music, Inc.                                 PA0001842280; PA0001896028
   3282                                     Sony/ATV Music Publishing LLC / WB
                                            Music Corp. / Warner-Tamerlane
                                            Publishing Corp. / Warner/Chappell
          Bow Chicka Wow Wow                Music, Inc.                                 PA0001720333; PA0001767655
   3283
                                            Sony/ATV Music Publishing LLC / WB
          Hustlin'                          Music Corp. / Warner/Chappell Music, Inc. PA0001367972; PA0001334589




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